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                                                  EXHIBIT A
                                   FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                     SUMMARY OF PROFESSIONALS AND FEES
                                 FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023

                                                                                Billing     Total        Total
                 Professional             Position             Specialty         Rate       Hours        Fees
        Chesley, Rachel           Sr Managing Dir         Communications         $ 1,075        1.7      $ 1,827.50
        Baldo, Diana              Sr Consultant           Communications              525       6.0        3,150.00

        McNew, Steven             Sr Managing Dir         Cryptocurrency           1,200       21.3       25,560.00
        Carter, Michael           Sr Managing Dir         Cryptocurrency           1,200       58.7       70,440.00
        de Brignac, Jessica       Managing Dir            Cryptocurrency             910       61.2       55,692.00
        Sheridan, Jeremy          Managing Dir            Cryptocurrency             910        4.0        3,640.00
        Leonaitis, Isabelle       Sr Consultant           Cryptocurrency             595       45.4       27,013.00
        Vazquez Ortiz, Fredrix    Sr Consultant           Cryptocurrency             595        4.0        2,380.00
        Kamran, Kainat            Consultant              Cryptocurrency             440       63.5       27,940.00

        Dack, Carter              Consultant              Cybersecurity              475       15.7        7,457.50

        Busen, Michael            Sr Managing Dir         Data & Analytics         1,325       10.7       14,177.50
        Garofalo, Michael         Senior Director         Data & Analytics           935       50.1       46,843.50
        Jordan, Mason             Sr Consultant           Data & Analytics           635      126.6       80,391.00
        Kimche, Livia             Consultant              Data & Analytics           475       28.7       13,632.50

        Risler, Franck            Sr Managing Dir         Derivatives              1,725      118.3      204,067.50
        Rousskikh, Valeri         Managing Dir            Derivatives              1,300      154.5      200,850.00
        Diodato, Michael          Managing Dir            Derivatives              1,210      173.7      210,177.00
        Kubali, Volkan            Managing Dir            Derivatives              1,210      121.1      146,531.00
        Majkowski, Stephanie      Senior Director         Derivatives              1,100      143.5      157,850.00
        Guo, Xueying              Director                Derivatives                975      107.0      104,325.00
        Langer, Cameron           Director                Derivatives                920      168.7      155,204.00

        Greenblatt, Matthew       Sr Managing Dir         Forensic Accounting      1,325        3.1        4,107.50
        Baer, Laura               Senior Director         Forensic Accounting        975       20.3       19,792.50
        Fiorillo, Julianna        Director                Forensic Accounting        835      143.6      119,906.00
        Anastasiou, Anastis       Director                Forensic Accounting        785      121.5       95,377.50
        Steven, Kira              Director                Forensic Accounting        835       64.8       54,108.00
        Famiglietti, Tyler        Sr Consultant           Forensic Accounting        695       77.9       54,140.50
        Marsella, Jenna           Sr Consultant           Forensic Accounting        635       61.2       38,862.00
        Stillman, Beulah          Consultant              Forensic Accounting        475       95.7       45,457.50
        Rothschild, Elijah        Consultant              Forensic Accounting        475      156.8       74,480.00
        Shaik, Ismail             Consultant              Forensic Accounting        475      107.5       51,062.50
        Reid, Matthew             Consultant              Forensic Accounting        475      153.6       72,960.00

        Simms, Steven             Sr Managing Dir         Restructuring            1,495       33.0       49,335.00
        Joffe, Steven             Sr Managing Dir         Restructuring            1,325       13.6       18,020.00
        Diaz, Matthew             Sr Managing Dir         Restructuring            1,325       79.3      105,072.50
        Bromberg, Brian           Managing Dir            Restructuring              985      205.9      202,811.50
        Gray, Michael             Sr Consultant           Restructuring              695      158.3      110,018.50
        Dawson, Maxwell           Sr Consultant           Restructuring              635      152.6       96,901.00
        Sveen, Andrew             Consultant              Restructuring              475      118.1       56,097.50

        Feldman, Paul             Senior Director         Risk Management            955       22.1       21,105.50

        GRAND TOTAL                                                                         3,273.3   $ 2,848,764.50


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                                            EXHIBIT B
                              FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                    SUMMARY OF HOURS BY TASK
                           FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023

                                                                              Total          Total
      Task Code                      Task Description                         Hours           Fees
          1     Current Operating Results & Events                                  17.5      $ 21,466.50
          2     Cash & Liquidity Analysis                                         127.6        104,159.50
          9     Analysis of Employee Comp Programs                                   1.5           952.50
         10     Analysis of Tax Issues                                              23.3        25,664.50
         13     Analysis of Other Miscellaneous Motions                              5.2         4,542.00
         14     Analysis of Claims/Liabilities Subject to Compromise              374.8        411,474.00
         16     Analysis, Negotiate and Form of POR & DS                          362.8        303,888.00
         18     Potential Avoidance Actions & Litigation                        1,358.7        935,678.00
         21     General Meetings with UCC and UCC Counsel                           49.2        62,685.00
         24     Preparation of Fee Application                                    102.6         57,610.00
         26     Cryptocurrency/Digital Assets Issues                              696.2        759,997.50
         27     Communications Planning & Execution                                  8.6         6,102.00
         28     Cybersecurity Issues and Analysis                                   15.7         7,457.50
         29     Exchange Restart                                                  129.6        147,087.50
                GRAND TOTAL                                                     3,273.3    $ 2,848,764.50




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                                                  EXHIBIT C
                                    FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                            DETAIL OF TIME ENTRIES
                                 FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023



     Task Code     Date               Professional       Hours                                      Activity
         1       5/1/2023    Risler, Franck                   0.3 Review revised FTX Europe deck provided by A&M to assess
                                                                  updates to situation and related issues.
             1   5/2/2023    Diaz, Matthew                   0.6 Review issues regarding FTX Europe in order to evaluate potential
                                                                  solutions.
             1   5/2/2023    Risler, Franck                   0.3 Review issues associated with FTX Europe.

             1   5/4/2023    Diaz, Matthew                    0.3 Correspond with PH on proposals for FTX Europe.

             1   5/4/2023    Simms, Steven                    0.4 Prepare correspondence to summarize issues with the FTX Europe
                                                                  license.
             1   5/4/2023    Diaz, Matthew                    0.4 Prepare detailed agenda for upcoming meeting with Debtors re: FTX
                                                                  Europe.
             1   5/8/2023    Bromberg, Brian                  0.3 Review issues list regarding the Debtors' Europe entity.

             1   5/9/2023    Diaz, Matthew                    0.7 Review issues regarding FTX Europe and evaluate potential solutions.

             1   5/9/2023    Diaz, Matthew                    0.6 Continue to evaluate potential strategies re: FTX Europe financial
                                                                  situation.
             1   5/9/2023    Bromberg, Brian                  1.0 Outline key issues associated with FTX Europe situation.

             1   5/9/2023    Risler, Franck                   0.3 Assess correspondence on cost of maintaining Cyprus license for FTX
                                                                  Europe.
             1   5/11/2023   Bromberg, Brian                  0.5 Review documents related to FTX Europe to summarize key issues.

             1   5/11/2023   Bromberg, Brian                  0.4 Prepare summary list of considerations for FTX Europe.

             1   5/11/2023   Bromberg, Brian                  0.6 Correspond on FTX Europe with PH.

             1   5/11/2023   Diaz, Matthew                    0.6 Correspond with PH re: updates on FTX Europe situation.

             1   5/11/2023   Diaz, Matthew                    0.6 Correspond with A&M re: FTX Europe.

             1   5/11/2023   Bromberg, Brian                  0.6 Correspond on FTX Europe financial situation with Debtors.

             1   5/11/2023   Risler, Franck                   0.6 Correspond with A&M re: updates on FTX Europe situation.

             1   5/12/2023   Diaz, Matthew                    0.6 Correspond with the Debtors re: FTX Europe issues.

             1   5/12/2023   Bromberg, Brian                  0.6 Correspond with the Debtors re: FTX Europe issues with a focus on
                                                                  licensing.
             1   5/12/2023   Risler, Franck                   0.5 Assess updated FTX Europe deck dated 05/12/23 distributed by
                                                                  A&M.
             1   5/15/2023   Bromberg, Brian                  0.5 Correspond on FTX Europe strategies with PH and Jefferies.

             1   5/15/2023   Diaz, Matthew                    0.5 Correspond with PH and Jefferies on FTX Europe strategies.

             1   5/16/2023   Bromberg, Brian                  0.6 Review issues related to FTX Europe.

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                                                  EXHIBIT C
                                    FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                            DETAIL OF TIME ENTRIES
                                 FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023



     Task Code      Date           Professional       Hours                                    Activity
         1       5/16/2023   Bromberg, Brian               0.4 Analyze latest presentation re: FTX Europe.

             1   5/16/2023   Bromberg, Brian               0.5 Correspond on issues regarding FTX Europe with UCC.

             1   5/16/2023   Dawson, Maxwell               0.2 Prepare daily update re: issues relating to a certain Debtor subsidiary.

             1   5/16/2023   Simms, Steven                 0.3 Review financial analysis of FTX Europe.

             1   5/16/2023   Simms, Steven                 0.5 Correspond with A&M regarding status of FTX Europe.

             1   5/17/2023   Bromberg, Brian               0.6 Discuss issues relating to a certain subsidiary with A&M.

             1   5/17/2023   Gray, Michael                 0.6 Correspond with A&M re: best path forward on a certain subsidiary
                                                               of the Debtors.
             1   5/21/2023   Bromberg, Brian               0.2 Analyze issues related to FTX Europe re: licensing.

             1   5/22/2023   Bromberg, Brian               0.2 Analyze issues related to a certain Debtor subsidiary.

             1   5/22/2023   Risler, Franck                0.3 Review correspondence from UCC on FTX Europe and perceived
                                                               value of the Cyprus license for securities atomization.
             1   5/24/2023   Simms, Steven                 0.3 Evaluate issues related to FTX Europe license.

             1   5/25/2023   Diaz, Matthew                 1.0 Analyze FTX Europe license issues.

       1 Total                                            17.5

             2   5/1/2023    Diaz, Matthew                 0.6 Review updated cash flow report to the UCC.

             2   5/1/2023    Bromberg, Brian               0.4 Coordinate with PH and Jefferies on Debtors' cash inflows.

             2   5/1/2023    Bromberg, Brian               0.5 Correspond on cash flow reporting with Debtors.

             2   5/1/2023    Bromberg, Brian               1.4 Prepare case to date cash flow summary based on most recent
                                                               information provided by Debtors.
             2   5/1/2023    Bromberg, Brian               0.4 Review prior cash flow presentation to ensure proper reporting in next
                                                               iteration of UCC cash flow update.
             2   5/1/2023    Dawson, Maxwell               0.8 Review latest cash flow forecast provided by A&M to prepare
                                                               variance report.
             2   5/1/2023    Sveen, Andrew                 1.0 Review updates to Debtors' liquidity based on latest cash flow report.

             2   5/1/2023    Sveen, Andrew                 0.5 Correspond with A&M to discuss cash flow budget to actuals for the
                                                               most recent reporting period.
             2   5/1/2023    Sveen, Andrew                 2.1 Prepare analysis of Debtors' most recently revised budget forecast.

             2   5/1/2023    Sveen, Andrew                 0.8 Revise presentation on Debtors' professional fees paid to date.

             2   5/1/2023    Sveen, Andrew                 0.8 Revise presentation to the UCC on cash flow updates following
                                                               comments from team.

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                                                 EXHIBIT C
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                                           DETAIL OF TIME ENTRIES
                                FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023



     Task Code     Date           Professional       Hours                                   Activity
         2       5/1/2023   Dawson, Maxwell              0.9 Prepare analysis re: professional fee accruals and payments by firm.

             2   5/1/2023   Dawson, Maxwell               0.8 Conduct thorough review of supporting information re: professional
                                                              fees to date.
             2   5/1/2023   Dawson, Maxwell               0.5 Correspond with A&M re: cash flow reporting.

             2   5/1/2023   Dawson, Maxwell               0.6 Prepare outline of presentation regarding latest cash flow forecast.

             2   5/1/2023   Dawson, Maxwell               1.0 Conduct thorough review of supporting information re: cash receipts
                                                              to date.
             2   5/1/2023   Dawson, Maxwell               0.6 Prepare analysis re: case-to-date cash receipts.

             2   5/1/2023   Dawson, Maxwell               0.4 Update professional fee tracker for latest filed fee applications and
                                                              CNOs.
             2   5/1/2023   Dawson, Maxwell               0.7 Update UCC cash flow slides for additional comments to streamline
                                                              presentation.
             2   5/1/2023   Bromberg, Brian               0.2 Review updated tracker of potential asset monetization strategies to
                                                              understand size and timing of monetization re: liquidity.
             2   5/1/2023   Simms, Steven                 0.3 Prepare correspondence related to monetization of certain assets re:
                                                              liquidity.
             2   5/1/2023   Sveen, Andrew                 0.8 Revise presentation to the UCC on budget to actuals.

             2   5/1/2023   Simms, Steven                 0.4 Prepare correspondence on issues with banking plans for the Debtors.

             2   5/1/2023   Sveen, Andrew                 0.5 Summarize cash flow forecasts reported by Debtors.

             2   5/1/2023   Bromberg, Brian               0.5 Prepare summary correspondence to UCC on case to date cash flow
                                                              update.
             2   5/2/2023   Gray, Michael                 0.7 Monitor developments for latest reported cash flow analysis.

             2   5/2/2023   Risler, Franck                0.4 Assess updated banking relationships for the Debtors to help progress
                                                              towards diversification.
             2   5/2/2023   Diaz, Matthew                 0.3 Review budget to actuals results provided by A&M.

             2   5/2/2023   Diaz, Matthew                 0.6 Review cash disbursements for cash flow analysis.

             2   5/2/2023   Bromberg, Brian               0.4 Review contracts related to certain banking agreements.

             2   5/2/2023   Bromberg, Brian               0.3 Correspond on banking issues and potential mitigation tactics with
                                                              PH.
             2   5/2/2023   Bromberg, Brian               0.8 Analyze cash flow reports to find answers for UCC questions.

             2   5/2/2023   Bromberg, Brian               0.6 Prepare questions list for Debtors re: explanations for certain budget
                                                              to actuals results.
             2   5/2/2023   Bromberg, Brian               0.6 Review issues related to Debtors' banking strategy for treasuries.

             2   5/2/2023   Bromberg, Brian               0.3 Review Debtor entity cash inflows to identify discrepancies from
                                                              budgeted amounts.

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     Task Code     Date            Professional       Hours                                   Activity
         2       5/2/2023   Bromberg, Brian                0.8 Research treasury investment issues in comparable cases.

             2   5/2/2023   Bromberg, Brian                0.8 Prepare responses to inquiries from UCC related to the Debtors' cash
                                                               flow results.
             2   5/2/2023   Bromberg, Brian                0.2 Finalize cash report to distribute to UCC.

             2   5/2/2023   Bromberg, Brian                0.9 Prepare follow-up responses to Debtors' prior inquiries on cash flow.

             2   5/2/2023   Bromberg, Brian                1.2 Review issues with Debtors' banking strategy.

             2   5/2/2023   Dawson, Maxwell                1.6 Conduct quality control check on cash flow forecast summary slides.

             2   5/2/2023   Dawson, Maxwell                1.7 Prepare bridge between previous and revised 13-week cash forecasts
                                                               provided by A&M.
             2   5/2/2023   Sveen, Andrew                  2.4 Prepare slides summarizing the Debtors' most recent budget forecast.

             2   5/2/2023   Sveen, Andrew                  0.8 Revise slides on Debtors' most recent budget forecast.

             2   5/2/2023   Gray, Michael                  0.8 Conduct preliminary review of cash variance report for the week
                                                               ending 4/21 provided by A&M.
             2   5/2/2023   Gray, Michael                  1.1 Evaluate presentation and related support provided by A&M re: 13-
                                                               week cash flow budget.
             2   5/2/2023   Bromberg, Brian                0.4 Review updates to tracker for potential asset monetization plans.

             2   5/3/2023   Simms, Steven                  0.6 Prepare summary of asset monetization strategies for UCC.

             2   5/3/2023   Diaz, Matthew                  0.8 Review latest cash flow analysis from the Debtors.

             2   5/3/2023   Bromberg, Brian                0.4 Correspond on banking issues for the Debtors' assets with UCC.

             2   5/3/2023   Bromberg, Brian                0.5 Research cash management issues in comparable cases.

             2   5/3/2023   Diaz, Matthew                  0.6 Prepare for UCC call by reviewing plan for monetization of certain
                                                               assets.
             2   5/4/2023   Bromberg, Brian                0.4 Assess latest cash flow updates for recent reporting.

             2   5/4/2023   Simms, Steven                  0.6 Create summary list of issues for Debtors' cash management.

             2   5/4/2023   Bromberg, Brian                1.3 Review issues related to Debtors' cash management strategies.

             2   5/4/2023   Bromberg, Brian                0.7 Develop considerations for banking strategy for Debtors' assets.

             2   5/4/2023   Bromberg, Brian                0.3 Correspond on cash issues with PH.

             2   5/4/2023   Bromberg, Brian                1.1 Summarize issues with asset monetization for UCC.

             2   5/4/2023   Bromberg, Brian                0.3 Correspond on banking issues with subset of UCC.


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                                                 EXHIBIT C
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     Task Code     Date            Professional       Hours                                  Activity
         2       5/4/2023   Bromberg, Brian                0.4 Finalize banking update for UCC.

             2   5/4/2023   Bromberg, Brian                0.4 Revise list of considerations for UCC relating to Debtors' cash
                                                               management.
             2   5/4/2023   Bromberg, Brian                0.3 Correspond on banking considerations for treasuries with Debtors.

             2   5/4/2023   Gray, Michael                  0.3 Correspond with A&M re: bank account and treasuries.

             2   5/4/2023   Gray, Michael                  0.3 Review collateral schedule of Debtors' cash held at a certain bank.

             2   5/4/2023   Gray, Michael                  0.3 Review media coverage re: certain bank's current status and strength.

             2   5/4/2023   Simms, Steven                  0.5 Review items related to treasury purchases and options for cash
                                                               management considerations.
             2   5/4/2023   Sveen, Andrew                  0.6 Summarize issues related to cash flow analysis.

             2   5/4/2023   Risler, Franck                 0.3 Revise draft summary update to UCC on steps taken to mitigate risk
                                                               related to Debtors' banking institution.
             2   5/4/2023   Risler, Franck                 0.4 Revise summary update for UCC on treasuries and cash yield for
                                                               certain bank account.
             2   5/5/2023   Simms, Steven                  0.6 Correspond with PH on cash management issues.

             2   5/5/2023   Bromberg, Brian                0.3 Summarize Debtors' treasuries management considerations.

             2   5/5/2023   Bromberg, Brian                0.7 Summarize latest issues for UCC related to cash management.

             2   5/5/2023   Bromberg, Brian                0.6 Correspond on banking issues with Debtors.

             2   5/5/2023   Bromberg, Brian                0.4 Revise draft update for UCC on cash flow analysis.

             2   5/5/2023   Bromberg, Brian                0.6 Correspond on updates for the UCC related to recent cash reporting
                                                               with PH.
             2   5/5/2023   Dawson, Maxwell                0.8 Prepare analysis of estate cash management fees incurred to date.

             2   5/5/2023   Gray, Michael                  0.4 Conduct preliminary review of cash variance report for the week
                                                               ending April 28 provided by A&M.
             2   5/5/2023   Risler, Franck                 0.4 Draft summary on key takeaways from meeting with Debtors on
                                                               treasury bill investments.
             2   5/5/2023   Risler, Franck                 0.5 Update yield analysis for treasury bills and cash deposits at certain
                                                               banks under various scenarios.
             2   5/5/2023   Simms, Steven                  0.6 Correspond on cash management issues with the Debtors.

             2   5/5/2023   Diodato, Michael               1.9 Analyze latest treasury bill rates for cash management.

             2   5/7/2023   Diaz, Matthew                  0.6 Review cash variance report prepared on latest budget to actuals and
                                                               case to date cash flow results.
             2   5/8/2023   Risler, Franck                 0.6 Review documents provided by PH related to certain Debtor bank
                                                               account schedules.

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     Task Code     Date            Professional       Hours                                 Activity
         2       5/8/2023   Diaz, Matthew                 0.5 Review the weekly budget to actuals variance report.

             2   5/8/2023   Bromberg, Brian                0.4 Review cash issues and conversions to cash based on latest budget
                                                               provided by Debtors.
             2   5/8/2023   Bromberg, Brian                1.0 Review cash flow reporting for most recent reporting week.

             2   5/8/2023   Bromberg, Brian                0.3 Review cash management strategies.

             2   5/8/2023   Bromberg, Brian                0.4 Follow up on requests for Debtors related to cash flow analysis.

             2   5/8/2023   Bromberg, Brian                0.3 Correspond on cash flow reporting with Debtors.

             2   5/8/2023   Dawson, Maxwell                1.5 Prepare additional slides re: case-to-date cash flow information for
                                                               UCC presentation.
             2   5/8/2023   Dawson, Maxwell                0.8 Prepare analysis regarding Debtors' cash management fees to date.

             2   5/8/2023   Sveen, Andrew                  0.9 Summarize Debtors' professional fee payments.

             2   5/8/2023   Sveen, Andrew                  0.3 Correspond with A&M to discuss cash flow budget to actuals for the
                                                               most recent reporting period.
             2   5/8/2023   Sveen, Andrew                  0.7 Prepare presentation summarizing Debtors' most recent cash flow
                                                               reporting.
             2   5/8/2023   Gray, Michael                  0.4 Review cash variance report in advance of discussion with A&M.

             2   5/8/2023   Gray, Michael                  1.1 Review analysis prepared on certain cash management issues.

             2   5/8/2023   Gray, Michael                  0.2 Provide professional fee accrual information to PH team.

             2   5/8/2023   Gray, Michael                  0.3 Correspond with A&M re: cash variance report.

             2   5/8/2023   Simms, Steven                  0.4 Summarize issues re: cash management considerations.

             2   5/9/2023   Bromberg, Brian                0.5 Review cash timeline to assess the severity of potential cash related
                                                               issues.
             2   5/9/2023   Bromberg, Brian                0.6 Summarize issues related to Debtors' cash reporting.

             2   5/9/2023   Dawson, Maxwell                1.0 Finalize draft of UCC cash flow and budget presentation.

             2   5/9/2023   Sveen, Andrew                  0.5 Analyze professional fees from prior month to create a consolidated
                                                               report.
             2   5/9/2023   Gray, Michael                  0.4 Evaluate treasury scenario flows summary provided by A&M to
                                                               understand timing of receipt of collateral under an illustrative bank
                                                               failure scenario.
             2   5/9/2023   Gray, Michael                  1.3 Review draft report re: revised 13-week cash flow.

             2   5/9/2023   Gray, Michael                  0.8 Review historical cash flow reporting packages provided to UCC in
                                                               connection with the preparation of the latest 13-week cash flow draft
                                                               UCC report.
             2   5/9/2023   Gray, Michael                  1.8 Provide comments on draft report re: revised 13-week cash flow.
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     Task Code     Date              Professional       Hours                                  Activity
         2       5/9/2023    Sveen, Andrew                   1.4 Summarize Debtors' case to date cash flows.

             2   5/9/2023    Sveen, Andrew                   0.4 Supplement presentation on Debtors' revised budget forecast.

             2   5/10/2023   Diaz, Matthew                   0.5 Review treasury and cash yield analysis.

             2   5/10/2023   Bromberg, Brian                 0.4 Prepare summary of cash yield issues.

             2   5/10/2023   Bromberg, Brian                 0.6 Provide comments on latest cash flow forecast slides.

             2   5/10/2023   Dawson, Maxwell                 0.8 Process comments to cash flow forecast slides for UCC.

             2   5/11/2023   Simms, Steven                   0.4 Review recent cash flow analysis and variance reporting.

             2   5/11/2023   Bromberg, Brian                 0.7 Provide comments on recent cash flow analysis and variance
                                                                 reporting.
             2   5/11/2023   Bromberg, Brian                 0.4 Review items related to treasury purchases and options.

             2   5/11/2023   Bromberg, Brian                 0.3 Review recent cash flow reporting to monitor Debtors' budget
                                                                 compared to forecasts.
             2   5/11/2023   Sveen, Andrew                   0.5 Revise deck for the UCC based on updated professional fee payments.

             2   5/11/2023   Sveen, Andrew                   1.2 Update analysis of Debtors' professional fee payments case to date.

             2   5/11/2023   Simms, Steven                   0.6 Provide comments on recent issues re: coin management issues.

             2   5/11/2023   Risler, Franck                  0.4 Provide comments on Debtors' recent presentation re: treasury bills
                                                                 purchase flows.
             2   5/12/2023   Bromberg, Brian                 1.2 Provide further comments to draft cash flow forecast report to UCC.

             2   5/12/2023   Sveen, Andrew                   1.2 Analyze Debtors' cash flow to date.

             2   5/12/2023   Bromberg, Brian                 0.6 Review potential asset monetization to understand impacts to
                                                                 liquidity.
             2   5/15/2023   Bromberg, Brian                 0.3 Correspond with Debtors to discuss latest cash flow reporting and
                                                                 variances.
             2   5/15/2023   Bromberg, Brian                 0.3 Evaluate responses to UCC questions on cash flow.

             2   5/15/2023   Bromberg, Brian                 0.3 Draft response to Debtors on recent inquires re: cash flow reporting.

             2   5/15/2023   Bromberg, Brian                 0.4 Provide comments on latest cash flow reporting.

             2   5/15/2023   Dawson, Maxwell                 0.3 Correspond with A&M re: weekly variance report.

             2   5/15/2023   Dawson, Maxwell                 2.0 Analyze case-to-date cash flow reporting data.

             2   5/15/2023   Gray, Michael                   0.3 Correspond with A&M re: cash variance report.


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         2       5/15/2023   Gray, Michael                   0.4 Review cash variance report in advance of discussion with A&M to
                                                                 prepare follow-up diligence questions.
             2   5/15/2023   Sveen, Andrew                   0.4 Review cash flow budget report for most recent provided budget.

             2   5/16/2023   Bromberg, Brian                 0.5 Review latest 13-week cash flow forecast.

             2   5/16/2023   Bromberg, Brian                 0.6 Provide comments on cash flow presentation to UCC.

             2   5/16/2023   Dawson, Maxwell                 1.6 Prepare slides regarding cash flow reporting for UCC.

             2   5/16/2023   Gray, Michael                   0.7 Prepare summary of case to date professional fees on an actual and
                                                                 accrued basis.
             2   5/16/2023   Gray, Michael                   0.8 Review case to date cash flow analysis re: budget update UCC report.

             2   5/16/2023   Gray, Michael                   1.1 Update UCC report re: revised 13-week cash flow.

             2   5/16/2023   Sveen, Andrew                   0.5 Prepare presentation for the UCC on most recently updated budget
                                                                 received from Debtors.
             2   5/16/2023   Sveen, Andrew                   0.6 Revise updated 13-week budget presentation.

             2   5/17/2023   Bromberg, Brian                 0.3 Review subsidiary cash flow projection.

             2   5/17/2023   Bromberg, Brian                 0.7 Review responses to UCC questions on case costs.

             2   5/17/2023   Bromberg, Brian                 0.9 Finalize cash report for UCC.

             2   5/17/2023   Diaz, Matthew                   0.7 Provide comments on the cash flow report to the UCC.

             2   5/17/2023   Gray, Michael                   0.3 Update draft UCC report re: revised budget for further disclosures on
                                                                 pooling accounts.
             2   5/17/2023   Gray, Michael                   0.4 Update professional fee accrual exhibit.

             2   5/17/2023   Simms, Steven                   0.4 Assess status of treasury investment items.

             2   5/18/2023   Bromberg, Brian                 0.6 Correspond re: cash management with PH.

             2   5/18/2023   Sveen, Andrew                   0.4 Analyze budget to actuals variance reporting for the two weeks ended
                                                                 5/5/23.
             2   5/18/2023   Sveen, Andrew                   0.6 Prepare presentation to UCC on cash flow variance reporting for two
                                                                 weeks ended 5/5/23.
             2   5/18/2023   Sveen, Andrew                   1.4 Review data on most recent cash flow to prepare report for UCC.

             2   5/18/2023   Simms, Steven                   0.6 Correspond with PH on Debtors' treasury bill investments.

             2   5/19/2023   Bromberg, Brian                 0.6 Revise responses to UCC questions on cash flow.

             2   5/19/2023   Bromberg, Brian                 0.6 Prepare responses to follow up questions on cash flow.


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     Task Code      Date           Professional        Hours                                Activity
         2       5/19/2023   Bromberg, Brian                0.5 Respond to UCC questions on cash flow.

             2   5/19/2023   Gray, Michael                  0.5 Prepare summary of top non-restructuring professionals retained in
                                                                case re: cash burn.
             2   5/19/2023   Sveen, Andrew                  0.9 Continue to analyze budget to actuals variance reporting for the two
                                                                weeks ended 5/5/23.
             2   5/19/2023   Sveen, Andrew                  0.8 Continue to prepare presentation to UCC on cash flow variance
                                                                reporting for two weeks ended 5/5/23.
             2   5/21/2023   Bromberg, Brian                0.2 Coordinate responses to follow up questions on cash flow.

             2   5/21/2023   Sveen, Andrew                  0.4 Revise commentary on Debtors' cash flow budget to actuals.

             2   5/22/2023   Gray, Michael                  0.3 Review cash variance report in advance of discussion with A&M.

             2   5/22/2023   Gray, Michael                  0.2 Participate in discussion with A&M re: cash variance report.

             2   5/22/2023   Simms, Steven                  0.4 Evaluate items related to cash management issues.

             2   5/22/2023   Bromberg, Brian                0.2 Review cash flow reporting provided by A&M.

             2   5/22/2023   Bromberg, Brian                0.2 Correspond on cash flow updates with A&M.

             2   5/22/2023   Sveen, Andrew                  0.2 Summarize issues related to Debtors' most recent cash flow reporting.

             2   5/22/2023   Sveen, Andrew                  0.4 Update summary of professional fees billed for the Debtors.

             2   5/22/2023   Sveen, Andrew                  1.6 Prepare presentation for UCC on budget to actuals for the week ended
                                                                5/5/23.
             2   5/22/2023   Sveen, Andrew                  1.1 Analyze Debtors' consolidated cash flow results for the case to date.

             2   5/22/2023   Risler, Franck                 0.3 Evaluate Jefferies' summary of the Debtors' venture portfolio to
                                                                understand potential realizable value re: liquidity.
             2   5/23/2023   Gray, Michael                  0.8 Provide comments on draft UCC report re: cash flow and liquidity
                                                                update.
             2   5/23/2023   Sveen, Andrew                  0.7 Revise presentation for UCC on budget to actuals for the week ended
                                                                5/5/23.
             2   5/23/2023   Sveen, Andrew                  0.9 Prepare summary of Debtors' cash inflows case to date.

             2   5/23/2023   Sveen, Andrew                  0.8 Revise analysis of Debtors' consolidated cash flow results for the case
                                                                to date.
             2   5/23/2023   Sveen, Andrew                  0.3 Summarize professional fees applications filed to date in case to track
                                                                run rates and disbursements.
             2   5/24/2023   Bromberg, Brian                0.2 Review cash flow data.

             2   5/24/2023   Gray, Michael                  0.6 Review case to date cash flows and professional fee accrual
                                                                information provided by A&M.
             2   5/24/2023   Sveen, Andrew                  0.4 Review most recent data updates by A&M re: cash flow.


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     Task Code      Date            Professional        Hours                                   Activity
         2       5/25/2023   Diaz, Matthew                   1.1 Review latest cash flow variance analysis to provide to UCC.

             2   5/25/2023   Sveen, Andrew                   0.3 Update summary of Debtors' professional fees case to date.

             2   5/25/2023   Sveen, Andrew                   0.2 Summarize newly received data from A&M re: cash flow materials.

             2   5/26/2023   Gray, Michael                   0.4 Review variance report provided by A&M.

             2   5/26/2023   Gray, Michael                   0.5 Provide comments on revised 13-week cash flow report provided by
                                                                 A&M.
             2   5/26/2023   Sveen, Andrew                   0.7 Revise cash flow presentation to UCC.

             2   5/26/2023   Sveen, Andrew                   0.6 Review Debtors' budget to actuals cash flow results.

             2   5/26/2023   Sveen, Andrew                   0.3 Assess filed professional fees applications to track disbursements.

             2   5/29/2023   Bromberg, Brian                 0.3 Review UCC materials on cash flow in advance of upcoming meeting.

             2   5/30/2023   Simms, Steven                   0.7 Prepare for UCC call re: liquidity and related items.

             2   5/30/2023   Bromberg, Brian                 0.4 Review latest cash flow reporting.

             2   5/30/2023   Bromberg, Brian                 0.5 Review latest cash flow budget.

             2   5/30/2023   Bromberg, Brian                 0.2 Review cash flow reporting from A&M.

             2   5/30/2023   Dawson, Maxwell                 0.4 Correspond with A&M re: latest cash flow forecast.

             2   5/30/2023   Gray, Michael                   0.5 Review revised 13-week cash flow report in advance of discussion
                                                                 with A&M.
             2   5/30/2023   Gray, Michael                   0.3 Review variance report in advance of discussion with A&M.

             2   5/30/2023   Gray, Michael                   0.4 Correspond with A&M re: cash flow reports.

             2   5/30/2023   Sveen, Andrew                   0.7 Review cash flow updates provided by A&M.

             2   5/30/2023   Sveen, Andrew                   0.5 Summarize updates to Debtors' cash flow results.

             2   5/31/2023   Sveen, Andrew                   0.5 Review professional fee run rates re: liquidity.

             2   5/31/2023   Sveen, Andrew                   1.8 Summarize issues related to Debtors plan for potential monetization of
                                                                 assets re: liquidity.
             2   5/31/2023   Sveen, Andrew                   0.2 Prepare daily update based on recent data received including
                                                                 professional fees detail budget.
       2 Total                                             127.6


             9   5/31/2023 Dawson, Max                       0.5 Analyze issues related to KEIP motion.


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     Task Code      Date           Professional        Hours                                 Activity
         9       5/17/2023   Dawson, Maxwell                1.0 Analyze documents received from the Debtors regarding the KEIP
                                                                negotiations.
       9 Total                                              1.5

         10      5/1/2023    Joffe, Steven                  0.6 Correspond with S&C and PH on tax issues.

         10      5/9/2023    Diaz, Matthew                  0.5 Review the tax considerations in connection with the tax claims filed.

         10      5/9/2023    Bromberg, Brian                0.4 Review IRS claim issues.

         10      5/9/2023    Bromberg, Brian                0.7 Review tax documents to identify various issues for customers.

         10      5/9/2023    Sveen, Andrew                  0.4 Consolidate filed tax claims to verify full coverage of tax related
                                                                claims.
         10      5/10/2023   Joffe, Steven                  1.5 Provide comments on tax claim support information.

         10      5/10/2023   Bromberg, Brian                0.5 Analyze filed tax claim issues.

         10      5/10/2023   Bromberg, Brian                0.3 Prepare responses to UCC on tax claims.

         10      5/11/2023   Joffe, Steven                  1.3 Correspond on tax issues with Debtors' tax advisors and S&C.

         10      5/11/2023   Sveen, Andrew                  1.2 Review filed tax claims.

         10      5/12/2023   Gray, Michael                  0.4 Review proof of claim for certain filed administrative priority tax
                                                                claims to understand reasoning and validity of size.
         10      5/15/2023   Joffe, Steven                  0.3 Correspond with S&C and PH to discuss tax implications on creditors'
                                                                claims.
         10      5/17/2023   Bromberg, Brian                0.4 Continue to review issues with filed IRS claims.

         10      5/17/2023   Sveen, Andrew                  0.5 Prepare summary of certain tax claims filed against the Debtors.

         10      5/17/2023   Gray, Michael                  0.6 Review summary of certain filed tax claims to understand claim
                                                                assertions by entity and potential duplication.
         10      5/18/2023   Bromberg, Brian                0.4 Review IRS claim chart.

         10      5/19/2023   Joffe, Steven                  1.5 Comment on proofs of claim and research regarding recent tax
                                                                changes.
         10      5/22/2023   Joffe, Steven                  1.3 Analyze proofs of claim re: tax claims.

         10      5/22/2023   Joffe, Steven                  1.8 Prepare presentation on tax claims and next steps.

         10      5/23/2023   Joffe, Steven                  1.4 Review deck for UCC with a focus on tax analysis.

         10      5/23/2023   Joffe, Steven                  0.6 Provide comments on UCC deck related to tax issues for the Debtors.

         10      5/24/2023   Joffe, Steven                  2.3 Revise deck for UCC re: certain tax claims against Debtors.


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     Task Code      Date           Professional         Hours                                      Activity
        10       5/24/2023   Bromberg, Brian                 0.5 Comment on tax slides.

         10      5/24/2023   Gray, Michael                   0.8 Update tax claims analysis and related report for the UCC re: IRS.

         10      5/24/2023   Sveen, Andrew                   0.5 Prepare presentation for UCC on tax claims against the Debtors.

         10      5/25/2023   Gray, Michael                   0.8 Revise UCC report re: IRS proofs of claim.

         10      5/29/2023   Bromberg, Brian                 0.6 Review tax claim summary materials.

         10      5/30/2023   Bromberg, Brian                 0.2 Review slides related to filed tax claims.

         10      5/31/2023   Joffe, Steven                   1.0 Correspond with S&C and PH re: tax claims issues for Debtors.

      10 Total                                              23.3

         13      5/1/2023    Dawson, Maxwell                 0.3 Prepare daily update re: various filed fee applications and dataroom
                                                                 uploads.
         13      5/4/2023    Dawson, Maxwell                 0.2 Prepare daily update re: automatic stay enforcement and other case
                                                                 events.
         13      5/9/2023    Sheridan, Jeremy                0.7 Prepare for upcoming testimony on sealing motion re: customer name
                                                                 redaction.
         13      5/10/2023   Sheridan, Jeremy                1.3 Prepare for upcoming testimony on customer sealing motion.

         13      5/12/2023   Dawson, Maxwell                 0.2 Prepare daily update re: customer information sealing motion and
                                                                 other updates.
         13      5/15/2023   Dawson, Maxwell                 0.1 Prepare daily update re: OCP issues.

         13      5/19/2023   Sheridan, Jeremy                1.1 Prepare for upcoming testimony re: customer information sealing.

         13      5/26/2023   Bromberg, Brian                 0.4 Review equity term sheet draft.

         13      5/31/2023   Sheridan, Jeremy                0.9 Prepare for upcoming testimony on information sealing motion.

      13 Total                                               5.2

         14      5/1/2023    Diodato, Michael                1.0 Analyze petition time pricing and different options for handling
                                                                 claims valuation.
         14      5/1/2023    Langer, Cameron                 0.3 Analyze crypto price data near the FTX petition date re: claims
                                                                 valuation.
         14      5/1/2023    de Brignac, Jessica             0.3 Summarize updates to Debtors' crypto portfolio re: claims
                                                                 calculations.
         14      5/1/2023    de Brignac, Jessica             0.6 Review KYC best practice documentation for customer account portal
                                                                 recommendations.
         14      5/1/2023    Risler, Franck                  0.3 Correspond with PH on volume weighted methodology for alternative
                                                                 calculation of claims for certain coins.
         14      5/2/2023    Diodato, Michael                0.3 Analyze petition time pricing and different customer claims valuation
                                                                 methodology.

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     Task Code     Date             Professional        Hours                                    Activity
        14       5/2/2023   de Brignac, Jessica              0.7 Update KYC best practices and send to A&M re: customer claims
                                                                 portal.
         14      5/3/2023   Dawson, Maxwell                  0.9 Prepare analysis re: scheduled cryptocurrency claims by exchange.

         14      5/3/2023   Diodato, Michael                 2.5 Analyze petition time pricing and different options for handling
                                                                 certain tokens in claims valuation.
         14      5/3/2023   Langer, Cameron                  0.6 Estimate potential adjustments to customer claims valuations.

         14      5/3/2023   Risler, Franck                   2.1 Calculate alternative customer claims valuations using certain pricing
                                                                 methodologies re: petition date claim amounts.
         14      5/3/2023   Risler, Franck                   2.9 Perform certain cost analysis at the petition date based on the locally
                                                                 linear order book framework re: customer claims analysis.
         14      5/3/2023   Risler, Franck                   0.9 Evaluate results from certain cost analysis based on locally linear
                                                                 order book method re: claims.
         14      5/4/2023   Bromberg, Brian                  0.3 Review data summary of crypto claims.

         14      5/4/2023   Diodato, Michael                 1.6 Analyze petition time pricing to understand customer claims under
                                                                 various pricing methodologies.
         14      5/4/2023   Diodato, Michael                 1.5 Assess additional considered claims valuation methodologies for
                                                                 certain tokens at issue.
         14      5/4/2023   Diodato, Michael                 1.7 Evaluate Debtors' petition time liquidity as part of claims valuation
                                                                 analysis.
         14      5/4/2023   Langer, Cameron                  2.5 Retrieve petition-date price and volume data for certain customer
                                                                 claim valuation methodologies.
         14      5/5/2023   Diodato, Michael                 2.1 Analyze petition time pricing and different options for handling the
                                                                 customer claims valuation.
         14      5/5/2023   Langer, Cameron                  1.6 Reconcile certain coin pricing methodologies re: customer claims
                                                                 valuation.
         14      5/5/2023   Langer, Cameron                  2.8 Calculate coin prices over multiple windows during the petition date
                                                                 time period re: claims analysis.
         14      5/5/2023   Langer, Cameron                  2.4 Calculate the petition date coin price using a certain claims valuation
                                                                 methodology.
         14      5/8/2023   Dawson, Maxwell                  0.5 Assess latest analysis regarding crypto claim SOAL data.

         14      5/8/2023   Bromberg, Brian                  0.4 Review customer claims analysis.

         14      5/8/2023   Risler, Franck                   1.2 Calculate illiquid token prices with volume weighted average price
                                                                 and compute relevant sensitivity for claims analysis.
         14      5/8/2023   Langer, Cameron                  1.3 Calculate a certain price for coins in the FTX portfolio re: claims
                                                                 valuation.
         14      5/8/2023   Langer, Cameron                  1.8 Assess coins in Debtors' portfolio as of the petition date based on
                                                                 calculated prices.
         14      5/8/2023   Langer, Cameron                  0.5 Compare crypto prices and other crypto data on the petition date.

         14      5/8/2023   Diodato, Michael                 2.2 Calculate potential prices for various tokens at petition time re: claims
                                                                 analysis.
         14      5/8/2023   Diodato, Michael                 0.9 Assess calculated coin prices for certain tokens at petition time re:
                                                                 customer claims.

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     Task Code     Date             Professional        Hours                                     Activity
        14       5/8/2023   Diodato, Michael                 1.5 Calculate petition time pricing at different time points for claims
                                                                 assessment.
         14      5/8/2023   Diodato, Michael                 1.5 Comment on language in customer bar date motion re: claims
                                                                 valuation.
         14      5/8/2023   Diodato, Michael                 1.4 Analyze petition time pricing using an alternative valuation
                                                                 methodology.
         14      5/8/2023   Diodato, Michael                 1.8 Prepare calculations on the petition time pricing of certain tokens.

         14      5/8/2023   de Brignac, Jessica               0.9 Assess token risk updates for inclusion in report.

         14      5/8/2023   Carter, Michael                   2.4 Assess creditor-focused risk issues related to the claims portal for anti-
                                                                  fraud and access issue resolution.
         14      5/8/2023   Carter, Michael                   1.7 Prepare summary of considerations for anti-fraud and access issue
                                                                  resolution re: claims portal.
         14      5/9/2023   Bromberg, Brian                   0.5 Review customer bar date information.

         14      5/9/2023   Bromberg, Brian                   0.6 Summarize issues regarding customer claims portal to prepare for
                                                                  upcoming meeting with PH.
         14      5/9/2023   Bromberg, Brian                   0.4 Review customer claims portal process information.

         14      5/9/2023   Simms, Steven                     0.6 Evaluate recent updates to customer claims information.

         14      5/9/2023   Diaz, Matthew                     1.0 Correspond with the Debtors re: the claims portal.

         14      5/9/2023   Diaz, Matthew                     0.6 Review issues regarding the claims portal to plan for potential
                                                                  solutions.
         14      5/9/2023   Bromberg, Brian                   0.6 Review pricing and valuation issues regarding customer claims.

         14      5/9/2023   Bromberg, Brian                   0.5 Draft responses to inquiries from creditors on potential claims portal
                                                                  issues.
         14      5/9/2023   Bromberg, Brian                   0.6 Analyze potential solutions for common issues re: the claims portal.

         14      5/9/2023   Bromberg, Brian                   1.0 Correspond with the Debtors re: the claims portal.

         14      5/9/2023   Bromberg, Brian                   0.7 Create a list of stratified customer claims data.

         14      5/9/2023   Bromberg, Brian                   0.4 Review SOAL data to assess Debtors claims pool.

         14      5/9/2023   Langer, Cameron                   2.8 Analyze the price of the cryptocurrency assets in the Debtors' portfolio
                                                                  in the period surrounding the petition date.
         14      5/9/2023   Langer, Cameron                   1.2 Develop token classification based on market capitalization and risk
                                                                  and return metrics for claims analysis.
         14      5/9/2023   Langer, Cameron                   1.3 Aggregate the petition pricing data and other statistical measures for
                                                                  certain creditors by legal entity.
         14      5/9/2023   Diodato, Michael                  2.2 Analyze petition time pricing using an alternative claims valuation
                                                                  methodology.
         14      5/9/2023   Diodato, Michael                  1.3 Continue to analyze petition time pricing using an alternative claim
                                                                  valuation methodology.

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     Task Code     Date              Professional        Hours                                     Activity
        14       5/9/2023    Diodato, Michael                 2.7 Calculate potential prices for the tokens at petition time re: claims
                                                                  valuation.
         14      5/9/2023    McNew, Steven                    2.3 Summarize challenges re: the customer claims portal to prepare a
                                                                  recommendation to the UCC that addresses data integrity issues.
         14      5/9/2023    de Brignac, Jessica              0.5 Assess potential improvements re: the customer claims portal.

         14      5/9/2023    de Brignac, Jessica               0.7 Analyze customer claims portal details provided by A&M.

         14      5/9/2023    Diodato, Michael                  0.5 Correspondwith third-party data provider to review offerings for
                                                                   claims pricing.
         14      5/10/2023   Risler, Franck                    0.5 Correspond with PH on the possible methodologies to calculate claims
                                                                   for various tokens.
         14      5/10/2023   Bromberg, Brian                   0.6 Analyze information related to claim and token valuation.

         14      5/10/2023   Bromberg, Brian                   0.4 Assess information related to claims portal.

         14      5/10/2023   Bromberg, Brian                   0.6 Assess claims portal timeline and content.

         14      5/10/2023   Diodato, Michael                  0.5 Correspond with PH on petition time pricing for claims analysis.

         14      5/10/2023   Risler, Franck                    2.4 Estimate certain adjustments to Debtors' portfolio at petition date to
                                                                   assess sensitivity to market parameters re: claims.
         14      5/10/2023   Risler, Franck                    1.2 Analyze valuation of certain coins under various scenarios prior to the
                                                                   petition date re: claims.
         14      5/10/2023   Risler, Franck                    1.4 Prepare additional analysis on coin pricing as of the petition date re:
                                                                   claims.
         14      5/10/2023   Langer, Cameron                   1.6 Process trading data for certain coins in the Debtors' portfolio.

         14      5/10/2023   Langer, Cameron                   0.2 Analyze price data for different crypto assets over various time
                                                                   periods preceding the petition date.
         14      5/10/2023   Diodato, Michael                  1.5 Analyze quantity of coins for petition time re: customer claims value
                                                                   calculation.
         14      5/10/2023   Diodato, Michael                  2.2 Analyze petition time pricing using an alternative valuation
                                                                   methodology re: customer claims.
         14      5/10/2023   Diodato, Michael                  0.5 Review Debtors' petition time pricing and compare to UCC's pricing.

         14      5/10/2023   Diodato, Michael                  0.5 Calculate potential prices for the tokens at petition time.

         14      5/10/2023   Carter, Michael                   2.1 Advise UCC on certain risk issues related to the claims portal.

         14      5/11/2023   Bromberg, Brian                   0.6 Analyze information related to claim and token valuations for latest
                                                                   coin report.
         14      5/11/2023   Simms, Steven                     0.4 Provide comments on recent issues re: customer claims portal.

         14      5/11/2023   Bromberg, Brian                   0.7 Review updates to customer claims portal with Debtors and A&M.

         14      5/11/2023   Risler, Franck                    1.3 Estimate certain token prices in the liability schedule over a series of
                                                                   periods preceding the bankruptcy filing to help with claim analysis.

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     Task Code      Date              Professional        Hours                                      Activity
        14       5/11/2023   Risler, Franck                    0.8 Update the coin classifications for the calculation of the coin value in
                                                                   the context of claims analysis.
         14      5/11/2023   Langer, Cameron                   2.0 Analyze crypto price and volume data around the FTX petition time to
                                                                   identify large impact market events.
         14      5/11/2023   Langer, Cameron                   0.7 Identify petition date price discrepancies from certain data sources to
                                                                   help reconcile the data.
         14      5/11/2023   Guo, Xueying                      2.8 Adjust certain price calculations to verify results of claims pool
                                                                   valuation.
         14      5/11/2023   Guo, Xueying                      1.5 Reorganize entity aggregation results to increase accuracy of customer
                                                                   claims on FTX tokens.
         14      5/11/2023   Guo, Xueying                      2.6 Review certain price calculations to include additional lookback
                                                                   windows.
         14      5/11/2023   Diaz, Matthew                     0.9 Review updates re: the opening date of the customer claims portal.

         14      5/11/2023   Diodato, Michael                  0.3 Correspond with A&M to discuss petition time pricing and data
                                                                   sources.
         14      5/11/2023   Diodato, Michael                  0.5 Assess the impact of different petition time pricing on total value of
                                                                   customer claims.
         14      5/11/2023   Diodato, Michael                  1.3 Calculate petition time pricing at different time points for claims
                                                                   analysis.
         14      5/11/2023   Diodato, Michael                  2.5 Classify tokens for the purpose of deciding claims valuation
                                                                   methodology.
         14      5/11/2023   Diodato, Michael                  1.6 Analyze petition time pricing using an alternative pricing
                                                                   methodology.
         14      5/11/2023   Leonaitis, Isabelle               0.3 Correspond with Debtors on customer claims valuation.

         14      5/11/2023   Carter, Michael                   1.5 Continue to assess creditor-focused risk issues related to the claims
                                                                   portal for anti-fraud and access issue resolution.
         14      5/11/2023   Leonaitis, Isabelle               0.8 Analyze KYC protocols in connection with the customer claims
                                                                   portal.
         14      5/12/2023   Diaz, Matthew                     0.6 Continue to review Debtors' coin pricing as of the petition date to
                                                                   understand customer claims valuation.
         14      5/12/2023   Bromberg, Brian                   0.5 Assess the claim pricing analysis impact on recovery for certain
                                                                   creditors.
         14      5/12/2023   Bromberg, Brian                   0.8 Correspond with PH re: customer claim pricing analysis.

         14      5/12/2023   Guo, Xueying                      2.0 Perform detailed review of volume-weighted average price calculation
                                                                   outputs and adjust calculations accordingly re: claims valuation.
         14      5/12/2023   Risler, Franck                    0.7 Assess best data provider for complex trading and historical analysis
                                                                   for claim calculations.
         14      5/12/2023   Risler, Franck                    0.9 Correspond with PH to articulate methodologies for the pricing of
                                                                   coins for claims calculation.
         14      5/12/2023   Risler, Franck                    0.6 Correspond with PH on pricing of coins for claim calculation.

         14      5/12/2023   Risler, Franck                    1.9 Continue to perform calculations on Debtors' coin prices for claim
                                                                   analysis.
         14      5/12/2023   Risler, Franck                    0.5 Review presentation provided by the Debtors re: claim summary and
                                                                   pricing assumptions slide deck.

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     Task Code      Date              Professional        Hours                                     Activity
        14       5/12/2023   Risler, Franck                    1.7 Estimate certain adjustments to Debtors' coins at petition under a
                                                                   potential claims pricing methodology using certain statistical models.
         14      5/12/2023   Langer, Cameron                   2.9 Analyze hypothetical remaining value of creditors' claims using
                                                                   petition date price and volume data under a certain valuation
                                                                   methodology.
         14      5/12/2023   Langer, Cameron                   1.6 Compare the various potential pricing methodologies for the analysis
                                                                   of creditor claims.
         14      5/12/2023   Langer, Cameron                   2.7 Calculate petition date prices for creditors' claims based on a certain
                                                                   claim pricing methodology.
         14      5/12/2023   Langer, Cameron                   0.8 Calculate petition date values for the creditors' claims based on open
                                                                   price data on the petition date.
         14      5/12/2023   Guo, Xueying                      2.4 Identify base token from the supplied token and source market prices
                                                                   for customer claims pool assessment.
         14      5/12/2023   Guo, Xueying                      1.2 Analyze additional inputs for price calculation under a certain claim's
                                                                   pricing methodology.
         14      5/12/2023   Diodato, Michael                  0.6 Correspond with PH on petition time pricing for claims analysis.

         14      5/12/2023   Diodato, Michael                   2.3 Assess petition time pricing using an alternative pricing calculation re:
                                                                    claims analysis.
         14      5/12/2023   Carter, Michael                    2.1 Assess potential creditor risks for stakeholders re: claims portal.

         14      5/12/2023   Diodato, Michael                   1.8 Classify tokens for the purpose of deciding claims pricing.

         14      5/13/2023   Bromberg, Brian                    0.5 Review SOAL data summary.

         14      5/15/2023   Bromberg, Brian                    0.4 Review claim reconciliation issues.

         14      5/15/2023   Bromberg, Brian                    0.2 Review customer claims portal questions.

         14      5/15/2023   Bromberg, Brian                    0.8 Assess customer claims data to draft responses to claim portal
                                                                    inquiries.
         14      5/15/2023   Diodato, Michael                   2.4 Analyze potential alternative pricing models for valuing the tokens at
                                                                    petition time for customer claims.
         14      5/15/2023   Diodato, Michael                   1.7 Evaluate tokens during the petition time period given certain pricing
                                                                    assumptions re: customer claims valuation.
         14      5/15/2023   Diodato, Michael                   2.3 Calculate the value weighted average price of the tokens for valuation
                                                                    at the petition time for the claim valuation process.
         14      5/15/2023   Diodato, Michael                   1.4 Conduct claims analysis following coin pricing model processing.

         14      5/15/2023   Gray, Michael                      1.3 Perform assessment of discrepancies between FTI and Debtors'
                                                                    representations of customer claim amounts by exchange.
         14      5/15/2023   Simms, Steven                      0.6 Review customer claims portal issues and related questions.

         14      5/15/2023   Langer, Cameron                    1.5 Analyze crypto trading volume data sourced from Coin Market Cap.

         14      5/15/2023   Langer, Cameron                    1.6 Retrieve open, high, low, close and volume data to be used in
                                                                    calculating customer claims under certain valuation methodologies.
         14      5/15/2023   Guo, Xueying                       2.8 Modify certain petition value calculations in response to the new
                                                                    customer claims sheet.
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     Task Code      Date            Professional         Hours                                    Activity
        14       5/15/2023   Guo, Xueying                     1.0 Review certain price calculation methodology and reporting format for
                                                                  customer claims.
         14      5/15/2023   Guo, Xueying                     2.3 Verify consistency of the petition and different pricing methodology
                                                                  value calculations.
         14      5/15/2023   Carter, Michael                  1.7 Advise stakeholders on creditor-focused risk issues related to the
                                                                  claims portal.
         14      5/16/2023   Bromberg, Brian                  0.4 Review claims portal issues.

         14      5/16/2023   Bromberg, Brian                  0.3 Assess KYC information collection issues for claims portal and
                                                                  reconciliation process.
         14      5/16/2023   Bromberg, Brian                  1.5 Provide comments on analysis of customer claims pool.

         14      5/16/2023   Bromberg, Brian                  1.2 Perform review of updated analysis of claims pool.

         14      5/16/2023   Bromberg, Brian                  2.9 Perform reconciliation analysis of claims amounts across sources.

         14      5/16/2023   Diodato, Michael                 2.6 Reconcile A&M's pricing of the tokens at petition time against a third-
                                                                  party data source re: customer claims valuation.
         14      5/16/2023   Diodato, Michael                 2.0 Summarize tokenized claims pricing analysis for PH.

         14      5/16/2023   Langer, Cameron                  2.5 Analyze price data near the petition date to determine market impact
                                                                  of filing re: customer claims valuation.
         14      5/16/2023   Garofalo, Michael                0.7 Strategize re: analysis of claim data from SOALs.

         14      5/16/2023   Carter, Michael                  2.7 Mitigate issues related to the claims portal, including anti-fraud and
                                                                  access issues.
         14      5/16/2023   Langer, Cameron                  2.2 Calculate certain price data adjustments for crypto claims assessment.

         14      5/16/2023   Langer, Cameron                  2.8 Implement code to calculate claim pricing information from third
                                                                  party data.
         14      5/16/2023   Guo, Xueying                     2.7 Compute final production results of Debtors' claim valuation at
                                                                  petition date.
         14      5/16/2023   Guo, Xueying                     0.6 Perform remediation of potential mismatches in claim pricing data.

         14      5/16/2023   Majkowski, Stephanie             2.2 Create code to compare crypto claim position data across different
                                                                  sources.
         14      5/16/2023   Majkowski, Stephanie             2.0 Analyze claims summary focusing on token categorization.

         14      5/16/2023   Majkowski, Stephanie             2.9 Create initial category metrics for token categorization for claims
                                                                  analysis.
         14      5/16/2023   Majkowski, Stephanie             1.2 Investigate petition date pricing from A&M to compare to third party
                                                                  provider.
         14      5/16/2023   Leonaitis, Isabelle              0.8 Review ongoing analysis of petition date cryptocurrency pricing and
                                                                  customer claims valuation.
         14      5/17/2023   Bromberg, Brian                  2.6 Review claim scenarios based on pricing differences.

         14      5/17/2023   Bromberg, Brian                  0.4 Supplement claims portal question list.


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     Task Code      Date           Professional          Hours                                    Activity
        14       5/17/2023   Bromberg, Brian                  0.7 Review comparison of March presentation data to SOALs claims re:
                                                                  customer liabilities.
         14      5/17/2023   Bromberg, Brian                  1.3 Perform reconciliation analysis of claim amounts across sources.

         14      5/17/2023   Bromberg, Brian                  2.0 Create summary sheet for claim scenarios.

         14      5/17/2023   Bromberg, Brian                  0.6 Load latest pricing scenarios into claims analysis.

         14      5/17/2023   Diodato, Michael                 2.9 Analyze impact of different claims valuation methodologies on the
                                                                  claims pool.
         14      5/17/2023   Diodato, Michael                 2.3 Summarize status of token claims pricing analysis for PH.

         14      5/17/2023   Diodato, Michael                 2.5 Review certain value adjustment model for impact on possible claims
                                                                  pool valuation.
         14      5/17/2023   Langer, Cameron                  1.1 Aggregate petition date values for different legal entities relevant for
                                                                  creditor claims.
         14      5/17/2023   Langer, Cameron                  2.3 Develop petition-date pricing methodology for creditor claims
                                                                  analysis.
         14      5/17/2023   Langer, Cameron                  0.8 Calculate total petition-date value as estimated from pricing analysis
                                                                  for each legal entity in the Debtors' portfolio.
         14      5/17/2023   Langer, Cameron                  1.2 Calculate petition date prices for creditor claims using historical
                                                                  quotes data.
         14      5/17/2023   Langer, Cameron                  2.6 Calculate data for crypto assets listed in creditor claims.

         14      5/17/2023   Guo, Xueying                     2.6 Test quality check of value and petition value calculations for Debtor
                                                                  tokens, categorized by entities.
         14      5/17/2023   Majkowski, Stephanie             2.8 Incorporate additional categories into token categorization code for
                                                                  claims analysis.
         14      5/17/2023   Majkowski, Stephanie             2.9 Create categorization code to analyze data for claims summary
                                                                  analysis.
         14      5/17/2023   Majkowski, Stephanie             2.2 Investigate 3rd party functionality related to token data for claims
                                                                  summary analysis.
         14      5/17/2023   de Brignac, Jessica              0.4 Review customer bar date questions as they related to crypto holdings
                                                                  and claims.
         14      5/18/2023   Sveen, Andrew                    0.4 Prepare summary of Debtors' filings including the bar date motion.

         14      5/18/2023   Bromberg, Brian                  0.5 Correspond on coin valuation with PH re: customer claims.

         14      5/18/2023   Bromberg, Brian                  0.5 Review latest dataroom document updates re: customer claims
                                                                  valuation.
         14      5/18/2023   Bromberg, Brian                  0.6 Finalize draft claims scenarios.

         14      5/18/2023   Bromberg, Brian                  0.5 Correspond with KYC on processes for claims management with
                                                                  Debtors.
         14      5/18/2023   Bromberg, Brian                  0.9 Add pricing scenarios for claims pool to revise previous analysis.

         14      5/18/2023   Diaz, Matthew                    0.6 Review claims analysis for new pricing inputs.


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     Task Code      Date            Professional         Hours                                Activity
        14       5/18/2023   Diaz, Matthew                    0.5 Correspond with KYC on the Debtors on claims analysis process.

         14      5/18/2023   Carter, Michael                  0.9 Advise stakeholders on creditor focused risk issues related to the
                                                                  customer claims portal.
         14      5/18/2023   Diodato, Michael                 0.5 Correspond with A&M regarding petition time pricing differences and
                                                                  pricing data quality re: claims valuation.
         14      5/18/2023   Diodato, Michael                 2.7 Categorize tokens for potentially different valuation methodologies.

         14      5/18/2023   Diodato, Michael                 1.4 Identify deficiencies in Debtors' petition time claims pricing.

         14      5/18/2023   Diodato, Michael                 0.7 Correspond with PH to discuss claims pricing process.

         14      5/18/2023   Langer, Cameron                  0.8 Compare the petition date claims prices as determined by market data
                                                                  and liquidation models.
         14      5/18/2023   Langer, Cameron                  1.8 Evaluate relative value of creditor claims using another potential
                                                                  claims pricing methodology.
         14      5/18/2023   Langer, Cameron                  0.4 Reconcile price discrepancies between historical quote and endpoints
                                                                  for a crypto market data provider re: claims analysis.
         14      5/18/2023   Langer, Cameron                  2.1 Calculate petition-date prices for the crypto assets listed in creditor
                                                                  claims using historical quotes data.
         14      5/18/2023   Langer, Cameron                  2.9 Estimate hypothetical liquidation costs and monetization values for
                                                                  the FTX crypto portfolio around the petition date re: claims analysis.
         14      5/18/2023   Guo, Xueying                     2.1 Evaluate results of FTX tokens' value adjustment calculation re:
                                                                  claims analysis.
         14      5/18/2023   Guo, Xueying                     1.4 Review assumptions used in the adjustment calculation model, and
                                                                  parameter settings re: claims.
         14      5/18/2023   Majkowski, Stephanie             2.6 Analyze claims summary information to incorporate into token
                                                                  categorization code.
         14      5/18/2023   Majkowski, Stephanie             1.5 Categorize additional claims based on token classifications.

         14      5/18/2023   Majkowski, Stephanie             0.5 Correspond with A&M re: petition date pricing with focus on price
                                                                  discrepancy resolution.
         14      5/18/2023   Majkowski, Stephanie             2.2 Analyze previous coin positions and incorporate into token
                                                                  categorization code re: claims analysis.
         14      5/18/2023   de Brignac, Jessica              0.7 Review claims pool scenario data.

         14      5/18/2023   de Brignac, Jessica              0.5 Summarize claims process updates re: portal and valuation.

         14      5/19/2023   Bromberg, Brian                  0.5 Correspond on claims portal demonstration with Debtors.

         14      5/19/2023   Bromberg, Brian                  0.6 Review reconciliation of claim database information.

         14      5/19/2023   Diaz, Matthew                    0.5 Correspond with the Debtors on the claims portal.

         14      5/19/2023   Gray, Michael                    0.5 Correspond with Debtors on claims portal.

         14      5/19/2023   Sveen, Andrew                    1.5 Summarize key issues re: Debtors' customer claims and holdings.


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     Task Code      Date             Professional        Hours                                   Activity
        14       5/19/2023   Diodato, Michael                 0.5 Correspond with Debtors' re: demo of the claims portal for the UCC.

         14      5/19/2023   Busen, Michael                   1.6 Analyze coin and token pricing to evaluate claims.

         14      5/19/2023   Diodato, Michael                 1.7 Categorize tokens for potentially different valuation treatment re:
                                                                  customer claims.
         14      5/19/2023   Langer, Cameron                  2.3 Estimate relative weights of each crypto asset in the creditor claims
                                                                  based on hypothetical monetization at or near the petition date.
         14      5/19/2023   Majkowski, Stephanie             1.2 Incorporate equity and locked coin categories into token
                                                                  categorization code for claims analysis.
         14      5/19/2023   Carter, Michael                  0.2 Assess risk issues for claims portal for Debtors including anti-fraud
                                                                  and access issues resolutions.
         14      5/19/2023   Leonaitis, Isabelle              1.3 Review claims data token categorizations.

         14      5/19/2023   de Brignac, Jessica              0.9 Review claims portal considerations for customer claimants.

         14      5/19/2023   de Brignac, Jessica              0.5 Analyze token classifications for claims.

         14      5/22/2023   Risler, Franck                   0.6 Analyze claims pool distribution under various claims pricing
                                                                  scenarios.
         14      5/22/2023   Bromberg, Brian                  0.6 Review data reconciliation issues re: claim pricing.

         14      5/22/2023   Risler, Franck                   1.4 Define the tokens categorization for the claims analysis.

         14      5/22/2023   Carter, Michael                  2.4 Assess creditor-focused risk issues re: customer claims portal.

         14      5/22/2023   Risler, Franck                   0.4 Assess progress on the reconciliation of the pricing data for claims.

         14      5/22/2023   Diodato, Michael                 1.9 Classify different tokens into categories for analysis for claims.

         14      5/22/2023   Diodato, Michael                 1.3 Analyze claims based on certain token categories.

         14      5/22/2023   Diodato, Michael                 2.4 Categorize tokens into manual overrides for different features at
                                                                  petition time.
         14      5/22/2023   Diodato, Michael                 1.1 Develop presentation for PH summarizing the claims analysis.

         14      5/22/2023   Diodato, Michael                 2.8 Quantify impact of different token classifications for the claims.

         14      5/22/2023   Langer, Cameron                  2.2 Develop token categorization using market data for the FTX portfolio
                                                                  re: claim valuation.
         14      5/22/2023   Langer, Cameron                  2.6 Calculate key metrics for pricing of illiquid crypto assets re: claims
                                                                  valuation.
         14      5/22/2023   de Brignac, Jessica              0.6 Analyze stablecoin token categorization for claims data.

         14      5/23/2023   Bromberg, Brian                  0.2 Review claims analysis issues re: pricing and valuation.

         14      5/23/2023   Bromberg, Brian                  0.2 Prepare follow-up responses to inquiries re: claims valuation.


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     Task Code      Date             Professional        Hours                                  Activity
        14       5/23/2023   Diodato, Michael                 2.0 Revise presentation for PH summarizing the claims analysis.

         14      5/23/2023   Risler, Franck                   1.6 Performed detailed review of draft deck on token classification
                                                                  methodology for claims valuation.
         14      5/23/2023   Majkowski, Stephanie             2.2 Perform reconciliation analysis of token classification for claims
                                                                  valuation.
         14      5/23/2023   Risler, Franck                   1.4 Analyze the pros and cons of the shortlisted institutional crypto data
                                                                  providers required in the context of the claim analysis.
         14      5/23/2023   Diodato, Michael                 2.1 Quantify impact of different token classifications for the claims.

         14      5/23/2023   Diodato, Michael                 1.3 Classify tokens in various categories in order to test impact on claims.

         14      5/23/2023   Langer, Cameron                  2.1 Determine estimated creditor claims pool proportions using petition
                                                                  date prices for crypto tokens.
         14      5/23/2023   Langer, Cameron                  1.2 Perform scenario analysis on creditor claims using a combination of
                                                                  value weighted average pricing and petition date pricing.
         14      5/23/2023   Langer, Cameron                  1.9 Aggregate petition date values by token category for creditor claims
                                                                  pool analysis.
         14      5/23/2023   Carter, Michael                  1.1 Assess creditor-focused risk issues related to the claims portal,
                                                                  including anti-fraud and access issue resolution.
         14      5/23/2023   Leonaitis, Isabelle              0.3 Develop coin pricing analysis re: customer claims valuation.

         14      5/23/2023   Leonaitis, Isabelle              0.8 Review data provider summary document and claims pricing
                                                                  presentation options.
         14      5/24/2023   Bromberg, Brian                  0.3 Review loans payable data to understand claims sizing.

         14      5/24/2023   Diaz, Matthew                    1.2 Review the coin valuation analysis prepared for the claims analysis.

         14      5/24/2023   Diodato, Michael                 0.4 Write presentation for PH summarizing the claims analysis.

         14      5/24/2023   Diodato, Michael                 2.5 Finalize claims analysis presentation containing findings on various
                                                                  claims scenarios.
         14      5/24/2023   Diodato, Michael                 0.5 Correspond on claims pricing with PH.

         14      5/24/2023   Gray, Michael                    0.5 Prepare summary of third-party loan payables related to a certain
                                                                  Debtor entity to understand counterparties and size of claims.
         14      5/24/2023   Risler, Franck                   1.2 Finalize deck on methodology for coin pricing for the claim analysis.

         14      5/24/2023   Langer, Cameron                  0.7 Reconcile petition date prices as retrieved from historical quote data.

         14      5/24/2023   Leonaitis, Isabelle              0.2 Prepare information for UCC re: customer claims portal.

         14      5/24/2023   de Brignac, Jessica              1.2 Communicate with UCC re: customer claims portal and coordinate
                                                                  account setup with A&M.
         14      5/25/2023   Simms, Steven                    0.3 Evaluate latest updates on customer claims portal items.

         14      5/25/2023   Bromberg, Brian                  0.8 Review reconciliation of claim data.


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     Task Code      Date            Professional        Hours                                     Activity
        14       5/25/2023   Diaz, Matthew                   0.7 Review analysis on coin pricing as of the petition date re: customer
                                                                 claims valuation.
         14      5/25/2023   Gray, Michael                   1.1 Evaluate token classifications and claims valuations analysis in order
                                                                 to understand impact on claims.
         14      5/25/2023   Langer, Cameron                 1.6 Analyze creditor claims at the petition date using a combination of
                                                                 value weighted average pricing and hypothetical monetized value.
         14      5/25/2023   Langer, Cameron                 1.0 Evaluate creditor claims by token category and prescribe valuation
                                                                 methodology to be used for each category.
         14      5/25/2023   Langer, Cameron                 2.1 Assess the impact of using carious claims valuation methodologies on
                                                                 the proportion of creditor claims by tokens in the FTX portfolio.
         14      5/25/2023   Langer, Cameron                 1.5 Analyze different methodologies for assessing petition date values and
                                                                 the impact to creditor claims pool proportions.
         14      5/25/2023   Langer, Cameron                 0.5 Compare certain claim adjustments between petition date and current
                                                                 market conditions.
         14      5/25/2023   Diodato, Michael                0.7 Review third party crypto data to evaluate alternative pricing sources
                                                                 re: claims analysis.
         14      5/25/2023   Leonaitis, Isabelle             1.9 Review pricing data testing and compare to current methodologies re:
                                                                 customer claims valuation.
         14      5/25/2023   Leonaitis, Isabelle             2.5 Evaluate changes in claims pool based on various claim pricing
                                                                 methodologies for certain illiquid tokens.
         14      5/26/2023   Carter, Michael                 1.7 Analyze fraud and cybersecurity risks for the customer claims portal.

         14      5/26/2023   Bromberg, Brian                 0.2 Review claims portal process to understand timeline and
                                                                 reconciliation process.
         14      5/26/2023   Bromberg, Brian                 1.2 Finalize comments on customer claim reconciliation.

         14      5/26/2023   Jordan, Mason                   0.2 Update customer data analysis for customer claims of certain Debtor
                                                                 exchanges.
         14      5/26/2023   de Brignac, Jessica             0.8 Prepare summaries for UCC re: customer claims portal and coordinate
                                                                 account setup with A&M.
         14      5/30/2023   Simms, Steven                   0.3 Correspond on latest on claims investigation.

         14      5/30/2023   Bromberg, Brian                 0.5 Review data related issues on claims amounts.

         14      5/30/2023   Bromberg, Brian                 0.4 Review claim valuation summary.

         14      5/30/2023   Bromberg, Brian                 0.8 Review claims portal issues.

         14      5/30/2023   Bromberg, Brian                 0.5 Review claim agent pricing.

         14      5/30/2023   Bromberg, Brian                 0.5 Correspond on claims portal costs with Debtors.

         14      5/30/2023   Langer, Cameron                 2.9 Analyze creditor claims and perform scenario analysis using petition
                                                                 prices and volume-weighted average pricing.
         14      5/30/2023   Langer, Cameron                 2.4 Aggregate liquidation-adjusted values for creditor claims across FTX
                                                                 legal entities.
         14      5/30/2023   Langer, Cameron                 1.6 Calculate liquidation-adjusted values under a certain valuation
                                                                 scenario for creditor claims across Debtor exchanges.

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     Task Code      Date             Professional        Hours                                    Activity
        14       5/30/2023   Langer, Cameron                  1.1 Calculate liquidation-adjusted petition prices for creditor claims.

         14      5/30/2023   Carter, Michael                   2.3 Create considerations for potential online data risks with the customer
                                                                   claims portal.
         14      5/30/2023   Leonaitis, Isabelle               0.3 Summarize token tracing findings for inclusion in customer claims
                                                                   analysis.
         14      5/30/2023   de Brignac, Jessica               0.6 Summarize customer claims valuation analysis and portal
                                                                   considerations.
         14      5/30/2023   de Brignac, Jessica               0.6 Coordinate access for UCC to customer claims portal and
                                                                   communicate with A&M re: testing.
         14      5/30/2023   de Brignac, Jessica               0.4 Review wallet tracing analysis related to customer claims.

         14      5/30/2023   de Brignac, Jessica               0.5 Coordinate customer claims portal access and issue troubleshooting
                                                                   with A&M.
         14      5/30/2023   Majkowski, Stephanie              1.0 Investigate market data for ongoing analysis and valuations of tokens
                                                                   in FTX positions re: claims.
         14      5/31/2023   Bromberg, Brian                   0.5 Continue to review claim valuation summary.

         14      5/31/2023   Diodato, Michael                  2.5 Revise presentation on claims pricing to include proposed legal
                                                                   language from PH.
         14      5/31/2023   Diodato, Michael                  0.8 Review quality of data providers for sourcing data around the petition
                                                                   date to calculate claims analysis.
         14      5/31/2023   Langer, Cameron                   2.2 Analyze the proportion of creditor claims by token classification using
                                                                   a variety of valuation methodologies.
         14      5/31/2023   Langer, Cameron                   1.8 Estimate optimal liquidation costs at petition using quoted prices and
                                                                   value weighted average pricing re: claims analysis.
         14      5/31/2023   Guo, Xueying                      1.2 Report certain pricing adjustments used in various claims valuation
                                                                   methodologies by each token's classification.
         14      5/31/2023   Guo, Xueying                      2.3 Test the new token's classifications and certain value adjustments in
                                                                   each category re: claim pool sizing assessment.
         14      5/31/2023   Guo, Xueying                      0.9 Review new analysis requests and plan from FTX UCC, perform the
                                                                   analysis on creditor claims book.
         14      5/31/2023   Risler, Franck                    1.4 Update calculation of claims valuation by type of token.

         14      5/31/2023   Risler, Franck                    0.5 Revise updated deck to PH on claims valuation.

         14      5/31/2023   de Brignac, Jessica               0.8 Continue to coordinate customer claims portal access with UCC
                                                                   members and troubleshoot issues with A&M.
         14      5/31/2023   Majkowski, Stephanie              1.3 Investigate data robustness of provided data with a focus on analysis
                                                                   and valuations of tokens in FTX positions re: claims.
      14 Total                                              374.8

         16      5/1/2023    Simms, Steven                     0.4 Review issues related to Debtors' proposed plan strategies.

         16      5/1/2023    Diaz, Matthew                     0.3 Prepare plan materials for upcoming UCC meeting.

         16      5/2/2023    Bromberg, Brian                   0.4 Prepare preliminary plan for waterfall analysis to assess potential
                                                                   credit recovery strategies.

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     Task Code     Date            Professional        Hours                                     Activity
        16       5/2/2023   Bromberg, Brian                 0.5 Update first draft of waterfall analysis.

         16      5/2/2023   Gray, Michael                   1.6 Prepare outline of waterfall to begin analysis to understand output,
                                                                key assumptions, and information sources.
         16      5/2/2023   Dawson, Maxwell                 1.0 Prepare analysis regarding distributable value in preliminary waterfall.

         16      5/2/2023   Dawson, Maxwell                 2.8 Prepare preliminary waterfall analysis by Debtor entity.

         16      5/2/2023   Sveen, Andrew                   1.0 Prepare waterfall analysis for recovery to claims.

         16      5/2/2023   Sveen, Andrew                   0.6 Continue to prepare waterfall analysis for recovery to claims by
                                                                entering corporate ownership information.
         16      5/2/2023   Dawson, Maxwell                 1.9 Prepare analysis regarding intercompany claims in preliminary
                                                                waterfall.
         16      5/3/2023   Bromberg, Brian                 0.4 Review initial waterfall.

         16      5/3/2023   Bromberg, Brian                 1.7 Compile questions on plan structure considerations for the Debtors.

         16      5/3/2023   Bromberg, Brian                 1.4 Research comparable case plan issues.

         16      5/3/2023   Dawson, Maxwell                 1.9 Prepare analysis regarding impact of customer property in preliminary
                                                                waterfall.
         16      5/3/2023   Gray, Michael                   1.4 Prepare preliminary list of key issues and questions re: waterfall
                                                                analysis.
         16      5/3/2023   Gray, Michael                   1.8 Evaluate supporting analysis and information re: waterfall analysis for
                                                                accuracy.
         16      5/3/2023   Gray, Michael                   2.6 Review preliminary draft of waterfall analysis under hypothetical
                                                                illustrative plan scenarios.
         16      5/3/2023   Gray, Michael                   2.1 Provide comments on preliminary waterfall analysis re: inputs and
                                                                assumptions.
         16      5/3/2023   Dawson, Maxwell                 1.4 Prepare analysis regarding equity ownership in preliminary waterfall.

         16      5/3/2023   Sveen, Andrew                   0.9 Revise waterfall analysis for claims recovery.

         16      5/3/2023   Sveen, Andrew                   2.1 Prepare waterfall analysis for recovery to claims by determining
                                                                Debtor entities' equity ownerships.
         16      5/3/2023   Dawson, Maxwell                 1.4 Prepare analysis regarding pre-petition intercompany claims in
                                                                preliminary waterfall.
         16      5/3/2023   Dawson, Maxwell                 1.7 Prepare analysis regarding preference claims and recoveries in
                                                                preliminary waterfall.
         16      5/3/2023   Dawson, Maxwell                 0.6 Prepare analysis regarding priority claims in preliminary waterfall.

         16      5/4/2023   Sveen, Andrew                   1.0 Review inputs for waterfall analysis of creditor recoveries.

         16      5/4/2023   Diaz, Matthew                   1.1 Assess the Debtors' legal entity's structure.

         16      5/4/2023   Bromberg, Brian                 0.6 Finalize summary of potential plan strategies, issues, and
                                                                considerations.

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     Task Code     Date           Professional        Hours                                    Activity
        16       5/4/2023   Dawson, Maxwell                1.9 Update scenario analysis in preliminary waterfall to assess optimal
                                                               recovery path.
         16      5/4/2023   Dawson, Maxwell                2.0 Prepare analysis regarding crypto claims by Debtor entity and
                                                               exchange for inclusion in waterfall analysis.
         16      5/4/2023   Dawson, Maxwell                1.3 Compile list of key considerations and assumptions involved in
                                                               preliminary waterfall.
         16      5/4/2023   Gray, Michael                  0.9 Assess undetermined scheduled assets for potential inclusion of value
                                                               in waterfall analysis.
         16      5/4/2023   Gray, Michael                  0.6 Review summary of waterfall by Silo for key takeaways of analysis.

         16      5/4/2023   Gray, Michael                  1.8 Revise waterfall analysis for updated assumptions.

         16      5/4/2023   Gray, Michael                  1.0 Prepare list of considerations for issues re: Debtors' plan.

         16      5/4/2023   Gray, Michael                  1.2 Evaluate preference analysis and allocations in preliminary waterfall
                                                               analysis.
         16      5/4/2023   Gray, Michael                  0.6 Update preliminary list of key issues and questions in advance of plan
                                                               discussion.
         16      5/4/2023   Gray, Michael                  0.6 Review organizational structure for Silo and equity mapping in
                                                               waterfall analysis.
         16      5/4/2023   Gray, Michael                  0.9 Review waterfall analysis and assumptions in advance of discussion.

         16      5/4/2023   Gray, Michael                  0.4 Assess updates on intercompany balances and its impact on latest
                                                               waterfall analysis.
         16      5/4/2023   Diaz, Matthew                  1.3 Review recovery analysis prepared by team for potential claims
                                                               recoveries.
         16      5/4/2023   Bromberg, Brian                0.5 Review considerations for Debtors' plan with focus on treatment of
                                                               intercompany claims.
         16      5/4/2023   Dawson, Maxwell                1.4 Prepare analysis regarding administrative claims in preliminary
                                                               waterfall.
         16      5/4/2023   Dawson, Maxwell                1.8 Prepare analysis regarding certain other claims in preliminary
                                                               waterfall.
         16      5/5/2023   Diaz, Matthew                  0.9 Prepare for the meeting with the Debtors on plan alternatives.

         16      5/5/2023   Diaz, Matthew                  2.0 Correspond with the Debtors' advisors to discuss plan alternatives.

         16      5/5/2023   Bromberg, Brian                2.0 Correspond with Debtors re: Plan.

         16      5/5/2023   Dawson, Maxwell                2.4 Build additional functionality in waterfall re: certain unsecured claim
                                                               seniority status.
         16      5/5/2023   Gray, Michael                  2.1 Review waterfall analysis for updates to assumptions for model.

         16      5/5/2023   Diaz, Matthew                  1.1 Correspond with PH to discuss plan alternatives.

         16      5/5/2023   Simms, Steven                  2.0 Correspond with Debtors on potential plan structures.

         16      5/8/2023   Diaz, Matthew                  0.5 Correspond with PH on plan considerations.


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     Task Code     Date            Professional        Hours                                    Activity
        16       5/8/2023    Bromberg, Brian                0.5 Review previous iterations of recovery waterfall analysis to
                                                                understand changes in assumptions and mechanics.
         16      5/8/2023    Bromberg, Brian                1.0 Review potential plan issues list.

         16      5/8/2023    Bromberg, Brian                0.7 Review simplified waterfall model.

         16      5/8/2023    Bromberg, Brian                0.4 Prepare for call with PH and Jefferies to plan for upcoming UCC
                                                                meeting.
         16      5/8/2023    Bromberg, Brian                0.6 Update draft list of key issues to consider re: plan structures.

         16      5/8/2023    Bromberg, Brian                0.8 Review asset and liability mapping for recovery waterfall model.

         16      5/8/2023    Bromberg, Brian                0.5 Correspond on plan issues with PH based on most recent analysis.

         16      5/8/2023    Dawson, Maxwell                0.5 Correspond with PH re: plan constructs and draft waterfall.

         16      5/8/2023    Gray, Michael                  0.5 Correspond with PH team re: plan issues and related waterfall
                                                                analysis.
         16      5/8/2023    Gray, Michael                  0.3 Review ownership of silo pooling accounts to understanding
                                                                recoveries under a certain plan scenario.
         16      5/9/2023    Diaz, Matthew                  1.3 Review plan considerations to evaluate different scenario options.

         16      5/9/2023    Diaz, Matthew                  0.5 Correspond with PH to review plan considerations.

         16      5/9/2023    Bromberg, Brian                1.3 Provide comments on issues list re: waterfall analysis.

         16      5/9/2023    Dawson, Maxwell                1.3 Prepare comparable study of complex bankruptcy timeline to reach
                                                                confirmation.
         16      5/9/2023    Dawson, Maxwell                1.5 Update illustrative waterfall for comments from PH.

         16      5/9/2023    Dawson, Maxwell                1.3 Prepare revised summary output page of illustrative waterfall.

         16      5/9/2023    Gray, Michael                  0.9 Prepare analysis on complex case timelines to benchmark bar date,
                                                                plan/DS, and effective date timing.
         16      5/9/2023    Gray, Michael                  1.1 Review docket filings for comparable complex cases for inclusion in
                                                                timeline benchmarking analysis.
         16      5/9/2023    Gray, Michael                  2.1 Prepare detailed list of key assumptions and issues with waterfall
                                                                analysis in connection with plan discussions.
         16      5/10/2023   Bromberg, Brian                0.6 Finalize case timeline comparable study re: plan.

         16      5/10/2023   Bromberg, Brian                0.6 Review case timeline comparable information for plan considerations.

         16      5/10/2023   Diaz, Matthew                  2.4 Provide comments on the draft recovery analysis.

         16      5/10/2023   Bromberg, Brian                0.5 Analyze plan structure documents provided by PH.

         16      5/10/2023   Bromberg, Brian                1.9 Review illustrative waterfall model.


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     Task Code      Date           Professional        Hours                                   Activity
        16       5/10/2023   Bromberg, Brian                1.4 Continue to review draft waterfall model.

         16      5/10/2023   Bromberg, Brian                1.8 Revise waterfall issues and questions list.

         16      5/10/2023   Bromberg, Brian                0.6 Analyze revised waterfall issue list prior to sharing with PH.

         16      5/10/2023   Bromberg, Brian                0.6 Revise plan schematic slide in deck for UCC.

         16      5/10/2023   Bromberg, Brian                0.7 Provide comments on UCC slides from waterfall model.

         16      5/10/2023   Bromberg, Brian                1.1 Perform testing on potential recoveries based on various waterfall
                                                                scenarios.
         16      5/10/2023   Dawson, Maxwell                2.1 Modify consolidation methodology in illustrative waterfall.

         16      5/10/2023   Dawson, Maxwell                1.3 Prepare illustrative asset and claim schematic to summarize
                                                                assumptions in the waterfall model.
         16      5/10/2023   Dawson, Maxwell                1.5 Perform detailed quality check on illustrative waterfall model.

         16      5/10/2023   Dawson, Maxwell                1.8 Prepare analysis regarding inter-silo transactions in illustrative
                                                                waterfall.
         16      5/10/2023   Gray, Michael                  0.9 Review illustrative plan outline prepared by PH to understand
                                                                proposed transaction structure and plan treatment.
         16      5/10/2023   Gray, Michael                  1.4 Update timeline benchmarking analysis to incorporate suggested
                                                                additional cases.
         16      5/10/2023   Gray, Michael                  0.7 Provide comments on illustrative plan structure schematic for
                                                                inclusion in report to UCC.
         16      5/10/2023   Sveen, Andrew                  1.5 Summarize key points of call with UCC re: plan and disclosure
                                                                statement.
         16      5/10/2023   Dawson, Maxwell                2.8 Analyze exchange claims in illustrative waterfall analysis.

         16      5/10/2023   Gray, Michael                  1.8 Provide comments on draft waterfall model re: treatment of certain
                                                                claims.
         16      5/10/2023   Gray, Michael                  0.8 Review updates to waterfall analysis summary re: claims and
                                                                recoveries by Silo.
         16      5/11/2023   Diaz, Matthew                  0.7 Correspond with PH to discuss additional potential plan scenarios to
                                                                be added to waterfall analysis.
         16      5/11/2023   Bromberg, Brian                0.7 Review waterfall scenario to assess impact of potential intercompany
                                                                balances between Debtors' entities.
         16      5/11/2023   Bromberg, Brian                1.2 Revise waterfall issues list to prepare for upcoming meeting with
                                                                UCC.
         16      5/11/2023   Bromberg, Brian                1.2 Test waterfall model to confirm distribution priority is accurately
                                                                represented.
         16      5/11/2023   Bromberg, Brian                0.8 Design slides for waterfall analysis.

         16      5/11/2023   Bromberg, Brian                0.8 Prepare agenda re: waterfall analysis for upcoming meeting with PH.

         16      5/11/2023   Bromberg, Brian                0.6 Provide comments on latest draft of waterfall slides.


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     Task Code      Date           Professional        Hours                                    Activity
        16       5/11/2023   Bromberg, Brian                0.8 Review latest version of plan term sheet.

         16      5/11/2023   Bromberg, Brian                0.7 Correspond on the latest waterfall analysis and term sheet with PH to
                                                                address recent inquiries and changes to intercompany.
         16      5/11/2023   Dawson, Maxwell                1.9 Update illustrative waterfall for additional requested scenarios.

         16      5/11/2023   Dawson, Maxwell                0.6 Finalize study of comparable complex case timeline to reach
                                                                confirmation.
         16      5/11/2023   Dawson, Maxwell                2.3 Prepare additional asset structuring schematic in illustrative waterfall.

         16      5/11/2023   Dawson, Maxwell                1.4 Prepare analysis re: crypto valuation in illustrative waterfall.

         16      5/11/2023   Gray, Michael                  0.4 Process updates to draft case timeline benchmarking chart for
                                                                inclusion in report to UCC.
         16      5/11/2023   Gray, Michael                  0.7 Perform detailed review of waterfall model to ensure proper flow of
                                                                value and claim assertions.
         16      5/11/2023   Gray, Michael                  0.7 Correspond with PH re: plan structure and waterfall.

         16      5/11/2023   Gray, Michael                  0.9 Review latest iteration of waterfall analysis for updates to equity value
                                                                flows, customer prioritization, and preferences.
         16      5/11/2023   Sveen, Andrew                  0.6 Summarize issues related to Debtors' plan and disclosure statement
                                                                draft.
         16      5/11/2023   Diaz, Matthew                  0.5 Review updated scenario plans to account for updated preference
                                                                analysis.
         16      5/12/2023   Sveen, Andrew                  0.5 Review most recent case updates and impact on recoveries re:
                                                                intercompany balances.
         16      5/12/2023   Diaz, Matthew                  1.6 Provide comments on plan presentation to prepare for upcoming
                                                                meeting with the UCC.
         16      5/12/2023   Diaz, Matthew                  2.4 Provide comments on updated scenarios added to the waterfall
                                                                analysis.
         16      5/12/2023   Bromberg, Brian                1.0 Correspond with Debtors to review waterfall analysis and compare
                                                                asset and claim assumptions.
         16      5/12/2023   Bromberg, Brian                1.7 Review waterfall slides to provide comments on different plan
                                                                structures.
         16      5/12/2023   Bromberg, Brian                0.5 Assess new plan scenarios impact on creditor recoveries.

         16      5/12/2023   Bromberg, Brian                0.4 Correspond with Jefferies re: waterfall analysis.

         16      5/12/2023   Bromberg, Brian                1.4 Provide comments on updated waterfall analysis.

         16      5/12/2023   Dawson, Maxwell                2.9 Prepare slides regarding illustrative waterfall assumptions and
                                                                findings.
         16      5/12/2023   Dawson, Maxwell                2.1 Prepare additional sensitivity analysis in waterfall model from A&M
                                                                discussion.
         16      5/12/2023   Dawson, Maxwell                1.0 Correspond with A&M re: waterfall assumptions and plan constructs.

         16      5/12/2023   Dawson, Maxwell                2.4 Supplement waterfall model scenarios based on discussion with
                                                                A&M.

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     Task Code      Date           Professional        Hours                                     Activity
        16       5/12/2023   Dawson, Maxwell                1.4 Process updates to illustrative waterfall model.

         16      5/12/2023   Dawson, Maxwell                1.5 Analyze assumptions regarding preference data and recoveries in
                                                                illustrative waterfall.
         16      5/12/2023   Dawson, Maxwell                0.3 Update complex case comparable study based on comments from PH.

         16      5/12/2023   Gray, Michael                  2.7 Begin to prepare summary presentation on waterfall analysis and
                                                                illustrative plan structure.
         16      5/12/2023   Gray, Michael                  0.6 Review plan issues list provided by PH prior to distribution to the
                                                                UCC for accuracy and transparency.
         16      5/12/2023   Gray, Michael                  1.0 Correspond with A&M re: assumptions in waterfall analysis and
                                                                contemplated plan structure.
         16      5/12/2023   Gray, Michael                  0.6 Review additional toggles incorporated to waterfall model to ensure
                                                                accuracy.
         16      5/12/2023   Gray, Michael                  1.1 Review assumptions and mechanics used in waterfall model under
                                                                illustrative hypothetical scenarios.
         16      5/12/2023   Gray, Michael                  0.4 Modify additional assets in waterfall analysis to omit certain
                                                                investments that were scheduled at an undetermined value.
         16      5/12/2023   Simms, Steven                  0.7 Provide comments on creditor recovery model, including potential
                                                                new scenarios to consider.
         16      5/12/2023   Bromberg, Brian                0.5 Update plan scenarios to address recent changes to customer claims.

         16      5/13/2023   Bromberg, Brian                1.2 Test updated waterfall model scenarios to assess different creditor
                                                                recoveries.
         16      5/13/2023   Bromberg, Brian                2.1 Provide comments on updated scenarios to improve accuracy.

         16      5/13/2023   Gray, Michael                  0.9 Update waterfall analysis for assertion of intercompanies under
                                                                illustrative plan structure scenarios.
         16      5/13/2023   Gray, Michael                  0.6 Prepare description of illustrative hypothetical scenarios for inclusion
                                                                in plan structure report.
         16      5/13/2023   Gray, Michael                  1.3 Ensure proper integration of key assumptions in live waterfall model
                                                                under illustrative hypothetical plan scenarios.
         16      5/13/2023   Gray, Michael                  0.6 Incorporate bar chart outlining exchange recoveries under each
                                                                illustrative plan structure scenario into latest draft of the report.
         16      5/13/2023   Gray, Michael                  2.1 Prepare summary of key considerations and potential issues associated
                                                                with illustrative assets and claims contemplated in the draft waterfall
                                                                analysis.
         16      5/13/2023   Gray, Michael                  0.8 Prepare summary of claims pool at a certain Silo to understand
                                                                percentage of claims associated with other Silos.
         16      5/14/2023   Diaz, Matthew                  2.4 Review revised illustrative recovery analysis.

         16      5/14/2023   Bromberg, Brian                2.2 Provide comments on latest waterfall analysis.

         16      5/14/2023   Gray, Michael                  0.4 Update draft plan structure presentation for latest recovery analysis
                                                                summaries.
         16      5/14/2023   Gray, Michael                  0.5 Update waterfall analysis to omit converted stablecoin and adjust
                                                                valuation of certain category B token.
         16      5/14/2023   Gray, Michael                  0.9 Review coin and cash reports to assess potential duplicity of
                                                                stablecoin conversion re: waterfall analysis.
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     Task Code      Date            Professional        Hours                                    Activity
        16       5/14/2023   Gray, Michael                   0.4 Update allocation of post-petition restructuring costs for latest
                                                                 methodology re: waterfall analysis.
         16      5/14/2023   Gray, Michael                   0.7 Perform detailed quality check of draft plan structure presentation
                                                                 prior to distribution.
         16      5/15/2023   Bromberg, Brian                 2.4 Update waterfall presentation to address recent comments.

         16      5/15/2023   Bromberg, Brian                 2.1 Review latest version of recovery model.

         16      5/15/2023   Bromberg, Brian                 1.7 Provide comments on latest recovery analysis.

         16      5/15/2023   Bromberg, Brian                 1.0 Assess various plan structures and its impact on various creditor
                                                                 recoveries.
         16      5/15/2023   Bromberg, Brian                 0.7 Evaluate hypothetical illustrative waterfall scenarios to understand
                                                                 impact to creditor recoveries under certain plan structures.
         16      5/15/2023   Bromberg, Brian                 1.0 Correspond on waterfall analysis with PH to provide updates on latest
                                                                 scenarios.
         16      5/15/2023   Diaz, Matthew                   2.9 Perform detailed review of the illustrative recovery analysis.

         16      5/15/2023   Dawson, Maxwell                 2.4 Update waterfall model to incorporate latest requested summary data.

         16      5/15/2023   Dawson, Maxwell                 1.8 Update slides summarizing findings from illustrative waterfall.

         16      5/15/2023   Dawson, Maxwell                 1.3 Prepare additional analysis in waterfall model re: distributable value.

         16      5/15/2023   Gray, Michael                   1.7 Revise waterfall analysis and report for updated scenario and
                                                                 assumptions.
         16      5/15/2023   Gray, Michael                   0.6 Update summary charts in draft report for latest waterfall output.

         16      5/15/2023   Gray, Michael                   0.9 Synthesize recovery analysis output information by scenario re:
                                                                 recoveries for unsecured creditor class by hypothetical plan structure.
         16      5/15/2023   Gray, Michael                   1.2 Evaluate model mechanics under certain plan structure scenarios re:
                                                                 waterfall analysis.
         16      5/15/2023   Gray, Michael                   0.8 Prepare summary of key assumptions used in draft waterfall analysis.

         16      5/15/2023   Gray, Michael                   0.6 Review potential offsets against certain loan holders re: preferences in
                                                                 connection with plan structure and illustrative recovery analysis
                                                                 presentation.
         16      5/15/2023   Gray, Michael                   0.4 Update loan collateral valuation for revised crypto prices re: waterfall
                                                                 analysis.
         16      5/15/2023   Gray, Michael                   1.0 Provide summaries on latest plan updates.

         16      5/15/2023   Dawson, Maxwell                 1.7 Reconcile crypto customer claims in illustrative waterfall.

         16      5/15/2023   Gray, Michael                   0.6 Prepare overview of exchange claims recoveries broken out by
                                                                 recovery from illustrative plan structure scenarios.
         16      5/16/2023   Bromberg, Brian                 0.6 Correspond on potential plan structures with PH.

         16      5/16/2023   Bromberg, Brian                 0.9 Analyze suggested changes to recovery analysis.

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     Task Code      Date           Professional        Hours                                  Activity
        16       5/16/2023   Bromberg, Brian                1.2 Assess assumptions for recovery analysis.

         16      5/16/2023   Diaz, Matthew                  1.8 Provide comments on the updated recovery analysis.

         16      5/16/2023   Dawson, Maxwell                1.5 Update waterfall model to account for latest cash estimates.

         16      5/16/2023   Dawson, Maxwell                0.6 Correspond with PH to discuss illustrative waterfall analysis.

         16      5/16/2023   Gray, Michael                  2.1 Prepare UCC report re: waterfall analysis.

         16      5/16/2023   Gray, Michael                  0.6 Correspond with PH re: waterfall.

         16      5/16/2023   Gray, Michael                  1.0 Incorporate additional disclosures to revised waterfall analysis
                                                                assumptions in draft UCC report.
         16      5/16/2023   Gray, Michael                  0.9 Evaluate settlement of post-petition intercompany receivables and
                                                                allocation of estimated administrative expense in waterfall analysis.
         16      5/16/2023   Simms, Steven                  0.4 Monitor status of plan and waterfall proposal.

         16      5/16/2023   Simms, Steven                  0.4 Evaluate waterfall analysis presentation to UCC.

         16      5/16/2023   Dawson, Maxwell                1.9 Prepare analysis regarding potential preference claims in illustrative
                                                                waterfall.
         16      5/16/2023   Dawson, Maxwell                2.3 Prepare analysis re: illustrative intercompany claims in waterfall.

         16      5/17/2023   Bromberg, Brian                0.9 Review model changes for recovery analysis.

         16      5/17/2023   Bromberg, Brian                0.9 Revise plan schematic presentation.

         16      5/17/2023   Bromberg, Brian                1.7 Analyze assumptions for recovery analysis.

         16      5/17/2023   Bromberg, Brian                0.8 Provide comments on latest presentation of recovery amounts.

         16      5/17/2023   Bromberg, Brian                1.2 Assess changes to waterfall model.

         16      5/17/2023   Diaz, Matthew                  2.1 Provide comments on update of the recovery analysis.

         16      5/17/2023   Dawson, Maxwell                2.8 Construct additional scenarios in illustrative waterfall model.

         16      5/17/2023   Dawson, Maxwell                0.7 Prepare summary of waterfall issues outstanding based on latest
                                                                comments.
         16      5/17/2023   Dawson, Maxwell                2.0 Prepare analysis re: administrative claim assumptions in waterfall.

         16      5/17/2023   Gray, Michael                  0.7 Analyze ventures summary report in connection with revisions to
                                                                investments assumptions in waterfall analysis.
         16      5/17/2023   Gray, Michael                  2.4 Provide comments re: updated assumptions to illustrative plan
                                                                scenarios, assets, and claim assertions.
         16      5/17/2023   Gray, Michael                  0.6 Update top coin holdings analysis for waterfall.


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     Task Code      Date           Professional        Hours                                  Activity
        16       5/18/2023   Bromberg, Brian                1.3 Review changes to waterfall model.

         16      5/18/2023   Bromberg, Brian                0.8 Provide comments on updated waterfall recovery model.

         16      5/18/2023   Bromberg, Brian                0.8 Review recovery analysis slides for UCC.

         16      5/18/2023   Bromberg, Brian                1.8 Review latest draft waterfall analysis.

         16      5/18/2023   Diaz, Matthew                  2.4 Assess potential recoveries for creditors based on updated waterfall
                                                                analysis.
         16      5/18/2023   Dawson, Maxwell                1.7 Supplement waterfall model with additional potential plan construct.

         16      5/18/2023   Dawson, Maxwell                2.2 Update waterfall slides for additional comments from PH.

         16      5/18/2023   Dawson, Maxwell                2.0 Update waterfall model for additional scenarios requested by PH.

         16      5/18/2023   Dawson, Maxwell                1.4 Begin to prepare additional waterfall model to address an additional
                                                                proposed plan scenario.
         16      5/18/2023   Gray, Michael                  1.0 Prepare additional scenarios in waterfall model as part of recovery
                                                                evaluation.
         16      5/18/2023   Gray, Michael                  1.9 Review waterfall analysis and report in advance of distribution to PH
                                                                and Jefferies teams.
         16      5/18/2023   Gray, Michael                  0.6 Update summary memo in waterfall analysis re: customer property.

         16      5/18/2023   Gray, Michael                  0.7 Review assumptions used in waterfall analysis and related summary
                                                                output charts in draft report.
         16      5/18/2023   Gray, Michael                  0.7 Update summary detail of investments for known liquidated
                                                                investments re: waterfall analysis.
         16      5/18/2023   Gray, Michael                  0.8 Review customer exchange claim recovery build-up to illustrate
                                                                methodology for waterfall report.
         16      5/19/2023   Bromberg, Brian                0.6 Review comments to recovery analysis.

         16      5/19/2023   Bromberg, Brian                0.5 Correspond on waterfall analysis with PH.

         16      5/19/2023   Bromberg, Brian                0.4 Review model changes for recovery analysis.

         16      5/19/2023   Bromberg, Brian                1.6 Prepare for recovery modeling discussion.

         16      5/19/2023   Bromberg, Brian                0.7 Review alternative plan materials.

         16      5/19/2023   Bromberg, Brian                1.0 Correspond on waterfall analyses with Debtors.

         16      5/19/2023   Diaz, Matthew                  1.7 Review of the updated recovery analysis.

         16      5/19/2023   Diaz, Matthew                  1.0 Correspond with A&M on the recovery analysis.

         16      5/19/2023   Gray, Michael                  0.6 Update allocation of post-petition restructuring costs for latest
                                                                thinking on methodology re: waterfall analysis.

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     Task Code      Date            Professional        Hours                                   Activity
        16       5/19/2023   Gray, Michael                   0.7 Update report on waterfall analysis for latest methodology and
                                                                 recoveries.
         16      5/19/2023   Gray, Michael                   1.0 Correspond with A&M re: waterfall analysis assumptions and
                                                                 contemplated plan structure.
         16      5/19/2023   Gray, Michael                   1.8 Modify waterfall analysis and summary outputs.

         16      5/19/2023   Gray, Michael                   0.5 Correspond with PH re: recovery analysis report and contemplated
                                                                 plan structure.
         16      5/19/2023   Bromberg, Brian                 0.3 Prepare summary of the most recent analysis of potential plan
                                                                 structures for UCC meeting.
         16      5/19/2023   Simms, Steven                   0.6 Review waterfall analysis to understand creditor recoveries under
                                                                 various plan structures.
         16      5/19/2023   Gray, Michael                   1.5 Prepare summary of claims recoveries with updated model
                                                                 assumptions.
         16      5/22/2023   Gray, Michael                   0.4 Prepare illustrative plan schematic for the Debtors' base case scenario.

         16      5/22/2023   Gray, Michael                   0.6 Review intercompany detail to understand payables and receivables at
                                                                 exchanges on a by entity and Silo basis re: waterfall analysis.
         16      5/22/2023   Gray, Michael                   1.8 Prepare summary deck on plan structure overview for two potential
                                                                 scenarios.
         16      5/22/2023   Gray, Michael                   1.2 Update analysis and report on plan structure overview re: two
                                                                 potential scenarios.
         16      5/22/2023   Bromberg, Brian                 0.4 Review assumptions for recovery analysis.

         16      5/22/2023   Bromberg, Brian                 0.8 Update slides on assets and liabilities used in recovery analysis.

         16      5/22/2023   Bromberg, Brian                 0.6 Analyze intercompany data and methods of consolidation.

         16      5/22/2023   Bromberg, Brian                 0.9 Provide comments on latest iteration of waterfall analysis.

         16      5/22/2023   Bromberg, Brian                 0.7 Comment on potential slides for UCC meeting re: plan.

         16      5/22/2023   Bromberg, Brian                 1.5 Review new slides for UCC on assets and liabilities in recovery
                                                                 analysis.
         16      5/22/2023   Bromberg, Brian                 0.2 Correspond on waterfall analysis with PH.

         16      5/23/2023   Risler, Franck                  1.0 Analyze "Plan Overview Presentation" in advance of plan discussions
                                                                 with UCC.
         16      5/23/2023   Bromberg, Brian                 0.7 Review assumptions for plan overview.

         16      5/23/2023   Bromberg, Brian                 1.7 Review plan overview presentation.

         16      5/23/2023   Bromberg, Brian                 0.4 Review latest updates to the recovery waterfall.

         16      5/23/2023   Bromberg, Brian                 2.1 Prepare for UCC call re: plan presentation.

         16      5/23/2023   Bromberg, Brian                 1.2 Comment on PH slides for plan overview.


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     Task Code      Date           Professional        Hours                                   Activity
        16       5/23/2023   Bromberg, Brian                0.6 Review asset and liability mapping for waterfall recovery analysis.

         16      5/23/2023   Diaz, Matthew                  1.3 Review the most recent version of plan presentation to the UCC.

         16      5/23/2023   Diaz, Matthew                  1.9 Review the updated recovery analysis.

         16      5/23/2023   Gray, Michael                  0.7 Review draft UCC report re: plan structure.

         16      5/23/2023   Gray, Michael                  0.6 Update analysis of post-petition intercompanies and cash balances to
                                                                account for fees paid to date re: waterfall analysis.
         16      5/23/2023   Gray, Michael                  0.6 Prepare analysis to assess cash balances under different allocations of
                                                                post-petition intercompanies re: waterfall analysis.
         16      5/23/2023   Gray, Michael                  2.1 Supplement waterfall model for Debtors' base case scenario and
                                                                related assumptions.
         16      5/23/2023   Gray, Michael                  1.6 Update draft UCC report for refined summary charts re: plan
                                                                structure.
         16      5/23/2023   Simms, Steven                  0.4 Evaluate plan issues presentation for the UCC.

         16      5/23/2023   Simms, Steven                  0.6 Provide comments on latest waterfall scenarios.

         16      5/23/2023   Sveen, Andrew                  0.4 Review presentation to UCC on considerations for plan structure.

         16      5/24/2023   Bromberg, Brian                0.5 Review asset and liability mapping.

         16      5/24/2023   Bromberg, Brian                1.2 Review waterfall scenario model.

         16      5/24/2023   Bromberg, Brian                1.1 Correspond on plan structure and asset and liability mapping with
                                                                UCC.
         16      5/24/2023   Diaz, Matthew                  2.1 Provide comments on the recently updated recovery analysis based on
                                                                new assumptions.
         16      5/24/2023   Gray, Michael                  1.1 Update waterfall analysis for PH suggested illustrative potential plan
                                                                structures.
         16      5/24/2023   Gray, Michael                  0.9 Review waterfall analysis under certain plan structures.

         16      5/24/2023   Sveen, Andrew                  0.5 Summarize results of the case and plan settlement.

         16      5/24/2023   Sveen, Andrew                  1.1 Summarize issues related to UCC commentary on the Debtors'
                                                                proposed plan.
         16      5/24/2023   Gray, Michael                  1.1 Summarize issues re: plan feedback from UCC.

         16      5/24/2023   Risler, Franck                 1.1 Correspond with UCC with a focus on the plan considerations.

         16      5/24/2023   Simms, Steven                  1.1 Correspond with UCC on plan report.

         16      5/24/2023   Diaz, Matthew                  1.1 Correspond with the UCC to discuss the plan process.

         16      5/25/2023   Bromberg, Brian                0.4 Correspond with PH to discuss waterfall.


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     Task Code      Date            Professional        Hours                                  Activity
        16       5/25/2023   Diaz, Matthew                   0.4 Correspond with PH re: the recovery analysis.

         16      5/25/2023   Dawson, Maxwell                 1.8 Draft list of proposed solutions to identified considerations re: plan
                                                                 structure.
         16      5/25/2023   Dawson, Maxwell                 1.3 Prepare financial model regarding a certain proposed plan structure.

         16      5/25/2023   Dawson, Maxwell                 0.3 Monitor latest status of waterfall presentation to UCC.

         16      5/25/2023   Dawson, Maxwell                 1.2 Analyze considerations related to a certain proposed plan structure.

         16      5/25/2023   Dawson, Maxwell                 0.9 Continue to prepare financial model regarding a certain proposed plan
                                                                 structure.
         16      5/25/2023   Gray, Michael                   1.4 Update key issues list with a new potential plan scenario re: waterfall
                                                                 analysis.
         16      5/25/2023   Gray, Michael                   0.6 Prepare strategy framework to illustratively assess a new potential
                                                                 plan structure.
         16      5/25/2023   Gray, Michael                   0.4 Prepare memo to illustrate calculation of post-petition intersilo
                                                                 balance deficit allocations re: waterfall analysis.
         16      5/25/2023   Simms, Steven                   0.8 Review waterfall analysis and scenarios.

         16      5/26/2023   Dawson, Maxwell                 1.3 Analyze intercompany transaction treatment regarding a certain
                                                                 proposed plan structure.
         16      5/26/2023   Simms, Steven                   0.6 Review waterfall scenario items on entity recovery.

         16      5/26/2023   Dawson, Maxwell                 1.0 Analyze claims pool in a certain proposed plan structure.

         16      5/30/2023   Simms, Steven                   0.6 Evaluate items related to plan structure alternatives.

         16      5/30/2023   Bromberg, Brian                 2.7 Review waterfall analysis presentation.

         16      5/30/2023   Bromberg, Brian                 0.7 Review waterfall assumptions based on latest updates.

         16      5/30/2023   Diaz, Matthew                   2.1 Review the latest recovery analysis.

         16      5/30/2023   Dawson, Maxwell                 1.7 Prepare slides re: recoveries in different plan structures for UCC.

         16      5/30/2023   Dawson, Maxwell                 2.5 Prepare analysis re: a certain illustrative plan structure in waterfall.

         16      5/30/2023   Dawson, Maxwell                 1.9 Perform detailed review of waterfall model to ensure proper
                                                                 functionality after changes.
         16      5/30/2023   Dawson, Maxwell                 2.0 Prepare additional slides re: buildup of recoveries in waterfall for
                                                                 UCC.
         16      5/30/2023   Dawson, Maxwell                 0.8 Continue to update summary charts of illustrative waterfall model
                                                                 outputs.
         16      5/30/2023   Gray, Michael                   1.5 Review latest draft of UCC report on plan structures and related
                                                                 recovery analyses.
         16      5/30/2023   Gray, Michael                   1.8 Update draft of UCC report on plan structures and related recovery
                                                                 analyses.

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     Task Code      Date            Professional        Hours                                    Activity
        16       5/30/2023   Gray, Michael                   0.4 Review summary of illustrative plan timeline for inclusion in plan
                                                                 structures report.
         16      5/30/2023   Gray, Michael                   0.9 Update allocation of post-petition restructuring costs methodology in
                                                                 waterfall model.
         16      5/30/2023   Gray, Michael                   2.2 Prepare UCC report on plan structures and related recovery analyses.

         16      5/30/2023   Gray, Michael                   0.8 Prepare charts for inclusion in executive summary re: plan structures
                                                                 report.
         16      5/30/2023   Gray, Michael                   0.7 Update key considerations and assumptions for latest figures used in
                                                                 waterfall analysis.
         16      5/30/2023   Gray, Michael                   0.3 Strategize potential sensitivity analyses to illustrate on recoveries for
                                                                 inclusion in plan UCC report.
         16      5/30/2023   Gray, Michael                   0.5 Review sensitivity analyses for accuracy and to understand impact on
                                                                 certain customer exchange claim recoveries.
         16      5/30/2023   Gray, Michael                   0.5 Update previous iterations of plan structure illustrative schematic for
                                                                 latest information on base and alternative case scenarios.
         16      5/30/2023   Sveen, Andrew                   1.0 Summarize issues related to the Debtors' plan for upcoming UCC call.

         16      5/30/2023   Dawson, Maxwell                 0.7 Update illustrative waterfall model to address issues with certain
                                                                 claims.
         16      5/30/2023   Gray, Michael                   0.5 Review claims pool for certain Silo as a percentage of exchange
                                                                 claims under the various potential plan scenarios.
         16      5/30/2023   Gray, Michael                   0.8 Prepare summary of assumed assets, liabilities, and intercompany
                                                                 claims under base case and alternative plan scenarios for inclusion in
                                                                 UCC report.
         16      5/31/2023   Bromberg, Brian                 0.6 Review entity level information for waterfall.

         16      5/31/2023   Bromberg, Brian                 0.7 Review assumptions used in waterfall analysis for certain plan
                                                                 scenarios.
         16      5/31/2023   Bromberg, Brian                 1.8 Provide comments to waterfall slides for UCC report.

         16      5/31/2023   Dawson, Maxwell                 1.7 Prepare illustrative waterfall scenarios re: additional requested
                                                                 functionality.
         16      5/31/2023   Dawson, Maxwell                 1.7 Prepare updates to illustrative waterfall slides for UCC.

         16      5/31/2023   Gray, Michael                   1.0 Update report on waterfall analysis for latest methodology and
                                                                 recoveries.
         16      5/31/2023   Gray, Michael                   0.3 Review monetization process of certain investment in order to update
                                                                 value assumptions in waterfall analysis.
         16      5/31/2023   Gray, Michael                   0.3 Prepare sensitivity analysis on certain plan structure for potential
                                                                 constructive trust.
         16      5/31/2023   Gray, Michael                   0.8 Review model and summary schedules for updates to a certain plan
                                                                 structure re: constructive trust.
         16      5/31/2023   Simms, Steven                   0.6 Review plan scenario waterfall issues.

         16      5/31/2023   Gray, Michael                   1.7 Summarize issues for UCC based on updates to plan considerations.

         16      5/31/2023   Dawson, Maxwell                 2.3 Prepare analysis re: treatment of certain claims in illustrative waterfall.

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      16 Total                                            362.8

         18      5/1/2023   Diaz, Matthew                   0.3 Review most recent findings from investigation on preference
                                                                analysis.
         18      5/1/2023   Bromberg, Brian                 0.4 Review investigation analysis related to preferences.

         18      5/1/2023   Anastasiou, Anastis             2.1 Review previous preference analysis on Debtor entity.

         18      5/1/2023   Anastasiou, Anastis             0.7 Prepare preference analysis for certain Debtor entities.

         18      5/1/2023   Anastasiou, Anastis             2.2 Update research on preference analyses to date.

         18      5/1/2023   Anastasiou, Anastis             1.3 Review documentation related to preference analysis for a different
                                                                entity.
         18      5/1/2023   Famiglietti, Tyler              1.0 Compile findings on collateral transfers related to loan transfers.

         18      5/1/2023   Famiglietti, Tyler              1.8 Continue search of production for documents to tie investments in
                                                                investment analysis tracker.
         18      5/1/2023   Famiglietti, Tyler              2.2 Review production for investment documents and trackers to populate
                                                                analysis.
         18      5/1/2023   Baer, Laura                     1.1 Analyze certain creditor's collateral movement to on chain wallets.

         18      5/1/2023   Rothschild, Elijah              2.8 Review investment contracts for between silos.

         18      5/1/2023   Rothschild, Elijah              2.7 Review bank statements to trace investment payments.

         18      5/1/2023   Rothschild, Elijah              2.5 Review Debtors' investment communications including emails and
                                                                slack.
         18      5/1/2023   Diodato, Michael                0.5 Assess potential avoidance actions investigations.

         18      5/1/2023   Shaik, Ismail                   2.7 Perform holistic quality check on preference analysis for certain
                                                                Debtor entity.
         18      5/1/2023   Shaik, Ismail                   2.8 Research use of shadow markets to enable front-running to confirm that
                                                                internal communications between certain Debtor entities were in fact
                                                                used for that purpose as opposed to legitimate liquidity provision.

         18      5/1/2023   Kimche, Livia                   2.5 Continue to reorganize general ledger files for automatic duplication
                                                                scenarios.
         18      5/1/2023   Kimche, Livia                   1.7 Continue loading process for general ledger files.

         18      5/1/2023   Stillman, Beulah                2.6 Identify additional documents related to Debtors' bank statements for
                                                                investigation.
         18      5/1/2023   Jordan, Mason                   2.5 Update code script to automate general ledger loading process.

         18      5/1/2023   Jordan, Mason                   1.1 Test the updated code script for general ledger analysis.

         18      5/1/2023   Jordan, Mason                   2.1 Write python script to automate the process of loading general ledgers.



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     Task Code     Date             Professional        Hours                                   Activity
        18       5/1/2023   Jordan, Mason                    1.8 Run code script for automation of general ledger loading process.

         18      5/1/2023   Stillman, Beulah                 2.7 Identify documents related to Debtors' bank statements for
                                                                 investigation.
         18      5/1/2023   Stillman, Beulah                 2.9 Continue to identify documents related to Debtors' bank statements for
                                                                 investigation.
         18      5/1/2023   Reid, Matthew                    2.7 Review analysis related to a certain Debtor entity and its relationship
                                                                 with FTX executives.
         18      5/1/2023   Reid, Matthew                    2.4 Review preference analysis re: certain Debtor entity.

         18      5/1/2023   Reid, Matthew                    2.9 Continue to review prior preference analysis for certain Debtor entity.

         18      5/1/2023   Majkowski, Stephanie             2.3 Investigate documents related to margin model to assess potential
                                                                 recovery action.
         18      5/1/2023   Fiorillo, Julianna               0.8 Review certain topic category for certain Debtor entity preference
                                                                 analysis.
         18      5/1/2023   Fiorillo, Julianna               1.7 Prepare intercompany analysis over Debtors' founders' loans.

         18      5/1/2023   Fiorillo, Julianna               2.4 Review Debtor preference analysis for certain other topics.

         18      5/1/2023   Fiorillo, Julianna               2.6 Review preference analysis on a certain Debtor entity for potential
                                                                 offsets.
         18      5/1/2023   Steven, Kira                     0.5 Review investigation materials for continuation of prior forensic
                                                                 litigation analysis.
         18      5/1/2023   Feldman, Paul                    0.3 Assess most recent analyses to prepare responses to UCC inquiries on
                                                                 forensic accounting results.
         18      5/1/2023   Feldman, Paul                    1.3 Assess external market data provider for trading and on-chain
                                                                 transaction data.
         18      5/2/2023   Diaz, Matthew                    0.6 Review analysis for investigation into activities of certain pre-petition
                                                                 exchange director.
         18      5/2/2023   Anastasiou, Anastis              2.6 Perform research re: investigation of pre-petition exchange director
                                                                 activities.
         18      5/2/2023   Anastasiou, Anastis              1.2 Perform review of prior preference analysis for certain Debtor entity.

         18      5/2/2023   Anastasiou, Anastis              0.4 Review updated data from Debtors for continued preference analysis.

         18      5/2/2023   Anastasiou, Anastis              0.5 Update preference analysis for most recent findings.

         18      5/2/2023   Anastasiou, Anastis              0.9 Summarize results of investigation into pre-petition exchange
                                                                 director's activities.
         18      5/2/2023   Famiglietti, Tyler               1.3 Perform production searches for investment documents to populate
                                                                 investment tracker.
         18      5/2/2023   Famiglietti, Tyler               1.5 Search production for documents to tie investments in investment
                                                                 analysis tracker.
         18      5/2/2023   Famiglietti, Tyler               0.5 Review findings on collateral transfers related to loan transfers.

         18      5/2/2023   Baer, Laura                      1.5 Review certain creditor wallet information and on chain transfers of
                                                                 collateral.

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     Task Code     Date             Professional        Hours                                   Activity
        18       5/2/2023   Baer, Laura                      0.5 Review settlement terms to respond to questions from the UCC.

         18      5/2/2023   Rothschild, Elijah               2.5 Analyze pre-petition communications related to certain investments.

         18      5/2/2023   Rothschild, Elijah               2.7 Analyze investment contracts by certain Debtor entities.

         18      5/2/2023   Rothschild, Elijah               2.8 Review bank statements to trace investment payments.

         18      5/2/2023   Kimche, Livia                    1.0 Analyze customer balance data re: potential avoidance actions.

         18      5/2/2023   Kimche, Livia                    2.0 Organize general ledger files for automation of deduplication and
                                                                 loading process.
         18      5/2/2023   Kimche, Livia                    1.4 Continue to organize general ledger files for automation of
                                                                 deduplication and loading process.
         18      5/2/2023   Kimche, Livia                    1.6 Analyze general ledger files for ongoing investigations.

         18      5/2/2023   Kimche, Livia                    1.7 Categorize general ledger files for automation of deduplication and
                                                                 loading process.
         18      5/2/2023   Jordan, Mason                    2.3 Test python script to automate the process of loading general ledgers.

         18      5/2/2023   Jordan, Mason                    1.6 Consolidate the general ledgers obtained for analysis by using
                                                                 previously created code.
         18      5/2/2023   Jordan, Mason                    1.4 Continue to update script to automate the general ledger loading
                                                                 process.
         18      5/2/2023   Jordan, Mason                    2.1 Finalize pulling of general ledger files for analysis.

         18      5/2/2023   Stillman, Beulah                 2.3 Identify documents related to bank statements for investigations
                                                                 analysis.
         18      5/2/2023   Stillman, Beulah                 2.7 Continue to identify documents related to bank statements for
                                                                 investigations analysis.
         18      5/2/2023   Reid, Matthew                    2.9 Implement additional documents produced by the Debtors to assist in
                                                                 investigation of potential avoidance actions.
         18      5/2/2023   Reid, Matthew                    2.7 Continue to research documentation from the Debtors as part of
                                                                 investigation process for possible avoidance actions.
         18      5/2/2023   Reid, Matthew                    2.8 Research documents previously logged for analysis in Debtors'
                                                                 database.
         18      5/2/2023   Majkowski, Stephanie             2.9 Review margin model prototype code to assess potential recovery
                                                                 action.
         18      5/2/2023   Majkowski, Stephanie             2.6 Examine documents related to portfolio margining methodology for
                                                                 potential recovery action.
         18      5/2/2023   Majkowski, Stephanie             2.8 Investigate documents related to the business plan of a certain Debtor
                                                                 entity and compliance policies for potential recovery action.
         18      5/2/2023   Fiorillo, Julianna               0.7 Revise claim analysis for specific creditor's claim re: potential
                                                                 avoidance.
         18      5/2/2023   Fiorillo, Julianna               1.6 Review analysis of certain settlement party to the Debtors to determine
                                                                 utilized compensation and employee status.
         18      5/2/2023   Fiorillo, Julianna               2.6 Revise intercompany analysis by identifying agreements with
                                                                 founders.

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        18       5/2/2023   Fiorillo, Julianna                 1.4 Review analysis of certain settlement party in order to identify
                                                                   compensation expenses.
         18      5/2/2023   Fiorillo, Julianna                 0.7 Continue to revise intercompany analysis by identifying agreements
                                                                   with founders.
         18      5/2/2023   Steven, Kira                       0.4 Review questions from PH on certain settlement.

         18      5/2/2023   Steven, Kira                       1.5 Review preference analysis regarding a certain Debtor entity.

         18      5/2/2023   Feldman, Paul                      0.4 Assess investigation results from key research to date re: potential
                                                                   causes of action.
         18      5/3/2023   Risler, Franck                     0.3 Prepare summary for Alix on exchange-based action and trading
                                                                   malfeasance.
         18      5/3/2023   Garofalo, Michael                  0.4 Prepare customer balance summary outputs re: potential preferences.

         18      5/3/2023   Anastasiou, Anastis                0.6 Perform research on charity organizations re: investigation of pre-
                                                                   petition director activities.
         18      5/3/2023   Anastasiou, Anastis                1.6 Plan process for continued research of pre-petition exchange director.

         18      5/3/2023   Anastasiou, Anastis                2.8 Perform research re: investigation of pre-petition director for potential
                                                                   avoidance actions.
         18      5/3/2023   Famiglietti, Tyler                 1.0 Review production for investment documents and trackers to populate
                                                                   analysis.
         18      5/3/2023   Rothschild, Elijah                 2.9 Review investment contracts for certain Debtor entities.

         18      5/3/2023   Rothschild, Elijah                 2.7 Review bank statements to trace investment payments.

         18      5/3/2023   Rothschild, Elijah                 2.4 Review investment communications including emails and online chats
                                                                   for potential recovery actions.
         18      5/3/2023   Jordan, Mason                      2.6 Analyze the distribution of coin quantity and value by and coins and
                                                                   counterparty re: potential causes of action.
         18      5/3/2023   Stillman, Beulah                   1.0 Search for documents related to bank statements for all Debtor
                                                                   entities.
         18      5/3/2023   Stillman, Beulah                   2.9 Continue to search for documents related to bank statements for all
                                                                   Debtor entities.
         18      5/3/2023   Stillman, Beulah                   2.5 Supplement research on bank statement documentation for Debtors
                                                                   financial information.
         18      5/3/2023   Reid, Matthew                      2.3 Continue to review the Debtors' database for information to
                                                                   supplement analysis of bank statements.
         18      5/3/2023   Reid, Matthew                      2.1 Document research conducted from the Debtors' database on analysis
                                                                   of bank statements produced.
         18      5/3/2023   Reid, Matthew                      1.9 Continue to document research conducted from the Debtors' database
                                                                   on analysis of bank statements produced.
         18      5/3/2023   Majkowski, Stephanie               2.7 Investigate document focusing on trading strategies at a certain Debtor
                                                                   entity for potential recovery action.
         18      5/3/2023   Majkowski, Stephanie               2.9 Review documents related to investors of a certain Debtor entity for
                                                                   potential recovery action.
         18      5/3/2023   Majkowski, Stephanie               2.9 Review documents related to funding of a certain Debtor entity for
                                                                   potential recovery action.

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     Task Code     Date               Professional        Hours                                Activity
        18       5/3/2023   Fiorillo, Julianna                 1.6 Prepare intercompany summary based on documents identified.

         18      5/3/2023   Fiorillo, Julianna                 2.4 Prepare intercompany analysis based on agreements between FTX
                                                                   entities.
         18      5/3/2023   Fiorillo, Julianna                 2.8 Revise intercompany analysis based on loans to founders and
                                                                   comparison of documents from different periods to determine loans
         18      5/3/2023   Busen, Michael                     0.7 Review coin spreadsheets by Debtor entity re: preferences.

         18      5/4/2023   Greenblatt, Matthew                0.4 Create plan for potential avoidance actions research and data
                                                                   gathering.
         18      5/4/2023   Garofalo, Michael                  1.2 Prepare customer balance data requests list re: preferences.

         18      5/4/2023   Anastasiou, Anastis                1.0 Perform research on charity organizations re: investigation of Debtors'
                                                                   pre-petition exchange founder.
         18      5/4/2023   Anastasiou, Anastis                1.0 Review political donations information re: investigation of exchange
                                                                   founder.
         18      5/4/2023   Anastasiou, Anastis                0.8 Begin to consolidate research on the investigation into the Debtors'
                                                                   directors.
         18      5/4/2023   Anastasiou, Anastis                1.3 Perform research re: investigation of exchange founder for potential
                                                                   litigation.
         18      5/4/2023   Anastasiou, Anastis                0.5 Revise summary of research findings on Debtors' founder for litigation
                                                                   considerations.
         18      5/4/2023   Anastasiou, Anastis                0.9 Review political donations data re: investigation of exchange founder
                                                                   for pre-petition entity.
         18      5/4/2023   Marsella, Jenna                    1.3 Create inventory of consolidated bank statements provided by the
                                                                   Debtors.
         18      5/4/2023   Baer, Laura                        1.0 Review analysis related to preference analysis for certain Debtor
                                                                   entity.
         18      5/4/2023   Rothschild, Elijah                 2.9 Review investment contracts for various Debtor entities.

         18      5/4/2023   Rothschild, Elijah                 2.9 Review bank statements to trace investment payments.

         18      5/4/2023   Rothschild, Elijah                 2.2 Review investment communications including emails and online
                                                                   chats.
         18      5/4/2023   Kimche, Livia                      1.3 Conduct coin pricing analysis of top 200 customer codes re:
                                                                   preferences.
         18      5/4/2023   Kimche, Livia                      1.7 Conduct coin pricing analysis of top 10 coins in portfolio re:
                                                                   preferences.
         18      5/4/2023   Jordan, Mason                      0.7 Run quality control checks on the coin distribution analysis.

         18      5/4/2023   Jordan, Mason                      0.7 Conduct initial analysis on coin and customer distributions.

         18      5/4/2023   Stillman, Beulah                   1.7 Identify bank statements for all Debtor entities in order to research for
                                                                   potential avoidance actions.
         18      5/4/2023   Reid, Matthew                      2.9 Supplement file on background research for certain Debtor entity
                                                                   investments pre-petition.
         18      5/4/2023   Reid, Matthew                      2.3 Document findings related to research for analysis of the Debtors' pre-
                                                                   petition investments.

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     Task Code     Date            Professional         Hours                                    Activity
        18       5/4/2023   Reid, Matthew                    2.8 Create initial file on background research for certain Debtor entity
                                                                 investments pre-petition.
         18      5/4/2023   Majkowski, Stephanie             2.9 Examine documents related to Debtors' investments for potential
                                                                 recovery action.
         18      5/4/2023   Majkowski, Stephanie             2.9 Analyze python code related to margin monitoring for potential
                                                                 recovery action.
         18      5/4/2023   Fiorillo, Julianna               2.9 Revise intercompany analysis based on agreements identified between
                                                                 FTX entities.
         18      5/4/2023   Fiorillo, Julianna               2.7 Revise intercompany analysis and identify transactional support.

         18      5/4/2023   Steven, Kira                     0.4 Review analysis of Debtors' intercompany activities for potential
                                                                 recovery action.
         18      5/4/2023   Steven, Kira                     1.4 Review incoming requests from UCC on proposals for potential
                                                                 recovery action investigations.
         18      5/4/2023   Busen, Michael                   0.4 Prepare list of diligence items for data analysis pursuant to upcoming
                                                                 investigations processes.
         18      5/5/2023   Risler, Franck                   0.2 Create summary for investigation on issues with third-party buyer re:
                                                                 sale and token launch.
         18      5/5/2023   Risler, Franck                   1.3 Assess facts and allegations related to certain third-party decentralized
                                                                 finance protocol market manipulation.
         18      5/5/2023   Risler, Franck                   0.8 Correspond with Alix on potential exchange-based action and trading
                                                                 malfeasance.
         18      5/5/2023   Risler, Franck                   0.7 Assess third-party lawsuit as template for investigation into potential
                                                                 trading malfeasance on Debtors' exchange.
         18      5/5/2023   Risler, Franck                   1.9 Analyze charges made by regulatory agencies in respective filings
                                                                 against certain third parties as part of comparative research for
         18      5/5/2023   Anastasiou, Anastis              0.8 Review political donations data re: investigation of pre-petition
                                                                 exchange founder.
         18      5/5/2023   Anastasiou, Anastis              0.5 Perform research on charity organizations re: investigation of certain
                                                                 director of pre-petition exchange.
         18      5/5/2023   Anastasiou, Anastis              0.4 Review documentation related to preference analysis for a certain
                                                                 Debtor entity.
         18      5/5/2023   Anastasiou, Anastis              0.5 Review political scenario documentation re: investigation of
                                                                 individuals involved in Debtors' pre-petition exchange management.
         18      5/5/2023   Anastasiou, Anastis              1.8 Perform research re: investigation of pre-petition exchange
                                                                 management.
         18      5/5/2023   Anastasiou, Anastis              1.1 Review specific donations from pre-petition exchange to investigate
                                                                 pre-petition exchange transfers.
         18      5/5/2023   Anastasiou, Anastis              0.6 Create plan for documentation of findings during investigation on
                                                                 management individuals on pre-petition exchange.
         18      5/5/2023   Rothschild, Elijah               2.8 Summarize investment contracts for a certain silo.

         18      5/5/2023   Rothschild, Elijah               2.8 Review bank statements to trace Debtors' investment payments.

         18      5/5/2023   Rothschild, Elijah               2.4 Review investment communications by Debtors on email and online
                                                                 chats.
         18      5/5/2023   Diodato, Michael                 0.8 Correspond with Alix on investigations re: potential Debtor trading
                                                                 malfeasance.

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     Task Code     Date            Professional         Hours                                     Activity
        18       5/5/2023   Kimche, Livia                    1.1 Continue to analyze coin pricing analysis for top 200 customer codes
                                                                 and top 10 coins in Debtors' portfolio re: preferences.
         18      5/5/2023   Kimche, Livia                    1.9 Create summary of prior analysis on pricing of Debtors' top coins by
                                                                 customer distribution re: preferences.
         18      5/5/2023   Kimche, Livia                    2.1 Develop distribution analysis for the Debtors' digital coins holdings
                                                                 re: preferences.
         18      5/5/2023   Jordan, Mason                    1.7 Run analysis on the Debtors' top coin holdings and associated
                                                                 distribution of customers re: preferences.
         18      5/5/2023   Reid, Matthew                    2.7 Continue to document findings related to research conducted for
                                                                 analysis of documents produced by the Debtors.
         18      5/5/2023   Reid, Matthew                    2.9 Continue to analyze documents received from Debtors on additional
         18      5/5/2023   Reid, Matthew                    2.4 Continue to create file containing background research in support of
                                                                 investigation findings for pre-petition transfers.
         18      5/5/2023   Majkowski, Stephanie             2.9 Create summary of comparable cases of market manipulations for
                                                                 investigations on the Debtors.
         18      5/5/2023   Majkowski, Stephanie             2.5 Research comparable market manipulation case for potential recovery
                                                                 action.
         18      5/5/2023   Majkowski, Stephanie             0.8 Correspond with Alix with focus on market manipulation and
                                                                 potential recovery action.
         18      5/5/2023   Fiorillo, Julianna               1.9 Revise intercompany analysis based on intercompany balances
                                                                 identified on Debtors' balance sheet as of September 2022.
         18      5/5/2023   Fiorillo, Julianna               2.6 Continue to revise intercompany summary analysis.

         18      5/5/2023   Fiorillo, Julianna               2.7 Review of additional intercompany agreements during the preference
                                                                 period not included within other intercompany listings identified.
         18      5/5/2023   Feldman, Paul                    0.8 Correspond with Alix re: the status of current impediments to
                                                                 information sharing with the UCC professionals.
         18      5/5/2023   Feldman, Paul                    0.8 Evaluate premium market data provider for price verification.

         18      5/8/2023   Garofalo, Michael                0.7 Summarize preference data analysis prepared based on latest data
                                                                 from Debtors.
         18      5/8/2023   Bromberg, Brian                  0.5 Review investigations progress with team in order to assess strategy
                                                                 for upcoming analysis.
         18      5/8/2023   Bromberg, Brian                  0.5 Review preference data as part of investigation process for potential
                                                                 recovery analysis.
         18      5/8/2023   Anastasiou, Anastis              1.2 Prepare preference analysis for pre-petition exchange entity.

         18      5/8/2023   Anastasiou, Anastis              1.3 Identify documents relevant to investigation for preference analysis on
                                                                 a certain Debtor entity.
         18      5/8/2023   Anastasiou, Anastis              0.4 Revise strategy for investigation of the exchange founders.

         18      5/8/2023   Anastasiou, Anastis              0.7 Perform research pursuant to investigation of the exchange founders.

         18      5/8/2023   Anastasiou, Anastis              1.1 Review documentation related to preference analysis on certain
                                                                 Debtor entity.
         18      5/8/2023   Anastasiou, Anastis              0.4 Create plan for continued investigation of pre-petition exchange
                                                                 executives.
         18      5/8/2023   Anastasiou, Anastis              1.4 Develop analysis of Debtor entity's account balances re: preference
                                                                 analysis.
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         18   5/8/2023   Anastasiou, Anastis            0.6 Prepare preference analysis for certain Debtor entity.

         18   5/8/2023   Anastasiou, Anastis            0.2 Perform review of prior analysis on preference analysis for certain
                                                            Debtor entities.
         18   5/8/2023   Baer, Laura                    2.5 Review documents related to production of Debtors' testing on
                                                            administration controls.
         18   5/8/2023   Rothschild, Elijah             2.6 Review investment contracts for select Debtor entities.

         18   5/8/2023   Rothschild, Elijah             2.9 Review bank statements to identify investment transfers.

         18   5/8/2023   Rothschild, Elijah             2.5 Review token investment contract and identify bank transfers.

         18   5/8/2023   Dawson, Maxwell                0.6 Analyze deposit and withdrawal data during the preference period.

         18   5/8/2023   Feldman, Paul                  0.9 Review investigations results with a focus on withdrawal issues at
                                                            certain bank and treasuries investments.
         18   5/8/2023   Shaik, Ismail                  2.8 Research certain Debtor address to identify liabilities owed to Debtors
                                                            by a certain Debtor entity.
         18   5/8/2023   Shaik, Ismail                  2.5 Continue to research certain Debtor address to identify liabilities owed
                                                            to Debtors by a certain Debtor entity.
         18   5/8/2023   Shaik, Ismail                  2.7 Research relationship between Debtors and certain foreign crypto
                                                            account for investigation.
         18   5/8/2023   Jordan, Mason                  1.5 Run quality control checks on updated coin distribution analysis re:
                                                            preferences.
         18   5/8/2023   Jordan, Mason                  2.4 Update coin distribution analysis by coin holder and crypto type re:
                                                            preference analysis.
         18   5/8/2023   Jordan, Mason                  0.8 Load customer preference data to database.

         18   5/8/2023   Jordan, Mason                  0.5 Develop preference data analysis for investigation on potential
                                                            recovery actions.
         18   5/8/2023   Stillman, Beulah               1.2 Identify bank statements for all Debtor entities to begin summarizing
                                                            findings from pre-petition transfers analysis.
         18   5/8/2023   Stillman, Beulah               2.9 Create master file to record the results of bank statement investigation.

         18   5/8/2023   Stillman, Beulah               1.7 Identify and track bank statements for Debtor entities for specific time
                                                            period.
         18   5/8/2023   Gray, Michael                  0.9 Review preference data published to dataroom by A&M to evaluate
                                                            size and number of transactions.
         18   5/8/2023   Reid, Matthew                  2.8 Research publicly available financial information related to prior
                                                            analyses of the relationship between a certain Debtor entity and Debtor
                                                            exchanges.
         18   5/8/2023   Reid, Matthew                  2.3 Continue to research publicly available financial information related
                                                            to prior analyses of the relationship between a certain Debtor entity
                                                            and Debtor exchanges.
         18   5/8/2023   Reid, Matthew                  2.9 Consolidate findings from research on financial information related to
                                                            Debtor entity relationships.
         18   5/8/2023   Majkowski, Stephanie           2.5 Examine investments made by certain Debtor entity in various third-
                                                            party funds for potential recovery action.
         18   5/8/2023   Majkowski, Stephanie           2.3 Investigate margining methodology for Debtors' crypto derivatives to
                                                            analyze stress scenarios for model selection for assessment of potential
                                                            recovery actions.

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        18       5/8/2023   Majkowski, Stephanie             1.6 Review Debtors' communications discussing margin model stress
                                                                 testing and shocks and backstop liquidity provider models.
         18      5/8/2023   Majkowski, Stephanie             1.4 Review Debtors' communications on default fund sizing between
                                                                 certain bank to investigate potential relationship in 2022.
         18      5/8/2023   Fiorillo, Julianna               2.8 Revise analysis on Debtor entities' intercompany activities.

         18      5/8/2023   Fiorillo, Julianna               2.9 Update intercompany analysis using additional intercompany loan
                                                                 listings identified.
         18      5/8/2023   Steven, Kira                     0.4 Create plan for further analysis of documents related to potential
                                                                 recovery actions investigations.
         18      5/8/2023   Diodato, Michael                 0.5 Analyze preference claims for certain third-party.

         18      5/9/2023   Greenblatt, Matthew              0.5 Correspond with PH re: access to customer account data for
                                                                 preference analysis.
         18      5/9/2023   Garofalo, Michael                1.4 Analyze files submitted by A&M re: preference data analysis.

         18      5/9/2023   Diaz, Matthew                    0.5 Review of the preference outline.

         18      5/9/2023   Bromberg, Brian                  0.5 Review preference claim analysis.

         18      5/9/2023   Anastasiou, Anastis              2.5 Research various documents to identify documentation re: accounts
                                                                 and other relevant documents for a certain Debtor entity preference
                                                                 analysis by Debtor exchanges.
         18      5/9/2023   Anastasiou, Anastis              0.4 Update preference analysis based on latest research on Debtors'
                                                                 documentation.
         18      5/9/2023   Anastasiou, Anastis              0.3 Analyze certain token account balances re: preference analysis of a
                                                                 certain Debtor entity.
         18      5/9/2023   Anastasiou, Anastis              1.1 Prepare strategy re: preferential analysis for a certain Debtor entity to
                                                                 prepare for upcoming meeting with PH.
         18      5/9/2023   Anastasiou, Anastis              0.5 Analyze certain token balances to better understand preference
                                                                 analysis for a certain Debtor entity.
         18      5/9/2023   Anastasiou, Anastis              2.3 Review new documentation re: preferential analysis for a certain
                                                                 Debtor entity.
         18      5/9/2023   Baer, Laura                      1.1 Assess records related to the FTX exchanges and a certain Debtor
                                                                 entity inter-company accounts.
         18      5/9/2023   Rothschild, Elijah               2.8 Review bank statements to identify investment transfers.

         18      5/9/2023   Rothschild, Elijah               2.9 Review investment contracts to continue identifying investment
                                                                 transfers.
         18      5/9/2023   Rothschild, Elijah               2.3 Review token investment contracts to continue identifying investment
                                                                 transfers.
         18      5/9/2023   Dawson, Maxwell                  0.6 Strategize regarding analysis of preference period withdrawals from
                                                                 exchanges.
         18      5/9/2023   Feldman, Paul                    2.3 Evaluate the UCC's range of requirements for market data to assess the
                                                                 potential need for a premium data provider.
         18      5/9/2023   Shaik, Ismail                    2.8 Investigate certain accounts referenced by a pre-petition director.

         18      5/9/2023   Shaik, Ismail                    2.3 Prepare report to reconstruct certain intercompany balances.

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     Task Code     Date               Professional        Hours                                      Activity
        18       5/9/2023    Shaik, Ismail                     2.9 Continue to investigate certain accounts commonly referenced by a
                                                                   pre-petition director to find cases of potential fraud.
         18      5/9/2023    Jordan, Mason                     0.8 Analyze new customer preference data.

         18      5/9/2023    Jordan, Mason                     1.6 Import new token related preference data to the database.

         18      5/9/2023    Jordan, Mason                     2.1 Analyze customer deposit/withdrawal data and balance data by
                                                                   running distributions on customer preference data.
         18      5/9/2023    Jordan, Mason                     1.9 Continue to analyze customer preference data.

         18      5/9/2023    Jordan, Mason                     2.1 Load customer preference data into database to run distributions on
                                                                   data.
         18      5/9/2023    Stillman, Beulah                  1.8 Continue to identify bank statements for all entities to draft potential
                                                                   answers for certain UCC inquiries.
         18      5/9/2023    Reid, Matthew                     2.7 Create list of identified bank statements for various entities.

         18      5/9/2023    Reid, Matthew                     2.8 Continue to identify bank statements to add supplementary analysis.

         18      5/9/2023    Reid, Matthew                     2.6 Add supplementary analysis to bank statements summary document.

         18      5/9/2023    Majkowski, Stephanie              2.6 Model different trading strategies for potential recovery action.

         18      5/9/2023    Majkowski, Stephanie              2.9 Prepare summary of previously used validation methodologies for
                                                                   potential causes of action.
         18      5/9/2023    Majkowski, Stephanie              1.9 Investigate documents related to certain derivatives registrations at a
                                                                   Debtor silo.
         18      5/9/2023    Fiorillo, Julianna                2.7 Revise intercompany analysis based on chart of accounts.

         18      5/9/2023    Fiorillo, Julianna                2.4 Revise intercompany analysis through review of general ledger
                                                                   accounts.
         18      5/9/2023    Steven, Kira                      1.8 Review general ledger detail to understand logic for aggregation.

         18      5/9/2023    Steven, Kira                      0.7 Review updated comparative summary to assess claims against a
                                                                   certain creditor re: avoidance actions.
         18      5/10/2023   Garofalo, Michael                 2.2 Analyze customer preference analysis to prepare for potential
                                                                   inquiries.
         18      5/10/2023   Anastasiou, Anastis               0.7 Review bank documents to investigate potential accounting issues.

         18      5/10/2023   Anastasiou, Anastis               0.6 Review documentation of transfers made to a certain personal bank
                                                                   account re: preference analysis for a certain Debtor entity.
         18      5/10/2023   Anastasiou, Anastis               0.8 Perform review of general ledgers at certain Debtor silos re: preference
                                                                   analysis of a certain Debtor entity.
         18      5/10/2023   Anastasiou, Anastis               1.9 Provide comments on updated preference analysis for a certain Debtor
                                                                   entity.
         18      5/10/2023   Anastasiou, Anastis               0.7 Continue to provide comments on updated preference analysis for a
                                                                   certain Debtor entity.
         18      5/10/2023   Anastasiou, Anastis               0.5 Summarize updated certain Debtor entity preference analysis to
                                                                   prepare for upcoming call with the Debtors'.

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     Task Code      Date             Professional        Hours                                     Activity
        18       5/10/2023   Anastasiou, Anastis              0.3 Analyze certain account balances re: certain Debtor entity preference
                                                                  analysis.
         18      5/10/2023   Anastasiou, Anastis              0.5 Analyze new updates on various tokens re: Debtor entity preference
                                                                  analysis.
         18      5/10/2023   Anastasiou, Anastis              1.0 Prepare draft presentation re: certain Debtor entity preference analysis.

         18      5/10/2023   Baer, Laura                       0.9 Correspond with Alix regarding a certain creditor's collateral transfers
                                                                   in the customers preference claim.
         18      5/10/2023   Rothschild, Elijah                2.7 Analyze investment contracts to help identify certain investment
                                                                   transfers.
         18      5/10/2023   Rothschild, Elijah                2.8 Analyze bank statements to help identify certain investment transfers.

         18      5/10/2023   Rothschild, Elijah                2.5 Analyze token investment contracts to help identify certain investment
                                                                   transfers.
         18      5/10/2023   Feldman, Paul                     2.1 Review materials provided by A&M related to the Debtors' pre-
                                                                   petition risk management practices.
         18      5/10/2023   Shaik, Ismail                     2.9 Perform review of analysis re: a certain Debtor's liabilities to a Debtor
                                                                   exchange over time re: token denominations.
         18      5/10/2023   Shaik, Ismail                     2.2 Continue to quality control analysis re: certain Debtor's liabilities and
                                                                   tokens over time.
         18      5/10/2023   Shaik, Ismail                     2.9 Research FTX and certain Debtor entity internal documents to
                                                                   investigate certain token transfers and account balances.
         18      5/10/2023   Kimche, Livia                     2.0 Analyze customer preference data to prepare a summary report.

         18      5/10/2023   Jordan, Mason                     2.2 Analyze customer preference data to compare UCC data request
                                                                   distributions.
         18      5/10/2023   Jordan, Mason                     1.8 Supplement customer preference data analysis.

         18      5/10/2023   Jordan, Mason                     1.4 Import new currency data to the database for assessment of
                                                                   preferences.
         18      5/10/2023   Jordan, Mason                     1.6 Provide summary on customer preference data and withdrawal/deposit
                                                                   data.
         18      5/10/2023   Jordan, Mason                     1.1 Prepare an updated investigation plan into FTX's customer preference
                                                                   data.
         18      5/10/2023   Reid, Matthew                     2.7 Analyze various contracts to quantify the Debtors' pre-petition
                                                                   investments.
         18      5/10/2023   Reid, Matthew                     2.8 Continue to analyze contracts to help quantify Debtors' pre-petition
                                                                   investment activity.
         18      5/10/2023   Reid, Matthew                     2.6 Prepare a summary report of the Debtors' pre-petition investment
                                                                   activity.
         18      5/10/2023   Majkowski, Stephanie              2.1 Review FTX employee survey responses from Q2 2021 regarding
                                                                   business development and new process implementation.
         18      5/10/2023   Majkowski, Stephanie              1.9 Investigate email chain discussing potential partnership between FTX
                                                                   and certain software provider.
         18      5/10/2023   Majkowski, Stephanie              2.9 Review documents related to multivariate exponentially weighted
                                                                   moving average model selection for margining methodology with a
                                                                   focus on avoidance actions.
         18      5/10/2023   Fiorillo, Julianna                2.2 Prepare comments to certain creditor claim analysis summary to
                                                                   account for PH's inquiries.
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     Task Code      Date               Professional        Hours                                Activity
        18       5/10/2023   Fiorillo, Julianna                 1.1 Review loan documents to update the intercompany analysis.

         18      5/10/2023   Fiorillo, Julianna                 1.9 Review analysis of a certain creditor's claim to identify a list of
                                                                    potential collateral transferred.
         18      5/10/2023   Fiorillo, Julianna                 2.3 Analyze the transfers in and out of a certain currency account for
                                                                    Debtor entity preference analysis.
         18      5/10/2023   Steven, Kira                       0.9 Implement structured data to improve accuracy of investigative model.

         18      5/10/2023   Steven, Kira                       1.1 Provide summary on a certain creditor's updated claim analysis for PH
                                                                    to prepare for an upcoming presentation to the UCC.
         18      5/11/2023   Bromberg, Brian                    0.3 Prepare additional analyses of Debtors' transaction data re: potential
                                                                    customer preferences.
         18      5/11/2023   Bromberg, Brian                    0.5 Summarize recent customer preference data for UCC presentation.

         18      5/11/2023   Greenblatt, Matthew                0.4 Summarize updates on recent investigations into certain pre-petition
                                                                    transactions.
         18      5/11/2023   Garofalo, Michael                  2.4 Analyze the general ledgers at a certain Debtor exchange to pull
                                                                    ending account balances from the prior year to the beginning balance
                                                                    of the current year.
         18      5/11/2023   Garofalo, Michael                  1.9 Provide comments on updated preference analysis and roll-forward
                                                                    analysis on a certain Debtor exchange.
         18      5/11/2023   Diaz, Matthew                      1.1 Review recent preference analysis to maximize recoveries from pre-
                                                                    petition transactions.
         18      5/11/2023   Anastasiou, Anastis                1.1 Review case docket to identify information on certain Debtor entity
                                                                    trading activity re: preference analysis.
         18      5/11/2023   Anastasiou, Anastis                0.8 Analyze certain coin transfer data re: Debtor entity preference
                                                                    analysis.
         18      5/11/2023   Anastasiou, Anastis                0.2 Prepare upcoming agenda re: Debtor entity preference analysis.

         18      5/11/2023   Anastasiou, Anastis                0.9 Summarize key Debtor entity preference analysis findings to prepare
                                                                    for upcoming meeting with PH.
         18      5/11/2023   Anastasiou, Anastis                0.6 Analyze certain token pricing data re: Debtor entity preference
                                                                    analysis.
         18      5/11/2023   Anastasiou, Anastis                0.7 Perform detailed review of updates to preference analysis re: a certain
                                                                    Debtor entity.
         18      5/11/2023   Anastasiou, Anastis                1.4 Update Debtor entity preference analysis to account for recent updates
                                                                    from PH.
         18      5/11/2023   Baer, Laura                        0.5 Make diligence list for investigations research needed.

         18      5/11/2023   Rothschild, Elijah                 2.9 Review bank statements to identify investment transfers.

         18      5/11/2023   Rothschild, Elijah                 2.8 Review investment contracts to identify expected timing of certain
                                                                    investment transfers.
         18      5/11/2023   Rothschild, Elijah                 2.3 Assess token investment contracts to isolate certain pre-petition bank
                                                                    transfers.
         18      5/11/2023   Dawson, Maxwell                    0.7 Analyze data re: transfers during preference period.

         18      5/11/2023   Feldman, Paul                      0.4 Summarize key project milestones re: the analysis of various pre-
                                                                    petition account transfers.
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     Task Code      Date             Professional        Hours                                 Activity
        18       5/11/2023   Jordan, Mason                    1.6 Run analysis to compare Debtor entity withdrawal and deposit data.

         18      5/11/2023   Jordan, Mason                    0.7 Finalize issue groups in the data comparison between withdrawal and
                                                                  deposit preference data for Debtors entities.
         18      5/11/2023   Jordan, Mason                    1.8 Compare beginning and ending customer deposit and withdrawal data
                                                                  for Debtors entities against the preference period balance data.
         18      5/11/2023   Jordan, Mason                    2.1 Analyze customer deposits and withdrawals compared to preference
                                                                  period balance data.
         18      5/11/2023   Jordan, Mason                    0.8 Finalize issue groups in the data comparison between withdrawal and
                                                                  deposit preference data for a certain Debtor entity.
         18      5/11/2023   Jordan, Mason                    0.3 Run analysis on Debtors' entities preference data distributions.

         18      5/11/2023   Jordan, Mason                    1.1 Revise recent preference data based on received comments.

         18      5/11/2023   Gray, Michael                    0.5 Assess preference reconciliation data to understand variances to
                                                                  previously reported preferential figures.
         18      5/11/2023   Reid, Matthew                    2.8 Analyze bank statements between Debtor entities to better understand
                                                                  the flow of intercompany balances.
         18      5/11/2023   Reid, Matthew                    2.3 Research public records to assist in quantifying the relationship
                                                                  between Debtor entities.
         18      5/11/2023   Reid, Matthew                    2.9 Continue to research public records to assist in quantifying the
                                                                  relationship between a certain Debtor entity and FTX exchanges.
         18      5/11/2023   Majkowski, Stephanie             1.4 Analyze documents related to FTX proposal to regulatory agency to
                                                                  offer margined products.
         18      5/11/2023   Majkowski, Stephanie             1.6 Assess proposal from Debtors to regulatory agency re: margined
                                                                  products offering.
         18      5/11/2023   Majkowski, Stephanie             2.9 Examine documents to investigate a Debtor exchange's backstop
                                                                  liquidity providers strategy.
         18      5/11/2023   Fiorillo, Julianna               1.9 Review on chain and exchange activity to identify collateral transfers
                                                                  to a certain creditor's wallets.
         18      5/11/2023   Fiorillo, Julianna               2.6 Revise analysis on certain currency and FTX account for preference
                                                                  review.
         18      5/11/2023   Fiorillo, Julianna               2.8 Prepare a certain creditor's claim analysis summary presentation to
                                                                  prepare for upcoming meeting with PH.
         18      5/11/2023   Steven, Kira                     0.6 Review recent litigation re: Debtor entity preference review.

         18      5/11/2023   Busen, Michael                   0.5 Provide comments on analysis A&M produced on customer
                                                                  preference data, reconciliation findings, and next steps.
         18      5/11/2023   Busen, Michael                   0.3 Prepare next steps on roll-forward preference analysis and
                                                                  reconciliation efforts.
         18      5/11/2023   Steven, Kira                     1.8 Review draft presentation re: claims analysis of a certain creditor.

         18      5/12/2023   Garofalo, Michael                1.8 Assess results from preference data analysis to update assumptions.

         18      5/12/2023   Anastasiou, Anastis              0.8 Continue review preference analysis re: special treatment for a certain
                                                                  Debtor entity.
         18      5/12/2023   Anastasiou, Anastis              0.5 Summarize Debtor entity preference analysis findings to prepare for
                                                                  upcoming meeting with PH.

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     Task Code      Date             Professional        Hours                                     Activity
        18       5/12/2023   Anastasiou, Anastis              1.0 Update Debtor entity preference analysis to account for changing
                                                                  assumptions.
         18      5/12/2023   Anastasiou, Anastis              1.6 Review documents to investigate certain transactions re: Debtor entity
                                                                  preference analysis.
         18      5/12/2023   Anastasiou, Anastis              0.3 Review documentation to continue to assess Debtor entity preference
                                                                  analysis re: stablecoins.
         18      5/12/2023   Anastasiou, Anastis              1.1 Review communications between FTX employees related to a certain
                                                                  account re: Debtor entity preference analysis.
         18      5/12/2023   Famiglietti, Tyler               1.0 Compile updates to pre-petition investment tracker analysis.

         18      5/12/2023   Baer, Laura                      0.5 Review draft of certain creditor's claim deck for presentation to the
                                                                  UCC.
         18      5/12/2023   Rothschild, Elijah               2.9 Review the Debtors' bank statements to identify investment transfers.

         18      5/12/2023   Rothschild, Elijah               2.6 Review token investment contract and identify related bank transfers.

         18      5/12/2023   Rothschild, Elijah               2.5 Continue to review token investment contracts to identify investment
                                                                  transfers.
         18      5/12/2023   Shaik, Ismail                    2.9 Continue to research internal documentation regarding Debtor entity
                                                                  executive account balances.
         18      5/12/2023   Shaik, Ismail                    2.6 Research relationship between Debtor entity and spot trading
                                                                  functions at FTX, specifically regarding certain tokens as collateral.
         18      5/12/2023   Jordan, Mason                    1.2 Prepare summary drafts re: preference analysis.

         18      5/12/2023   Jordan, Mason                    1.6 Run roll forward analysis on Debtors' withdrawal and deposit data
                                                                  against preference period balance data.
         18      5/12/2023   Jordan, Mason                    2.1 Analyze withdrawal and deposit data for Debtors in relation to
                                                                  preference period data.
         18      5/12/2023   Reid, Matthew                    2.6 Continue to research documentation to assist in quantifying the
                                                                  relationship between a certain Debtor entity and the Debtor exchanges.
         18      5/12/2023   Reid, Matthew                    2.5 Create new model to assist with quantifying the intercompany
                                                                  relationship between Debtor entity and an FTX exchange.
         18      5/12/2023   Reid, Matthew                    2.9 Continue to research relationship between Debtor entity and FTX
                                                                  exchanges.
         18      5/12/2023   Majkowski, Stephanie             0.8 Assess reasonability of a certain third-parties valuation and pricing
                                                                  based on their option specifics.
         18      5/12/2023   Majkowski, Stephanie             2.9 Prepare a memo to summarize a certain creditors loan and option
                                                                  agreement.
         18      5/12/2023   Majkowski, Stephanie             1.3 Analyze a certain option agreement term to assess its impact on
                                                                  potential pricing and valuation.
         18      5/12/2023   Majkowski, Stephanie             1.7 Analyze a certain creditor loan agreement term to assess its impact on
                                                                  potential pricing and valuation.
         18      5/12/2023   Fiorillo, Julianna               2.6 Review intercompany general ledger detail to identify loan
                                                                  transactions.
         18      5/12/2023   Fiorillo, Julianna               2.7 Review general ledger detail to assess impact of intercompany
                                                                  transactions.
         18      5/12/2023   Fiorillo, Julianna               1.2 Revise report re: claims against certain creditor.



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     Task Code      Date             Professional        Hours                                    Activity
        18       5/14/2023   Anastasiou, Anastis              1.8 Update preference analysis re: certain Debtor entities.

         18      5/14/2023   Anastasiou, Anastis              0.5 Review documentation of transfers made to personal bank account re:
                                                                  preference analysis.
         18      5/14/2023   Anastasiou, Anastis              1.0 Perform detailed review of analysis performed by team re: Debtor
                                                                  entity preference analysis.
         18      5/14/2023   Anastasiou, Anastis              0.6 Review documentation of audit of FTX re: Debtor entity preference
                                                                  analysis.
         18      5/14/2023   Anastasiou, Anastis              0.3 Review documentation of certain holdings as part of preference
                                                                  analysis.
         18      5/14/2023   Anastasiou, Anastis              0.5 Review documentation related to a certain Debtor exchange account
                                                                  re: Debtor entity preference analysis.
         18      5/15/2023   Greenblatt, Matthew              0.5 Analyze latest information from investigation of certain expenditures.

         18      5/15/2023   Garofalo, Michael                1.4 Draft response to A&M for results of preference data reconciliations.

         18      5/15/2023   Garofalo, Michael                2.9 Verify results for various preference data reconciliations created.

         18      5/15/2023   Bromberg, Brian                  0.3 Review latest preference analysis.

         18      5/15/2023   Bromberg, Brian                  0.5 Analyze latest documentation re: investigations into Debtors'
                                                                  expenditures.
         18      5/15/2023   Anastasiou, Anastis              0.5 Assess latest Debtor entity preference analysis findings.

         18      5/15/2023   Anastasiou, Anastis              0.4 Review case dockets to identify information on Debtor entity trading
                                                                  activity re: preference analysis.
         18      5/15/2023   Anastasiou, Anastis              1.4 Assess latest updates re: preference analysis of Debtor entities.

         18      5/15/2023   Anastasiou, Anastis              0.2 Review documents to assist in an investigation into a certain pre-
                                                                  petition director.
         18      5/15/2023   Anastasiou, Anastis              0.5 Perform review of preference analysis for certain Debtor entities.

         18      5/15/2023   Baer, Laura                      0.9 Analyze a certain creditor's various options re: the filed claim.

         18      5/15/2023   Baer, Laura                      1.9 Provide comments on latest Debtor entity preference review.

         18      5/15/2023   Diodato, Michael                 0.5 Analyze updated documentation re: latest investigations into Debtors'
                                                                  entities.
         18      5/15/2023   Rothschild, Elijah               1.1 Review bank statements to trace certain investment transactions.

         18      5/15/2023   Rothschild, Elijah               1.9 Trace transactions on Debtors' exchange based on bank statement
                                                                  analysis.
         18      5/15/2023   Rothschild, Elijah               0.9 Identify investment transactions and trace related funds to source.

         18      5/15/2023   Rothschild, Elijah               2.1 Research investment transactions in order to conduct fund tracing for
                                                                  potential avoidance actions.
         18      5/15/2023   Rothschild, Elijah               2.9 Review investment contracts for Debtors’ investments.


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     Task Code      Date            Professional         Hours                                    Activity
        18       5/15/2023   Feldman, Paul                    0.5 Review latest investigations to adjust for requests from PH.

         18      5/15/2023   Feldman, Paul                    0.4 Compare various premium market data vendors to determine the
                                                                  relative merits of each.
         18      5/15/2023   Feldman, Paul                    1.1 Review publicly reported information on a certain creditor's
                                                                  bankruptcy to assess potential impact on the FTX UCC.
         18      5/15/2023   Jordan, Mason                    0.6 Run quality control checks on at-issue preference data.

         18      5/15/2023   Jordan, Mason                    2.6 Run distribution analyses on preference data at a certain Debtor
                                                                  exchange.
         18      5/15/2023   Jordan, Mason                    0.4 Review documents re: potential avoidance actions investigations.

         18      5/15/2023   Jordan, Mason                    2.8 Prepare summary analysis for UCC re: potential customer preferences.

         18      5/15/2023   Jordan, Mason                    0.3 Draft summary describing potential issues concerning potential
                                                                  customer preferences analysis.
         18      5/15/2023   Reid, Matthew                    2.6 Document findings related to the investigation into Debtor entity and
                                                                  insiders.
         18      5/15/2023   Reid, Matthew                    2.8 Continue to document findings related to the investigation into Debtor
                                                                  entity and insiders.
         18      5/15/2023   Reid, Matthew                    2.6 Review Debtor-produced investment reports to update pre-petition
                                                                  investment analysis.
         18      5/15/2023   Majkowski, Stephanie             2.8 Investigate pre-petition platform development and bug fixes.

         18      5/15/2023   Majkowski, Stephanie             2.5 Review email chain between Debtors and a certain creditor re: margin
                                                                  model and risk management processes.
         18      5/15/2023   Majkowski, Stephanie             1.1 Investigate documents related to ongoing questions between FTX and
                                                                  a certain third party.
         18      5/15/2023   Fiorillo, Julianna               2.1 Prepare updates to intercompany analysis through review of loans
                                                                  within the general ledger.
         18      5/15/2023   Fiorillo, Julianna               1.8 Continue to quality check Debtor entity preference analysis.

         18      5/15/2023   Fiorillo, Julianna               1.7 Provide comments on latest Debtor entity preference analysis.

         18      5/15/2023   Fiorillo, Julianna               1.9 Review internal control failure documents to identify certain
                                                                  allegations.
         18      5/16/2023   Garofalo, Michael                1.9 Review analysis of follow-up items regarding customer preference
                                                                  transaction data.
         18      5/16/2023   Garofalo, Michael                2.8 Analyze initial preference withdrawal data for a certain Debtor
                                                                  exchange.
         18      5/16/2023   Bromberg, Brian                  0.3 Review preference data diligence question list for A&M.

         18      5/16/2023   Bromberg, Brian                  0.2 Provide comments on preference data analysis for a certain Debtor
                                                                  exchange.
         18      5/16/2023   Anastasiou, Anastis              0.3 Review donation analysis re: investigation of key executives and other
                                                                  related parties.
         18      5/16/2023   Anastasiou, Anastis              0.4 Perform quality control review of work product re: preference analysis.


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     Task Code      Date             Professional        Hours                                      Activity
        18       5/16/2023   Anastasiou, Anastis              0.7 Analyze team research findings re: investigation of key executives and
                                                                  other related parties.
         18      5/16/2023   Anastasiou, Anastis              2.7 Conduct public records research on Debtors' trading activity with a
                                                                  certain related party re: preference analysis.
         18      5/16/2023   Anastasiou, Anastis              0.4 Strategize upcoming approach for preference data and document
                                                                  review.
         18      5/16/2023   Marsella, Jenna                  0.5 Supplement public research of trading history of the Debtors in
                                                                  preference period.
         18      5/16/2023   Famiglietti, Tyler               2.8 Continue search of production for documents to tie investments in
                                                                  investment analysis tracker.
         18      5/16/2023   Famiglietti, Tyler               1.2 Update investment analysis based on new information from
                                                                  production searches.
         18      5/16/2023   Famiglietti, Tyler               2.5 Perform production searches for investment documents to populate
                                                                  investment tracker.
         18      5/16/2023   Baer, Laura                      2.1 Provide comments to analysis of a certain potential preference action.

         18      5/16/2023   Rothschild, Elijah               2.9 Analyze investment contracts supporting pre-petition transactions.

         18      5/16/2023   Rothschild, Elijah               2.8 Review pre-petition bank statements to trace transactions.

         18      5/16/2023   Rothschild, Elijah               2.7 Identify investment transactions to trace funds to source.

         18      5/16/2023   Shaik, Ismail                    2.9 Begin research on certain entities of interest and their relationship to
                                                                  the Debtors.
         18      5/16/2023   Shaik, Ismail                    0.9 Continue research on certain entities of interest and their relationship
                                                                  to the Debtors.
         18      5/16/2023   Stillman, Beulah                 0.5 Analyze information related to political donations made by the
                                                                  Debtors.
         18      5/16/2023   Jordan, Mason                    2.4 Prepare updates to the preference distribution analysis and workbook
                                                                  re: a certain Debtor exchange.
         18      5/16/2023   Jordan, Mason                    0.4 Summarize status of preference data production workbooks.

         18      5/16/2023   Jordan, Mason                    2.8 Run distribution analyses on US exchange preference data.

         18      5/16/2023   Jordan, Mason                    2.2 Update international exchange preference data files.

         18      5/16/2023   Reid, Matthew                    2.9 Conduct investigation related to financial relationship between former
                                                                  Debtor executives and certain related parties.
         18      5/16/2023   Reid, Matthew                    2.4 Continue research in dataroom on financial relationship between
                                                                  former Debtor executives and certain related parties.
         18      5/16/2023   Reid, Matthew                    2.7 Research the financial relationship between Debtor executives and
                                                                  additional related parties.
         18      5/16/2023   Fiorillo, Julianna               2.8 Revise intercompany analysis based on intercompany general ledger.

         18      5/16/2023   Fiorillo, Julianna               0.8 Review general ledger for intercompany accounts.

         18      5/16/2023   Fiorillo, Julianna               1.1 Revise preference claim analysis presentation after review from PH.


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     Task Code      Date               Professional        Hours                                   Activity
        18       5/16/2023   Fiorillo, Julianna                 1.1 Review claim analysis for certain preference transaction
                                                                    counterparties.
         18      5/16/2023   Steven, Kira                       1.1 Provide comments on preference claim analysis presentation.

         18      5/16/2023   Steven, Kira                       0.7 Update preference presentation for latest feedback from team.

         18      5/16/2023   Busen, Michael                     2.4 Finalize preference analysis of certain exchange data prior to
                                                                    circulating to A&M.
         18      5/16/2023   Busen, Michael                     0.4 Summarize comments on preference data reconciliation.

         18      5/17/2023   Greenblatt, Matthew                0.8 Review certain bonus information in connection with investigation of
                                                                    pre-petition expenditures.
         18      5/17/2023   Garofalo, Michael                  2.2 Perform final preference data reconciliations prior to sharing with
                                                                    A&M.
         18      5/17/2023   Garofalo, Michael                  2.4 Conduct final updates for US exchange customer activity
                                                                    distributions.
         18      5/17/2023   Famiglietti, Tyler                 1.4 Update investment analysis based on new information from database
                                                                    searches.
         18      5/17/2023   Famiglietti, Tyler                 2.0 Continue review of production for investment documents and trackers
                                                                    to populate analysis.
         18      5/17/2023   Famiglietti, Tyler                 2.9 Review production for investment documents and trackers to populate
                                                                    analysis.
         18      5/17/2023   Diodato, Michael                   0.8 Write due diligence questions for Debtors' developers regarding the
                                                                    pre-petition risk model.
         18      5/17/2023   Shaik, Ismail                      2.6 Prepare summary of entities related to donations investigation from
                                                                    pre-petition employees.
         18      5/17/2023   Stillman, Beulah                   1.0 Categorize bank statements from each Debtor entity.

         18      5/17/2023   Jordan, Mason                      0.5 Test automation of the general ledger loading process.

         18      5/17/2023   Jordan, Mason                      1.9 Automate general ledger loading process.

         18      5/17/2023   Jordan, Mason                      2.1 Update automation of the general ledger based on testing for loading
                                                                    process.
         18      5/17/2023   Jordan, Mason                      2.2 Update preference data file analysis based on additional requests.

         18      5/17/2023   Jordan, Mason                      1.7 Continue to revise preference analysis.

         18      5/17/2023   Reid, Matthew                      2.7 Continue documentation of findings related to research for analysis of
                                                                    pre-petition executive personnel.
         18      5/17/2023   Fiorillo, Julianna                 2.8 Prepare analysis from documents re: 2022 bonuses.

         18      5/17/2023   Fiorillo, Julianna                 2.5 Perform review of bonus structure for pre-petition entities.

         18      5/17/2023   Fiorillo, Julianna                 2.7 Prepare analysis from documents re: 2021 bonuses.

         18      5/17/2023   Busen, Michael                     1.9 Provide comments to preference distribution analysis for the US
                                                                    exchange.

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     Task Code      Date             Professional        Hours                                    Activity
        18       5/18/2023   Garofalo, Michael                2.9 Prepare reconciliations of customer activity based on documents from
                                                                  the Debtors' database.
         18      5/18/2023   Bromberg, Brian                  0.5 Correspond on preference analysis data issues with Debtors.

         18      5/18/2023   Anastasiou, Anastis              0.5 Prepare schedule for documenting investigation research re:
                                                                  investigation of FTX executives and other related parties.
         18      5/18/2023   Anastasiou, Anastis              0.7 Perform research in document production to identify relevant
                                                                  documentation re: investigation FTX executives and other related
                                                                  parties.
         18      5/18/2023   Anastasiou, Anastis              2.9 Research FTX pre-petition exchange executives' actions.

         18      5/18/2023   Anastasiou, Anastis              0.3 Create plan for analysis of research findings on the Debtors' pre-
                                                                  petition directors.
         18      5/18/2023   Anastasiou, Anastis              1.6 Review certain Debtor entities' payroll and bonus information re:
                                                                  investigation of directors and executives of FTX pre-petition exchange.
         18      5/18/2023   Marsella, Jenna                  2.8 Conduct keyword searches in relativity to identify bank statements
                                                                  produced by Debtors.
         18      5/18/2023   Marsella, Jenna                  2.3 Continue to conduct keyword searches in relativity to identify bank
                                                                  statements related to potential causes of action.
         18      5/18/2023   Marsella, Jenna                  2.9 Assess research output based on parsing of available data from
                                                                  Debtors.
         18      5/18/2023   Famiglietti, Tyler               2.0 Review data production for investment documents and trackers to
                                                                  populate analysis.
         18      5/18/2023   Famiglietti, Tyler               1.8 Continue to review data production for investment documents and
                                                                  trackers to populate analysis.
         18      5/18/2023   Famiglietti, Tyler               2.7 Perform production searches and review of documents to populate
                                                                  investment tracker.
         18      5/18/2023   Baer, Laura                      0.5 Prepare a summary of the investigation findings on pre-petition
                                                                  directors.
         18      5/18/2023   Rothschild, Elijah               2.8 Identify investment transactions and trace funds to source.

         18      5/18/2023   Rothschild, Elijah               1.2 Review bank statements to trace transactions.

         18      5/18/2023   Rothschild, Elijah               1.8 Continue to source transactions by analyzing Debtors' bank
                                                                  statements.
         18      5/18/2023   Rothschild, Elijah               2.7 Review investment contracts in order to populate summary tracker of
                                                                  Debtors' investments.
         18      5/18/2023   Shaik, Ismail                    2.8 Supplement research on associated parties to the Debtors' pre-petition
                                                                  directors.
         18      5/18/2023   Shaik, Ismail                    2.7 Analyze pre-petition payments received by insiders from Debtor
                                                                  exchanges.
         18      5/18/2023   Shaik, Ismail                    2.5 Continue to research donation activity of top FTX employees,
                                                                  including analysis of bonus payments.
         18      5/18/2023   Jordan, Mason                    1.6 Standardize general ledger files from database using coding script for
                                                                  further analysis.
         18      5/18/2023   Jordan, Mason                    2.9 Update general ledger data inventory python script and consolidation
                                                                  python script.
         18      5/18/2023   Jordan, Mason                    0.7 Run python script to consolidate general ledgers for analysis.

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     Task Code      Date             Professional        Hours                                   Activity
        18       5/18/2023   Jordan, Mason                    2.5 Write script to automate standardization across all workbooks.

         18      5/18/2023   Jordan, Mason                    2.1 Update deposits and withdrawals comparison analysis for certain
                                                                  Debtor entity.
         18      5/18/2023   Jordan, Mason                    0.5 Prepare preference analysis based on most recent parsing of data.

         18      5/18/2023   Stillman, Beulah                 2.9 Continue to identify bank statements from various Debtor entities for
                                                                  potential avoidance actions investigations.
         18      5/18/2023   Stillman, Beulah                 2.1 Continue to categorize bank statements from each Debtor entity.

         18      5/18/2023   Stillman, Beulah                 1.3 Analyze Debtors' bank statements following categorization.

         18      5/18/2023   Stillman, Beulah                 2.9 Sort bank statements based on key characteristics to aid analysis.

         18      5/18/2023   Reid, Matthew                    2.8 Analyze relationships between certain Debtor entity's executives and
                                                                  related parties.
         18      5/18/2023   Reid, Matthew                    2.9 Research documentation from Debtors to gather information on
                                                                  relationships between the Debtor entities and certain executives.
         18      5/18/2023   Reid, Matthew                    2.3 Continue to prepare research analysis on documentation produced by
                                                                  the Debtors related to personal relationships between exchange directors.
         18      5/18/2023   Fiorillo, Julianna               2.6 Prepare analysis of bonuses paid to certain employees.

         18      5/18/2023   Fiorillo, Julianna               2.4 Review Debtors' database for evidence of bonus payments.

         18      5/18/2023   Fiorillo, Julianna               1.9 Conduct searches of Debtors' database for evidence of bonuses paid to
                                                                  certain employees.
         18      5/18/2023   Steven, Kira                     2.9 Review updates to the Debtors' database from the prior month.

         18      5/18/2023   Steven, Kira                     2.5 Review requests from PH on information related to exchange
                                                                  executive's donations.
         18      5/18/2023   Steven, Kira                     0.6 Summarize finding from prior avoidance action investigation.

         18      5/18/2023   Steven, Kira                     2.6 Review inquiries from UCC on certain investigation topics.

         18      5/18/2023   Busen, Michael                   0.5 Review preference data reconciliation analysis for a certain Debtor
                                                                  exchange to investigate variances.
         18      5/18/2023   Busen, Michael                   0.7 Review preference data reconciliation analysis for another Debtor
                                                                  exchange to understand variances from previously represented figures.
         18      5/19/2023   Garofalo, Michael                1.7 Prepare quality check of the prior analysis on customer activity data
                                                                  including deposits and withdrawals during 90-day period.
         18      5/19/2023   Garofalo, Michael                1.9 Prepare questions listing re: prior customer withdrawals and deposits
                                                                  activity.
         18      5/19/2023   Anastasiou, Anastis              0.9 Perform research to identify additional relevant parties to include in
                                                                  the investigation re: investigation of key Debtors' exchange executives.
         18      5/19/2023   Anastasiou, Anastis              2.3 Perform research in document production to identify bank accounts
                                                                  and transfers of parties affiliated with exchange re: investigation of
                                                                  executives and other related parties.
         18      5/19/2023   Anastasiou, Anastis              1.5 Prepare template and research framework for documenting findings of
                                                                  research re: investigation of executives and other related parties.
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     Task Code      Date             Professional        Hours                                     Activity
        18       5/19/2023   Anastasiou, Anastis              1.4 Review bank account and transfer information re: investigation of
                                                                  executives and other related parties.
         18      5/19/2023   Anastasiou, Anastis              0.6 Prepare schedule of bank accounts for investigation of executives and
                                                                  other related parties.
         18      5/19/2023   Anastasiou, Anastis              0.4 Create document tagging system to assist in analysis of Debtor entity
                                                                  executives for potential avoidance actions.
         18      5/19/2023   Anastasiou, Anastis              0.9 Continue to perform research to identify additional relevant parties to
                                                                  include in the investigation of FTX pre-petition executives.
         18      5/19/2023   Marsella, Jenna                  2.6 Continue to conduct keyword searches in relativity to identify bank
                                                                  statements produced by Debtors.
         18      5/19/2023   Marsella, Jenna                  2.8 Conduct additional keyword searches in database to identify bank
                                                                  statements produced by Debtors.
         18      5/19/2023   Marsella, Jenna                  1.3 Create bank of key search terms for document review process.

         18      5/19/2023   Famiglietti, Tyler               1.8 Summarize findings related to employee bonuses at Debtors' exchange
                                                                  for investigation.
         18      5/19/2023   Famiglietti, Tyler               2.5 Search production for documents to tie investments in investment
                                                                  analysis tracker.
         18      5/19/2023   Famiglietti, Tyler               0.9 Update investment analysis tracker to convey results of recent
                                                                  research.
         18      5/19/2023   Diodato, Michael                 0.2 Write due diligence questions for Debtors' developers regarding the
                                                                  initial margin model.
         18      5/19/2023   Feldman, Paul                    1.7 Develop discussion materials on market data services re: needs for
                                                                  UCC.
         18      5/19/2023   Shaik, Ismail                    2.3 Research entities that received donations from parties related to the
                                                                  Debtors and employees.
         18      5/19/2023   Shaik, Ismail                    2.8 Research entities receiving donations from FTX employees with a
                                                                  focus on government organizations.
         18      5/19/2023   Shaik, Ismail                    2.9 Research political campaigns and funds as part of investigation into
                                                                  Debtors' donations.
         18      5/19/2023   Jordan, Mason                    1.5 Update customer withdrawal and deposit analyses.

         18      5/19/2023   Jordan, Mason                    1.1 Run successive parts to general ledger automation process on all
                                                                  general ledgers.
         18      5/19/2023   Jordan, Mason                    2.1 Process revisions to the general ledger automation process.

         18      5/19/2023   Jordan, Mason                    1.9 Continue to revise general ledger automation analyses.

         18      5/19/2023   Jordan, Mason                    0.4 Update customer withdrawal and deposit analyses based on latest data
                                                                  received.
         18      5/19/2023   Stillman, Beulah                 2.5 Continue to identify and record bank statements from Debtors at each
                                                                  entity.
         18      5/19/2023   Stillman, Beulah                 2.8 Search bank statements from various entities in order to record
                                                                  information for investigation.
         18      5/19/2023   Stillman, Beulah                 2.7 Continue to search for and identify bank statements from each Debtor
                                                                  entity.
         18      5/19/2023   Majkowski, Stephanie             2.5 Examine documents related to FTX partnership and investment
                                                                  agreements with certain related parties.

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     Task Code      Date           Professional          Hours                                    Activity
        18       5/19/2023   Majkowski, Stephanie             2.0 Analyze documents related to a potential partnership between FTX
                                                                  and third-party.
         18      5/19/2023   Reid, Matthew                    2.9 Continue to revise analysis of Debtors' pre-petition investments.

         18      5/19/2023   Reid, Matthew                    2.4 Continue to analyze Debtors' investments following comments from
                                                                  team.
         18      5/19/2023   Reid, Matthew                    2.7 Conduct quality check of template with recorded data on Debtors'
                                                                  investments.
         18      5/19/2023   Fiorillo, Julianna               2.9 Review documents provided by Debtors for evidence of wrongdoing
                                                                  for potential litigation.
         18      5/21/2023   Anastasiou, Anastis              0.2 Perform research to identify additional relevant parties to include in
                                                                  the investigation of related parties.
         18      5/21/2023   Anastasiou, Anastis              1.0 Perform research re: investigation of certain insiders.

         18      5/21/2023   Anastasiou, Anastis              1.1 Prepare research framework for documenting findings of research re:
                                                                  key pre-petition executives.
         18      5/21/2023   Anastasiou, Anastis              0.3 Perform research in document production to identify relevant
                                                                  documents re: insider investigation.
         18      5/21/2023   Anastasiou, Anastis              0.9 Review insider communications of a certain entity.

         18      5/21/2023   Anastasiou, Anastis              0.1 Review donation analysis re: investigation of related parties to
                                                                  insiders.
         18      5/22/2023   Greenblatt, Matthew              0.5 Analyze latest information from investigation of key insiders.

         18      5/22/2023   Risler, Franck                   0.5 Advise on approach to preference claim investigation re: asset
                                                                  valuation.
         18      5/22/2023   Bromberg, Brian                  0.4 Review preference data reconciliation.

         18      5/22/2023   Bromberg, Brian                  0.5 Provide input on additional requests for preference withdrawal data.

         18      5/22/2023   Anastasiou, Anastis              0.7 Perform research in document production to identify relevant
                                                                  documentation re: key insiders.
         18      5/22/2023   Anastasiou, Anastis              0.2 Identify additional relevant parties to include in the investigation of
                                                                  related parties.
         18      5/22/2023   Anastasiou, Anastis              0.8 Review documentation of a certain related entity re: investigation of
                                                                  key insiders.
         18      5/22/2023   Anastasiou, Anastis              0.7 Prepare template for documenting findings of research into pre-
                                                                  petition executives.
         18      5/22/2023   Anastasiou, Anastis              0.2 Strategize on next steps for investigation of insiders.

         18      5/22/2023   Anastasiou, Anastis              0.3 Perform research to advance investigation of insiders.

         18      5/22/2023   Anastasiou, Anastis              0.6 Review donation information of various FTX affiliated entities.

         18      5/22/2023   Anastasiou, Anastis              1.3 Review research findings on investigation of pre-petition insiders.

         18      5/22/2023   Famiglietti, Tyler               1.4 Review documents related to Debtors' employee bonuses.


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     Task Code      Date             Professional        Hours                                  Activity
        18       5/22/2023   Famiglietti, Tyler               1.6 Summarize research related to Debtors' employee bonuses.

         18      5/22/2023   Famiglietti, Tyler               1.2 Review production for investment documents and trackers to populate
                                                                  analysis.
         18      5/22/2023   Garofalo, Michael                1.6 Develop outline of reconciliation of SOAL data to preference
                                                                  information.
         18      5/22/2023   Marsella, Jenna                  2.4 Conduct additional keyword searches in database to identify bank
                                                                  statements.
         18      5/22/2023   Marsella, Jenna                  2.9 Conduct keyword searches in database to identify bank statements.

         18      5/22/2023   Marsella, Jenna                  2.7 Conduct further keyword searches in database to identify bank
                                                                  statements.
         18      5/22/2023   Famiglietti, Tyler               2.3 Perform additional review of documents and summarize findings
                                                                  related to employee bonuses.
         18      5/22/2023   Rothschild, Elijah               2.7 Conduct research on circumstances of pre-petition investment
                                                                  transactions.
         18      5/22/2023   Rothschild, Elijah               2.4 Review bank statements to validate investment transactions.

         18      5/22/2023   Rothschild, Elijah               2.9 Review investment contracts in connection with pre-petition activity.

         18      5/22/2023   Feldman, Paul                    0.7 Assess status of research into pre-petition executives and insiders.

         18      5/22/2023   Stillman, Beulah                 2.5 Identify relevant bank statements in the database related to
                                                                  investments.
         18      5/22/2023   Stillman, Beulah                 2.2 Identify additional relevant bank statements in the database related to
                                                                  investments.
         18      5/22/2023   Stillman, Beulah                 2.8 Consolidate relevant bank statements in the database related to
                                                                  investments.
         18      5/22/2023   Reid, Matthew                    2.4 Analyze documentation surrounding investments made by the Debtors
                                                                  prior to the petition date.
         18      5/22/2023   Reid, Matthew                    2.7 Summarize documentation surrounding investments made by the
                                                                  Debtors prior to the petition date.
         18      5/22/2023   Reid, Matthew                    2.9 Analyze additional documentation surrounding investments made by
                                                                  the Debtors prior to the petition date.
         18      5/22/2023   Majkowski, Stephanie             2.8 Analyze documents related to the Debtors' calculation of unrealized
                                                                  gains and losses re: potential recovery actions.
         18      5/22/2023   Majkowski, Stephanie             2.1 Investigate documents related to the Debtors' order processing and risk
                                                                  engine procedures.
         18      5/22/2023   Majkowski, Stephanie             1.5 Review backstop liquidity provider agreement documents for potential
                                                                  recovery actions.
         18      5/22/2023   Shaik, Ismail                    2.0 Research a certain entity receiving large donations from an insider.

         18      5/22/2023   Shaik, Ismail                    2.0 Research various donations that may have been used for other
                                                                  purposes.
         18      5/22/2023   Fiorillo, Julianna               2.9 Perform searches within document production for evidence of bonus
                                                                  payment.
         18      5/22/2023   Fiorillo, Julianna               2.7 Perform searches within document production for bonuses for 2021
                                                                  and 2022.

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     Task Code      Date               Professional        Hours                                    Activity
        18       5/22/2023   Fiorillo, Julianna                 1.9 Perform searches within document production for documents related
                                                                    to a certain payroll provider.
         18      5/22/2023   Steven, Kira                       1.4 Summarize prior research on Debtors' provided documents re:
                                                                    Debtors' pre-petition exchange employee bonuses.
         18      5/22/2023   Steven, Kira                       1.6 Continue to develop research on Debtors' employee bonuses.

         18      5/22/2023   Steven, Kira                       2.1 Analyze research on donations made prior to the petition date.

         18      5/22/2023   Steven, Kira                       2.1 Analyze research on transactions related to certain pre-petition
                                                                    investments.
         18      5/22/2023   Steven, Kira                       0.6 Supplement research on pre-petition donations with additional
                                                                    information.
         18      5/23/2023   Simms, Steven                      0.3 Review items related to insider discovery.

         18      5/23/2023   Famiglietti, Tyler                 1.2 Review data entered into investment analysis tracker.

         18      5/23/2023   Famiglietti, Tyler                 1.8 Develop investment tracker based on continued analysis of the
                                                                    Debtors' investments.
         18      5/23/2023   Famiglietti, Tyler                 2.0 Perform additional review of documents and summarize findings
                                                                    related to employee bonuses.
         18      5/23/2023   Garofalo, Michael                  2.7 Reconcile coin pricing analyses for various reported files re:
                                                                    preference analysis.
         18      5/23/2023   Marsella, Jenna                    2.6 Conduct further keyword searches in relativity to identify bank
                                                                    statements produced by Debtor in UCC request.
         18      5/23/2023   Marsella, Jenna                    0.5 Continue to analyze Debtors' bank statements.

         18      5/23/2023   Marsella, Jenna                    2.7 Continue to conduct keyword searches in relativity to identify bank
                                                                    statements produced by Debtor in UCC request.
         18      5/23/2023   Marsella, Jenna                    2.3 Conduct additional keyword searches in relativity to identify bank
                                                                    statements produced by Debtor in UCC request.
         18      5/23/2023   Famiglietti, Tyler                 2.0 Review documents and summarize findings related to employee
                                                                    bonuses.
         18      5/23/2023   Rothschild, Elijah                 2.6 Review investment deliverable.

         18      5/23/2023   Rothschild, Elijah                 2.8 Conduct further review on investment contracts.

         18      5/23/2023   Rothschild, Elijah                 2.6 Review bank statements to validate investment transactions.

         18      5/23/2023   Stillman, Beulah                   2.9 Identify all bank statements in the database related to the Debtors.

         18      5/23/2023   Stillman, Beulah                   2.7 Index all relevant bank statements in the database related to the
                                                                    Debtors.
         18      5/23/2023   Stillman, Beulah                   2.4 Continue to index all relevant bank statements in the database related
                                                                    to the Debtors.
         18      5/23/2023   Jordan, Mason                      1.1 Standardized general ledgers that have potential errors.

         18      5/23/2023   Jordan, Mason                      1.7 Standardize and load customer data requests files to database.


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     Task Code      Date             Professional        Hours                                  Activity
        18       5/23/2023   Jordan, Mason                    1.5 Assess loaded customer data requests in database.

         18      5/23/2023   Jordan, Mason                    0.5 Continue to reconcile customer data information for investigation.

         18      5/23/2023   Jordan, Mason                    1.7 Prepare reconciliation of customer data for a certain Debtor exchange
                                                                  compared to the customer schedules re: preferences.
         18      5/23/2023   Jordan, Mason                    1.9 Prepare reconciliation of customer data for another Debtor exchange
                                                                  compared to the customer schedules re: preferences.
         18      5/23/2023   Reid, Matthew                    2.8 Perform preliminary research on documents produced by the Debtors
                                                                  re: analysis on insiders.
         18      5/23/2023   Reid, Matthew                    2.3 Perform further research on documents produced by the Debtors re:
                                                                  analysis on insiders.
         18      5/23/2023   Reid, Matthew                    2.9 Continue to perform further research on documents produced by the
                                                                  Debtors re: analysis on insiders.
         18      5/23/2023   Majkowski, Stephanie             2.9 Review pre-petition correspondence between the Debtors and
                                                                  potential investments/partnerships.
         18      5/23/2023   Shaik, Ismail                    2.7 Continue preliminary research on associates of founder.

         18      5/23/2023   Shaik, Ismail                    2.9 Research certain associated of founder in preparation for upcoming
                                                                  deliverable.
         18      5/23/2023   Shaik, Ismail                    2.4 Research another certain associated of founder in preparation for
                                                                  upcoming deliverable.
         18      5/23/2023   Fiorillo, Julianna               1.6 Perform review of document production for documents related to
                                                                  2020 and 2019 bonus payments.
         18      5/23/2023   Fiorillo, Julianna               2.8 Perform searches within document production for payroll provider
                                                                  documents for evidence of bonus payment.
         18      5/23/2023   Fiorillo, Julianna               2.6 Perform review of document production for documents related to
                                                                  Gusto payroll provider.
         18      5/23/2023   Steven, Kira                     0.6 Review forensic accounting upcoming deliverables.

         18      5/23/2023   Steven, Kira                     1.2 Review new document productions from Debtors for future proposed
                                                                  investigations.
         18      5/23/2023   Steven, Kira                     1.8 Populate tracker to record key findings on the research for pre-petition
                                                                  bonus payments.
         18      5/23/2023   Steven, Kira                     0.6 Prepare summary of investigation on Debtor entity bonus payments.

         18      5/23/2023   Steven, Kira                     2.3 Continue to analyze Debtors' bank statements for investigation into
                                                                  potential recovery actions.
         18      5/23/2023   Steven, Kira                     2.2 Aggregate UCC requests from latest e-mail correspondences.

         18      5/24/2023   Anastasiou, Anastis              0.2 Perform research to identify additional relevant parties to include in
                                                                  the investigation re: key executives of FTX pre-petition exchange.
         18      5/24/2023   Anastasiou, Anastis              1.1 Perform open source research to identify relevant information on key
                                                                  parties to the Debtors and executives.
         18      5/24/2023   Anastasiou, Anastis              0.8 Prepare template and research framework for documenting findings of
                                                                  research re: investigation of key pre-petition exchange directors and
                                                                  officers.
         18      5/24/2023   Anastasiou, Anastis              0.5 Summarize information for potential avoidance actions re: key
                                                                  executives of pre-petition exchange and donations.
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     Task Code      Date             Professional        Hours                                    Activity
        18       5/24/2023   Anastasiou, Anastis              0.9 Collect further information to analyze actions at pre-petition exchange
                                                                  and potential wrongdoing.
         18      5/24/2023   Anastasiou, Anastis              1.4 Review research on certain insiders for avoidance actions.

         18      5/24/2023   Anastasiou, Anastis              0.8 Create additional report on findings to date re: investigation into
                                                                  director donations.
         18      5/24/2023   Anastasiou, Anastis              0.2 Develop analysis on investigation of key parties to Debtor exchange
                                                                  and associations.
         18      5/24/2023   Anastasiou, Anastis              0.6 Perform reviews of document production to identify relevant
                                                                  documentation on executives and other parties to the Debtors.
         18      5/24/2023   Famiglietti, Tyler               2.8 Perform review of data entered into investment analysis tracker.

         18      5/24/2023   Garofalo, Michael                1.6 Create tracker to populate results of research on the Debtors' political
                                                                  donations.
         18      5/24/2023   Garofalo, Michael                2.2 Reconcile differences in Debtors' assets reported compared to prior
                                                                  analysis.
         18      5/24/2023   Garofalo, Michael                1.6 Conduct quality check of revised reconciliation on certain Debtors'
                                                                  assets and liabilities.
         18      5/24/2023   Marsella, Jenna                  2.4 Continue to prepare inventory of bank statements produced by
                                                                  Debtors.
         18      5/24/2023   Marsella, Jenna                  2.8 Review bank statements from the Debtors.

         18      5/24/2023   Marsella, Jenna                  2.3 Develop summary analysis on the Debtors' bank statements.

         18      5/24/2023   Famiglietti, Tyler               1.7 Update investment analysis tracker based on detailed review.

         18      5/24/2023   Famiglietti, Tyler               2.5 Evaluate data entered into investment analysis tracker for disclosures
                                                                  of terms and pricing.
         18      5/24/2023   Rothschild, Elijah               2.9 Conduct further review of investment contracts.

         18      5/24/2023   Rothschild, Elijah               2.8 Review investments of Debtors and populate tracker on key findings.

         18      5/24/2023   Rothschild, Elijah               2.3 Validate investment transactions for Debtors based on bank statement
                                                                  review.
         18      5/24/2023   Stillman, Beulah                 2.6 Continue to index all relevant bank statements for Debtor entities.

         18      5/24/2023   Stillman, Beulah                 2.3 Index all relevant bank statements related to the investigation for
                                                                  potential avoidance actions.
         18      5/24/2023   Stillman, Beulah                 1.9 Continue to index relevant Debtor entity bank statements in the
                                                                  database.
         18      5/24/2023   Stillman, Beulah                 1.7 Revise categorization of bank statements for the Debtors in order to
                                                                  prepare for further analysis.
         18      5/24/2023   Jordan, Mason                    0.9 Conduct reconciliation of Debtors' bank statements.

         18      5/24/2023   Jordan, Mason                    1.6 Analyze related party data sets against customer decoder.

         18      5/24/2023   Jordan, Mason                    1.7 Update customer data and customer schedule analyses based on newly
                                                                  provided information re: preferences.

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     Task Code      Date             Professional        Hours                                    Activity
        18       5/24/2023   Jordan, Mason                    2.1 Analyze various sources to compare reported customer data results re:
                                                                  preferences.
         18      5/24/2023   Reid, Matthew                    2.9 Prepare final quality check of prior FTX investments analysis.

         18      5/24/2023   Reid, Matthew                    2.7 Continue to analyze the Debtors' investments based on provided
                                                                  documentation.
         18      5/24/2023   Reid, Matthew                    2.4 Develop analysis of FTX investments for potential avoidance actions
                                                                  investigations.
         18      5/24/2023   Majkowski, Stephanie             1.8 Analyze guaranty fund sizing methodology for potential recovery
                                                                  actions.
         18      5/24/2023   Majkowski, Stephanie             2.9 Investigate python code for market risk initial margin calculation for
                                                                  potential recovery actions.
         18      5/24/2023   Majkowski, Stephanie             1.6 Analyze FTX's crypto margining methodology white paper for
                                                                  potential recovery actions.
         18      5/24/2023   Majkowski, Stephanie             1.8 Evaluate pre-petition crypto margining methodologies for the Debtor
                                                                  exchanges.
         18      5/24/2023   Shaik, Ismail                    2.9 Continue to research donations from FTX employees to certain third-
                                                                  parties.
         18      5/24/2023   Shaik, Ismail                    2.5 Continue to research financial activities of parties related to the
                                                                  Debtors in relation to donations made.
         18      5/24/2023   Shaik, Ismail                    2.6 Continue profiling of entities that received donations from FTX
                                                                  employees with a focus on technology companies.
         18      5/24/2023   Shaik, Ismail                    2.6 Record findings from investigation on technology companies re:
                                                                  donations from Debtors.
         18      5/24/2023   Shaik, Ismail                    2.8 Research specific entities re: donation activity from Debtor executives
                                                                  and investment classification.
         18      5/24/2023   Fiorillo, Julianna               1.7 Review files summarizing employee bonuses to assess bonus
                                                                  payments at the exchange.
         18      5/24/2023   Fiorillo, Julianna               2.7 Prepare bonus analysis for bonus payments during various bonus
                                                                  seasons.
         18      5/24/2023   Fiorillo, Julianna               2.1 Revise bonus analysis for document index tab and key observations
                                                                  tab.
         18      5/24/2023   Steven, Kira                     1.0 Analyze bonus payments historically for the Debtors' pre-petition
                                                                  exchange.
         18      5/24/2023   Steven, Kira                     1.8 Review bonus payments to certain Debtor entity executives.

         18      5/24/2023   Steven, Kira                     1.8 Continue to review new document productions for future workstream
                                                                  proposals.
         18      5/24/2023   Steven, Kira                     1.9 Aggregate UCC requests from communications during the fourth
                                                                  week of May.
         18      5/24/2023   Steven, Kira                     1.4 Continue to review investigation diligence list for further detail on
                                                                  research requirements.
         18      5/24/2023   Steven, Kira                     1.6 Prepare information request to summarize missing data for continued
                                                                  investigations.
         18      5/25/2023   Anastasiou, Anastis              1.1 Prepare template and research framework for documenting findings of
                                                                  research re: investigation of parties related to the pre-petition exchange.
         18      5/25/2023   Anastasiou, Anastis              0.5 Research documents produced by Debtors to identify relevant
                                                                  documents for investigation of parties related to the Debtors.

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     Task Code      Date             Professional        Hours                                     Activity
        18       5/25/2023   Anastasiou, Anastis              1.7 Identify relevant information for investigation of key directors of the
                                                                  Debtors' exchange.
         18      5/25/2023   Anastasiou, Anastis              1.6 Review research on related parties to the Debtors for potential
                                                                  avoidance actions investigations.
         18      5/25/2023   Anastasiou, Anastis              0.9 Review donation information re: various affiliated entities to the
                                                                  Debtors.
         18      5/25/2023   Anastasiou, Anastis              0.3 Perform research on additional relevant individuals to include in the
                                                                  investigation re: certain exchange executives and other parties.
         18      5/25/2023   Famiglietti, Tyler               2.4 Review data in investment tracker as part of research on Debtors'
                                                                  investments.
         18      5/25/2023   Famiglietti, Tyler               2.7 Develop investment tracker by recording findings from research on
                                                                  Debtor entity investments.
         18      5/25/2023   Famiglietti, Tyler               1.0 Review production of investment documents from Debtors.

         18      5/25/2023   Garofalo, Michael                 1.8 Develop analysis of coin pricing information sourced from various
                                                                   crypto coin pricing sources re: preferences.
         18      5/25/2023   Garofalo, Michael                 2.9 Reconcile Debtors' statements of assets and liabilities with production
                                                                   document for review re: preferences.
         18      5/25/2023   Marsella, Jenna                   1.7 Conduct additional review of bank statements produced by Debtors.

         18      5/25/2023   Marsella, Jenna                   2.7 Record findings in organized template as part of bank statements
                                                                   analysis.
         18      5/25/2023   Marsella, Jenna                   2.4 Continue to analyze bank statements inventory and create summary of
                                                                   findings.
         18      5/25/2023   Busen, Michael                    0.6 Assess various trading options providers in relation to preference
                                                                   analysis data.
         18      5/25/2023   Busen, Michael                    0.5 Review preference data reconciliation analyses for key takeaways.

         18      5/25/2023   Rothschild, Elijah                2.7 Review investment contracts for the Debtors' investments.

         18      5/25/2023   Rothschild, Elijah                2.9 Develop summary of findings on Debtors' investments portfolio.

         18      5/25/2023   Rothschild, Elijah                2.4 Review bank statements to validate certain investment transactions.

         18      5/25/2023   Feldman, Paul                     1.2 Prepare a list of considerations for market data providers re: trials of
                                                                   provider services.
         18      5/25/2023   Kimche, Livia                     2.0 Build data inventory for analysis of Debtors' bank statements and
                                                                   general ledgers.
         18      5/25/2023   Stillman, Beulah                  2.6 Continue to index relevant bank statements of FTX entities in the
                                                                   database.
         18      5/25/2023   Stillman, Beulah                  1.2 Continue to index bank statements for various Debtor entities in order
                                                                   to categorize data for analysis.
         18      5/25/2023   Stillman, Beulah                  2.1 Implement categorization process for the bank statements of the
                                                                   Debtors.
         18      5/25/2023   Stillman, Beulah                  1.9 Revise analysis on indexed bank statements.

         18      5/25/2023   Jordan, Mason                     0.5 Parse data for additional findings from Debtors' provided materials.


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     Task Code      Date             Professional        Hours                                   Activity
        18       5/25/2023   Jordan, Mason                    0.4 Review pricing data for continued analysis of preferences.

         18      5/25/2023   Jordan, Mason                    1.6 Work on name matching and preference data distributions for certain
                                                                  institutions.
         18      5/25/2023   Jordan, Mason                    1.1 Conduct reconciliation of customer data and customer schedules re:
                                                                  preferences.
         18      5/25/2023   Jordan, Mason                    1.6 Prepare data inventory tracker.

         18      5/25/2023   Majkowski, Stephanie             0.6 Review online chats for certain Debtor entity discussing trading
                                                                  signals and algo executions.
         18      5/25/2023   Majkowski, Stephanie             2.1 Review agreement between FTX Trading and major shareholders of
                                                                  certain entity.
         18      5/25/2023   Majkowski, Stephanie             0.9 Summarize considerations re: agreement between FTX Trading and
                                                                  major shareholders of certain entity.
         18      5/25/2023   Majkowski, Stephanie             2.2 Investigate FTX stress testing approach including concentration
                                                                  charge, concentration calculation, and transaction costs.
         18      5/25/2023   Shaik, Ismail                    2.2 Research various Debtor entities that received large donations from
                                                                  FTX executives with a focus on pandemic.
         18      5/25/2023   Shaik, Ismail                    2.9 Research various Debtor entities that received large donations from
                                                                  FTX executives with a focus on political group donations.
         18      5/25/2023   Shaik, Ismail                    2.9 Research donations from Debtors with a focus on potential
                                                                  considerations of donations as investments.
         18      5/25/2023   Fiorillo, Julianna               1.7 Conduct research of provided documents for bonus amounts on
                                                                  individual employees.
         18      5/25/2023   Fiorillo, Julianna               2.1 Prepare summary tab for bonus analysis.

         18      5/25/2023   Fiorillo, Julianna               2.2 Revise bonus analysis main data.

         18      5/25/2023   Steven, Kira                     2.2 Review data room for information on bonus payment information.

         18      5/25/2023   Steven, Kira                     2.0 Review past FTX distribution email correspondence for information
                                                                  on bonus payments.
         18      5/25/2023   Steven, Kira                     1.1 Create plan of considerations for continued analysis for potential
                                                                  avoidance actions.
         18      5/25/2023   Steven, Kira                     1.9 Investigate Debtors' bank statements based on indexing and
                                                                  categorization.
         18      5/26/2023   Anastasiou, Anastis              0.9 Review research findings on investigation of related parties to certain
                                                                  insiders.
         18      5/26/2023   Anastasiou, Anastis              2.1 Perform open source research to identify relevant information re:
                                                                  investigation of Bankman family, key FTX executives and other
                                                                  related parties.
         18      5/26/2023   Famiglietti, Tyler               1.5 Continue quality check of data entered into investment analysis
                                                                  tracker.
         18      5/26/2023   Famiglietti, Tyler               1.2 Update investment analysis based on new information from quality
                                                                  review.
         18      5/26/2023   Famiglietti, Tyler               1.8 Research Debtors' investments in order to inform continued analysis.

         18      5/26/2023   Marsella, Jenna                  2.9 Inventory of bank statements produced by Debtor in UCC request.

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     Task Code      Date             Professional        Hours                                   Activity
        18       5/26/2023   Marsella, Jenna                  2.7 Prepare inventory of bank statements produced by Debtor in UCC
                                                                  request.
         18      5/26/2023   Marsella, Jenna                  2.4 Conduct additional review of bank statements produced by Debtor in
                                                                  UCC request.
         18      5/26/2023   Famiglietti, Tyler               2.0 Continue to review data entered into investment analysis tracker.

         18      5/26/2023   Rothschild, Elijah               2.3 Review bank statements to validate various investment transactions.

         18      5/26/2023   Rothschild, Elijah               2.8 Review investment deliverable for accuracy and completeness.

         18      5/26/2023   Rothschild, Elijah               2.9 Review certain investment contracts to compare to information found
                                                                  in bank statements.
         18      5/26/2023   Shaik, Ismail                    2.9 Research entities that received donations from certain employees and
                                                                  related parties with a focus on political campaigns and super PACs.
         18      5/26/2023   Kimche, Livia                    2.9 Continue to organize files through the build of SQL data inventory
                                                                  tracking mechanism.
         18      5/26/2023   Shaik, Ismail                    1.1 Research certain entities that received donations from FTX insiders to
                                                                  understand ownership structure of these entities.
         18      5/26/2023   Fiorillo, Julianna               2.8 Continue to revise bonus analysis.

         18      5/26/2023   Fiorillo, Julianna               1.2 Perform detailed review of bonus analysis.

         18      5/26/2023   Steven, Kira                     2.5 Review remaining UCC requests from correspondence during fourth
                                                                  week of May.
         18      5/26/2023   Steven, Kira                     0.8 Review analysis on bonus payments to executives at a certain Debtor
                                                                  entity.
         18      5/28/2023   Anastasiou, Anastis              2.7 Perform research in document production to identify relevant
                                                                  documentation re: investigation on pre-petition exchange executives.
         18      5/28/2023   Anastasiou, Anastis              0.3 Prepare template and research framework for documenting findings of
                                                                  research re: related parties to the Debtors' exchange.
         18      5/28/2023   Anastasiou, Anastis              1.8 Perform open source research to identify relevant information re:
                                                                  investigation of key exchange executives.
         18      5/30/2023   Risler, Franck                   0.2 Prepare diligence list for Alix re: exchange-based action and trading
                                                                  malfeasance.
         18      5/30/2023   Bromberg, Brian                  0.6 Review preliminary preferences analysis.

         18      5/30/2023   Garofalo, Michael                2.9 Assemble list of questions and observations related to revised
                                                                  customer activity file on customer withdrawals and deposits.
         18      5/30/2023   Marsella, Jenna                  2.3 Develop inventory of bank statements from Debtor entities to analyze.

         18      5/30/2023   Marsella, Jenna                  2.9 Conduct additional inventory of bank statements produced by Debtors
                                                                  for alternative information recording.
         18      5/30/2023   Famiglietti, Tyler               2.3 Perform additional quality check of data entered into investment
                                                                  analysis tracker.
         18      5/30/2023   Famiglietti, Tyler               2.5 Evaluate data entered into investment analysis tracker.

         18      5/30/2023   Famiglietti, Tyler               1.7 Revise data entered into investment analysis tracker based on multiple
                                                                  reviews.

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     Task Code      Date             Professional        Hours                                      Activity
        18       5/30/2023   Famiglietti, Tyler               1.0 Search production for documents to tie investments in investment
                                                                  analysis tracker based on latest updates.
         18      5/30/2023   Baer, Laura                      1.6 Review analysis of employee payroll records related to multiple
                                                                  million dollar bonus payments in 2021 and 2022.
         18      5/30/2023   Baer, Laura                      1.5 Revise analysis of employee payroll records related to multiple million
                                                                  dollar bonus payments in 2021 and 2022.
         18      5/30/2023   Baer, Laura                      0.4 Prepare for upcoming meeting on UCC requests re: employee payroll
                                                                  records and bonus payments.
         18      5/30/2023   Rothschild, Elijah               2.9 Analyze Debtors' investments in tracker created by team.

         18      5/30/2023   Rothschild, Elijah               2.9 Review investment contracts on Debtors' investments portfolio.

         18      5/30/2023   Rothschild, Elijah               2.5 Review transfer support for investments.

         18      5/30/2023   Shaik, Ismail                    2.7 Research internal Debtor communications re: donations to technology
                                                                  and journalism entities.
         18      5/30/2023   Shaik, Ismail                    2.5 Continue to research donations from employees at pre-petition
                                                                  exchange for detail on accounts and banks involved.
         18      5/30/2023   Shaik, Ismail                    2.8 Research internal Debtor communications re: donations to political
                                                                  entities.
         18      5/30/2023   Jordan, Mason                    0.4 Analyze Debtors' donations historically to various categories of
                                                                  recipients.
         18      5/30/2023   Jordan, Mason                    2.2 Update customer data reconciliation workbooks to compare
                                                                  information from two sources re: preferences.
         18      5/30/2023   Jordan, Mason                    2.9 Develop workbooks for the purpose of investigation research
                                                                  categorization.
         18      5/30/2023   Kimche, Livia                    1.8 Investigate exchange market data by writing python scripts to extract
                                                                  data.
         18      5/30/2023   Stillman, Beulah                 2.8 Continue to index all bank statements of clients or entities in the
                                                                  database related to the UCC matter.
         18      5/30/2023   Stillman, Beulah                 2.6 Index all bank statements of clients or entities in the database.

         18      5/30/2023   Stillman, Beulah                 2.9 Assess investment analysis prepared to date for variances in results
                                                                  from multiple sources.
         18      5/30/2023   Reid, Matthew                    2.9 Continue to analyze FTX investments for considered litigation.

         18      5/30/2023   Reid, Matthew                    2.4 Continue to run quality check of investments made by FTX and its
                                                                  subsidiaries.
         18      5/30/2023   Reid, Matthew                    2.7 Analyze the Debtors investments with a focus on specific time
                                                                  periods.
         18      5/30/2023   Majkowski, Stephanie             2.5 Review standards and requirements for FTX backstop liquidity
                                                                  providers for potential recovery actions.
         18      5/30/2023   Fiorillo, Julianna               2.9 Prepare slides on bonus analysis.

         18      5/30/2023   Fiorillo, Julianna               1.6 Revise intercompany analysis regarding general ledger account
                                                                  review.
         18      5/30/2023   Fiorillo, Julianna               2.8 Further revise bonus analysis presentation.


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     Task Code      Date             Professional        Hours                                  Activity
        18       5/30/2023   Steven, Kira                     1.3 Revise presentation on employee bonuses analysis.

         18      5/30/2023   Steven, Kira                     0.2 Summarize key dates for progress in investigations plans.

         18      5/30/2023   Steven, Kira                     1.4 Load documents to be analyzed re: intercompany transactions.

         18      5/30/2023   Steven, Kira                     2.2 Continue to review new productions within database for proposals re:
                                                                  employee bonuses.
         18      5/30/2023   Busen, Michael                   0.2 Obtain data for additional preference data reconciliation analysis.

         18      5/30/2023   Sveen, Andrew                    0.2 Review data updates received from Debtors re: deposit and
                                                                  withdrawal details.
         18      5/30/2023   Baer, Laura                      1.8 Review FTX investment transfer support file to assist in litigation
                                                                  claims evaluation.
         18      5/31/2023   Bromberg, Brian                  0.3 Review payroll investigation issues.

         18      5/31/2023   Anastasiou, Anastis              0.5 Perform research to identify relevant information re: investigation of
                                                                  key FTX executives and other related parties.
         18      5/31/2023   Anastasiou, Anastis              0.4 Review internal documentation about certain Debtor entity prior to the
                                                                  FTX bankruptcy re: preference analysis investigation.
         18      5/31/2023   Anastasiou, Anastis              0.4 Review documentation of grants provided by fund of the Debtors re:
                                                                  investigation of FTX executives and other related parties.
         18      5/31/2023   Anastasiou, Anastis              1.1 Perform research on loans taken by key FTX executives re:
                                                                  investigation of FTX executives and other related parties.
         18      5/31/2023   Anastasiou, Anastis              0.6 Update work product re: Debtor entity preference analysis.

         18      5/31/2023   Anastasiou, Anastis              0.5 Continue to develop research for preference analysis on certain Debtor
                                                                  entities.
         18      5/31/2023   Anastasiou, Anastis              0.4 Review internal communications between FTX executives and third
                                                                  parties of investments made by FTX.
         18      5/31/2023   Anastasiou, Anastis              0.7 Prepare template and research framework for documenting findings of
                                                                  research re: key parties to the Debtors.
         18      5/31/2023   Anastasiou, Anastis              0.6 Review various documents re: investigation of certain parties to the
                                                                  Debtors and key executives.
         18      5/31/2023   Anastasiou, Anastis              0.2 Perform detailed review of preference analysis for a certain Debtor
                                                                  entity.
         18      5/31/2023   Anastasiou, Anastis              0.6 Review findings on key executives of the Debtors based on
                                                                  investigation log.
         18      5/31/2023   Marsella, Jenna                  1.1 Develop consolidated inventory of bank statements produced by
                                                                  Debtors.
         18      5/31/2023   Famiglietti, Tyler               1.5 Compile updates to investment analysis tracker based on quality
                                                                  check.
         18      5/31/2023   Famiglietti, Tyler               1.0 Search production for documents to tie investments in investment
                                                                  analysis tracker based on updates.
         18      5/31/2023   Rothschild, Elijah               2.7 Review investments tracker template for newest conclusions on
                                                                  investment investigation.
         18      5/31/2023   Shaik, Ismail                    1.8 Assess specific bank accounts mentioned in donations made from
                                                                  FTX employees to political entities.

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     Task Code      Date              Professional        Hours                                      Activity
        18       5/31/2023   Shaik, Ismail                     2.9 Research certain parties related to Debtors for compliance and
                                                                   regulatory measures.
         18      5/31/2023   Jordan, Mason                     2.2 Run reconciliation analysis for customer activity in order to create
                                                                   workbook of results re: preferences.
         18      5/31/2023   Jordan, Mason                     1.7 Prepare report on prior customer activity analysis on withdrawals and
                                                                   deposits re: preferences.
         18      5/31/2023   Jordan, Mason                     1.2 Load new withdrawal and deposit data for Debtors' exchange re:
                                                                   preference analysis.
         18      5/31/2023   Stillman, Beulah                  2.6 Index and organize all bank statements of clients or entities in the
                                                                   database.
         18      5/31/2023   Stillman, Beulah                  0.8 Prepare additional investment analysis re: certain investments by
                                                                   Debtors.
         18      5/31/2023   Stillman, Beulah                  2.1 Continue to organize all bank statements of clients or entities in the
                                                                   database related to the UCC matter.
         18      5/31/2023   Stillman, Beulah                  2.5 Categorize bank statements of Debtor entities based on certain
                                                                   information tagging.
         18      5/31/2023   Reid, Matthew                     2.8 Analyze bank statements produced by the Debtors in order to assist
                                                                   investigation on financial activity of the Debtors.
         18      5/31/2023   Reid, Matthew                     2.3 Continue to analyze bank statements produced by the Debtors.

         18      5/31/2023   Reid, Matthew                     2.9 Assess financial activity of the Debtor entities based on analysis of the
                                                                   bank statements provided.
         18      5/31/2023   Fiorillo, Julianna                2.3 Revise intercompany general ledger for certain entities.

         18      5/31/2023   Fiorillo, Julianna                2.8 Prepare intercompany general ledger with certain Debtor entity.

         18      5/31/2023   Fiorillo, Julianna                2.9 Prepare intercompany general ledger document index summary.

         18      5/31/2023   Steven, Kira                      1.3 Aggregate UCC requests from correspondence during 5th week of
                                                                   May.
      18 Total                                             1,358.7

         21      5/1/2023    Risler, Franck                    0.8 Correspond with PH and Jefferies to discuss potential strategies for
                                                                   monetization of Debtors' assets and FTX 2.0.
         21      5/1/2023    Bromberg, Brian                   0.8 Correspond with PH and Jefferies to discuss FTX 2.0, monetization
                                                                   strategies, and claims analysis.
         21      5/1/2023    Diaz, Matthew                     0.8 Correspond with Jefferies and PH to prepare for UCC call on asset
                                                                   monetization, FTX 2.0, and claims analysis.
         21      5/1/2023    Diodato, Michael                  0.8 Correspond with PH and Jefferies to discuss management of crypto
                                                                   assets and claims analysis.
         21      5/3/2023    Simms, Steven                     1.7 Correspond on cash flows, asset sales, cash management and other
                                                                   items.
         21      5/3/2023    Diaz, Matthew                     1.7 Correspond on strategies for hedging and monetization of the Debtors'
                                                                   assets with the UCC.
         21      5/3/2023    Bromberg, Brian                   1.7 Correspond with UCC on asset monetization plan proposals.

         21      5/3/2023    Risler, Franck                    1.7 Correspond with UCC with a focus on trading risks and derivatives
                                                                   claims against the Debtors.

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     Task Code     Date            Professional         Hours                                      Activity
        21       5/8/2023    Bromberg, Brian                 0.9 Correspond with PH and Jefferies re: recent Debtor issues including
                                                                 liquidity and crypto asset portfolio management.
         21      5/8/2023    Risler, Franck                  0.9 Correspond with PH and Jefferies with a focus on trading and
                                                                 derivatives risks.
         21      5/8/2023    Diaz, Matthew                   0.9 Correspond with PH and Jefferies on recent crypto portfolio analysis
                                                                 updates.
         21      5/8/2023    Diodato, Michael                0.9 Correspond with Jefferies and PH re: crypto asset monetization
                                                                 strategies.
         21      5/10/2023   Bromberg, Brian                 1.6 Correspond with UCC re: plan structure, coin management, and other
                                                                 case updates.
         21      5/10/2023   Simms, Steven                   1.6 Correspond with the UCC re: coin management, plan, and venture
                                                                 investment issues.
         21      5/10/2023   Diaz, Matthew                   1.6 Correspond with the UCC re: coin management, plan, and investment
                                                                 issues.
         21      5/10/2023   Diodato, Michael                1.6 Correspond with the UCC re: plan, coin management, and
                                                                 monetization.
         21      5/15/2023   Diodato, Michael                1.0 Correspond with UCC professionals re: waterfall analysis, coin
                                                                 monetization, and claim valuation.
         21      5/15/2023   de Brignac, Jessica             1.0 Correspond with UCC professionals re: waterfall analysis, coin
                                                                 monetization, claim valuation, and other updates.
         21      5/19/2023   Simms, Steven                   1.5 Correspond with UCC on coin management, venture investments, and
                                                                 FTX 2.0.
         21      5/19/2023   Bromberg, Brian                 1.5 Correspond with UCC on considerations for plan of reorganization,
                                                                 investments, and FTX 2.0.
         21      5/19/2023   Diaz, Matthew                   1.5 Correspond with UCC on re: coin monetization, cash management,
                                                                 and plan.
         21      5/19/2023   Diodato, Michael                1.5 Correspond with UCC on FTX 2.0, venture investments, cash
                                                                 updates, and plan.
         21      5/22/2023   Risler, Franck                  1.0 Correspond with UCC professionals on coin management, trading,
                                                                 and FTX 2.0.
         21      5/22/2023   Simms, Steven                   1.0 Correspond with UCC professionals on upcoming UCC call on coin
                                                                 management and other case updates.
         21      5/22/2023   Bromberg, Brian                 1.0 Correspond on upcoming UCC presentation, coin management, and
                                                                 other items with UCC advisors.
         21      5/22/2023   Diodato, Michael                1.0 Correspond with UCC professionals on coin management and other
                                                                 developments.
         21      5/25/2023   Dawson, Maxwell                 1.8 Correspond with PH re: waterfall and coin monetization.

         21      5/25/2023   Diodato, Michael                1.8 Correspond on claims pricing issues, coin management, and waterfall
                                                                 analysis with PH.
         21      5/25/2023   Gray, Michael                   1.8 Correspond with PH re: waterfall analysis and customer claims
                                                                 valuation.
         21      5/25/2023   Risler, Franck                  1.8 Correspond with PH re: petition coin pricing for claims analysis, coin
                                                                 management, and waterfall.
         21      5/30/2023   Risler, Franck                  0.6 Correspond with Jefferies and PH for asset monetization and FTX 2.0
                                                                 discussions.
         21      5/30/2023   de Brignac, Jessica             0.6 Correspond with PH and Jefferies to discuss upcoming UCC meeting
                                                                 re: crypto asset monetization plans.

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     Task Code      Date            Professional        Hours                                    Activity
        21       5/30/2023   Diaz, Matthew                   0.6 Correspond with PH and Jefferies re: asset monetization, claims, FTX
                                                                 2.0, and plan.
         21      5/30/2023   Diodato, Michael                0.6 Correspond with PH and Jefferies on considerations for the coin
                                                                 monetization, claims valuation, and FTX 2.0.
         21      5/31/2023   Risler, Franck                  1.9 Correspond with UCC on issues related to the Debtors' trading risks
                                                                 and derivatives, venture investments, and FTX 2.0.
         21      5/31/2023   Simms, Steven                   1.9 Correspond with UCC on plan structure issues, coin management,
                                                                 venture investments and related items.
         21      5/31/2023   Bromberg, Brian                 1.9 Correspond with UCC on plan strategies and asset monetization
                                                                 strategies.
         21      5/31/2023   Diaz, Matthew                   1.9 Correspond with UCC to discuss claims process, certain sales topics
                                                                 and other agenda items.
      21 Total                                              49.2

         24      5/1/2023    Dawson, Maxwell                 0.8 Prepare March fee application exhibits.

         24      5/2/2023    Sveen, Andrew                   1.8 Prepare March fee application.

         24      5/3/2023    Sveen, Andrew                   1.9 Continue to develop March fee application.

         24      5/4/2023    Sveen, Andrew                   1.9 Continue to develop exhibits supporting March fee application.

         24      5/4/2023    Sveen, Andrew                   2.4 Develop exhibits supporting March fee application.

         24      5/5/2023    Dawson, Maxwell                 1.5 Continue to prepare March fee application exhibits.

         24      5/5/2023    Dawson, Maxwell                 1.7 Prepare March fee application exhibits.

         24      5/5/2023    Sveen, Andrew                   2.1 Supplement exhibits supporting March fee application.

         24      5/5/2023    Sveen, Andrew                   2.6 Continue to prepare supporting exhibits for fee application to be filed.

         24      5/5/2023    Sveen, Andrew                   2.7 Develop exhibits supporting March fee application.

         24      5/6/2023    Dawson, Maxwell                 2.0 Prepare March fee application exhibits.

         24      5/8/2023    Dawson, Maxwell                 2.3 Continue to prepare March fee application exhibits.

         24      5/8/2023    Sveen, Andrew                   2.8 Continue to prepare supporting exhibits for fee application to be filed.

         24      5/8/2023    Sveen, Andrew                   2.2 Perform detailed review of March fee application.

         24      5/8/2023    Sveen, Andrew                   1.9 Continue to prepare supporting exhibits for fee application to be filed.

         24      5/9/2023    Dawson, Maxwell                 2.2 Continue to prepare March fee application exhibits.

         24      5/9/2023    Dawson, Maxwell                 1.9 Prepare March fee application exhibits.


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     Task Code     Date              Professional        Hours                                   Activity
        24       5/9/2023    Sveen, Andrew                    0.6 Continue to perform detailed review of March fee application.

         24      5/9/2023    Sveen, Andrew                    0.9 Develop fee application exhibits for March.

         24      5/10/2023   Dawson, Maxwell                  1.4 Prepare March fee application exhibits.

         24      5/11/2023   Dawson, Maxwell                  1.0 Prepare March fee application exhibits.

         24      5/12/2023   Dawson, Maxwell                  0.3 Prepare March fee application.

         24      5/12/2023   Sveen, Andrew                    1.0 Review the March fee application for filing.

         24      5/16/2023   Sveen, Andrew                    1.3 Review March fee application exhibits.

         24      5/17/2023   Dawson, Maxwell                  1.4 Review April fee application exhibits.

         24      5/17/2023   Sveen, Andrew                    0.9 Review fee application for March.

         24      5/18/2023   Dawson, Maxwell                  1.7 Review April fee application exhibits.

         24      5/18/2023   Gray, Michael                    0.8 Review March fee application exhibits.

         24      5/20/2023   Gray, Michael                    1.3 Continue to review March fee application exhibits.

         24      5/20/2023   Gray, Michael                    2.1 Review March fee application exhibits.

         24      5/21/2023   Gray, Michael                    1.5 Continue to review March fee application exhibits.

         24      5/22/2023   Gray, Michael                    1.9 Finalize review of March fee application exhibits.

         24      5/22/2023   Gray, Michael                    0.7 Prepare March fee application.

         24      5/22/2023   Gray, Michael                    0.4 Review March fee application.

         24      5/22/2023   Bromberg, Brian                  0.3 Review March fee application.

         24      5/22/2023   Sveen, Andrew                    1.7 Make initial preparations for April 2023 fee application.

         24      5/23/2023   Sveen, Andrew                    2.6 Continue to prepare fee application for April.

         24      5/23/2023   Sveen, Andrew                    2.7 Further prepare fee application for April.

         24      5/24/2023   Gray, Michael                    1.5 Review April fee application exhibits.

         24      5/24/2023   Sveen, Andrew                    2.6 Prepare exhibits for filing of April fee application.

         24      5/24/2023   Sveen, Andrew                    2.4 Continue to prepare fee application for April.


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     Task Code      Date             Professional        Hours                                    Activity
        24       5/24/2023   Sveen, Andrew                    2.8 Develop exhibits for fee application for prior month.

         24      5/25/2023   Diaz, Matthew                    2.6 Perform detailed review of the March fee statement.

         24      5/25/2023   Gray, Michael                    0.5 Review April fee application exhibits.

         24      5/25/2023   Sveen, Andrew                    1.9 Continue to prepare fee application for April 2023.

         24      5/25/2023   Sveen, Andrew                    2.9 Review April 2023 fee application.

         24      5/25/2023   Sveen, Andrew                    0.5 Update April 2023 fee application.

         24      5/26/2023   Dawson, Maxwell                  1.9 Review March fee application exhibits.

         24      5/26/2023   Dawson, Maxwell                  0.8 Review March fee application.

         24      5/26/2023   Gray, Michael                    0.4 Comment on draft March fee application.

         24      5/26/2023   Gray, Michael                    1.0 Review April fee application exhibits.

         24      5/26/2023   Gray, Michael                    0.7 Update March fee application exhibits.

         24      5/26/2023   Sveen, Andrew                    1.2 Update March 2023 fee application.

         24      5/26/2023   Sveen, Andrew                    2.9 Continue to prepare fee application for April 2023.

         24      5/30/2023   Sveen, Andrew                    1.6 Update April 2023 fee statement exhibits.

         24      5/30/2023   Sveen, Andrew                    0.4 Revise March 2023 application to finalize for filing.

         24      5/30/2023   Sveen, Andrew                    1.3 Continue to revise March 2023 application to finalize for filing.

         24      5/30/2023   Sveen, Andrew                    2.6 Review April 2023 fee application exhibits.

         24      5/31/2023   Gray, Michael                    1.6 Review April fee application exhibits.

         24      5/31/2023   Sveen, Andrew                    2.4 Update April fee application exhibits.

         24      5/31/2023   Sveen, Andrew                    2.1 Prepare fee application exhibits for April 2023.

         24      5/31/2023   Sveen, Andrew                    2.8 Continue to prepare the April 2023 fee statement exhibits.

      24 Total                                              102.6

         26      5/1/2023    Langer, Cameron                  1.3 Conduct document review for material relevant to the FTX risk engine
                                                                  and margin model.
         26      5/1/2023    Risler, Franck                   0.3 Analyze investigations findings related to trading and derivatives.


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     Task Code     Date            Professional         Hours                                  Activity
        26       5/1/2023   Diaz, Matthew                    0.6 Review the coin monetization dashboard.

         26      5/1/2023   Risler, Franck                   0.8 Assess information from certain creditor on quantitative metrics to
                                                                 support FTX portfolio risk management.
         26      5/1/2023   Risler, Franck                   2.3 Estimate the statistical upside and downside value of FTX portfolio
                                                                 sampling from the historical return's distribution using a simulation.
         26      5/1/2023   Langer, Cameron                  0.8 Identify potential methodologies to simulate future portfolio values for
                                                                 FTX.
         26      5/1/2023   Langer, Cameron                  1.8 Calculate the market beta for crypto tokens relative to certain
                                                                 cryptocurrency over the past one and three-year historical periods.
         26      5/1/2023   Langer, Cameron                  2.7 Add the market beta values for each coin in the FTX portfolio to the
                                                                 risk dashboard.
         26      5/1/2023   Langer, Cameron                  1.1 Update the risk dashboard to reflect current market values.

         26      5/1/2023   Kubali, Volkan                   2.5 Validate the principal components analysis for FTX's cryptocurrency
                                                                 portfolio.
         26      5/1/2023   Kubali, Volkan                   0.7 Assess requests for information from UCC re: crypto portfolio
                                                                 analysis.
         26      5/1/2023   Kubali, Volkan                   2.9 Document the results of the principal components analysis for FTX's
                                                                 cryptocurrency portfolio.
         26      5/1/2023   Majkowski, Stephanie             2.1 Prepare reconciliation of FTX portfolio stress testing report.

         26      5/1/2023   Rousskikh, Valeri                2.5 Design algorithm for generating random token weights with
                                                                 constraints in FTX portfolio in different monetization scenarios.
         26      5/1/2023   Rousskikh, Valeri                1.9 Test sensitivity of algorithm for generating random token weights to
                                                                 constraints in FTX portfolio in different monetization scenarios.
         26      5/1/2023   Rousskikh, Valeri                1.3 Test algorithm for generating random token weights with constraints
                                                                 in FTX portfolio in different monetization scenarios.
         26      5/1/2023   Rousskikh, Valeri                0.5 Analyze simulation results of future distribution of FTX portfolio
                                                                 value.
         26      5/1/2023   Leonaitis, Isabelle              0.6 Perform final review of token risk dashboard ahead of monetization
                                                                 UCC communication.
         26      5/1/2023   Kamran, Kainat                   1.1 Perform research to find information on leveraged tokens and
                                                                 associated risks.
         26      5/1/2023   Kamran, Kainat                   0.5 Translate token catchup information on summary of wallets by
                                                                 blockchain and wallet group into a deliverable word document.
         26      5/1/2023   Kamran, Kainat                   0.5 Develop compliance document research and additional token risk
                                                                 analysis research.
         26      5/1/2023   Kamran, Kainat                   2.1 Perform research on certain category of tokens on risk based on
                                                                 trading and security risks legitimate risk for presenting to the UCC.
         26      5/1/2023   Kamran, Kainat                   1.4 Continue to research certain category of coins for options and futures
                                                                 trading to present to UCC.
         26      5/1/2023   Leonaitis, Isabelle              0.8 Create clean finalized version of token risk analysis.

         26      5/1/2023   Leonaitis, Isabelle              1.0 Develop crypto asset monetization plans.

         26      5/1/2023   de Brignac, Jessica              0.4 Review staking strategies and other monetization risk analyses for
                                                                 Debtors' token portfolio.

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     Task Code     Date             Professional        Hours                                     Activity
        26       5/1/2023   de Brignac, Jessica              0.3 Prepare list of diligence items for call with PH and Jefferies re:
                                                                 monetization strategy.
         26      5/1/2023   de Brignac, Jessica              0.7 Review updates to Debtors' investments from PH re: digital assets.

         26      5/1/2023   de Brignac, Jessica              0.9 Analyze portfolio monetization proposal from Jefferies.

         26      5/2/2023   Risler, Franck                   0.4 Correspond with A&M on Debtors' crypto portfolio and asset
                                                                 management strategies.
         26      5/2/2023   Kubali, Volkan                   0.4 Correspond with A&M to review token portfolio and give feedback
                                                                 on UCC coin management proposal.
         26      5/2/2023   Kubali, Volkan                   0.5 Create list of issues re: Debtors' digital assets portfolio.

         26      5/2/2023   Risler, Franck                   1.2 Simulate hedging and monetization strategies for FTX portfolios.

         26      5/2/2023   Diaz, Matthew                    1.3 Review the coin monetization model for coins in Debtors' portfolio.

         26      5/2/2023   Bromberg, Brian                  0.5 Analyze the latest updates to the Debtors' coins documentation in data
                                                                 room.
         26      5/2/2023   Diodato, Michael                 0.4 Correspond with A&M on token data.

         26      5/2/2023   Diodato, Michael                 0.5 Evaluate current token data issues in preparation for call with A&M.

         26      5/2/2023   Langer, Cameron                  1.2 Investigate industry best practices for portfolio optimization via
                                                                 simulation methods.
         26      5/2/2023   Langer, Cameron                  2.2 Compute 30-day and 90-day simulated prices for certain coin for back-
                                                                 testing and model validation.
         26      5/2/2023   Langer, Cameron                  2.3 Implement simulation model for estimating the future FTX portfolio
                                                                 value based on one, two and three-year historical periods.
         26      5/2/2023   Langer, Cameron                  1.1 Develop quantitative metrics to identify potential monetization
                                                                 strategies.
         26      5/2/2023   Kubali, Volkan                   2.3 Implement clustering methods for the analysis of the quantified the
                                                                 prediction cone of the portfolio performance.
         26      5/2/2023   Kubali, Volkan                   2.8 Identify the methodologies to quantify the expected performance for
                                                                 cryptocurrency portfolio.
         26      5/2/2023   Rousskikh, Valeri                1.8 Compute FTX portfolio weights by maximizing omega in
                                                                 unconstrained monetization scenario.
         26      5/2/2023   McNew, Steven                    0.9 Comment on potential bid status to monetize crypto assets.

         26      5/2/2023   McNew, Steven                    1.1 Prepare communications re: updates to crypto asset monetization
                                                                 progress.
         26      5/2/2023   Leonaitis, Isabelle              0.9 Review compliance framework document for regulatory research.

         26      5/2/2023   Leonaitis, Isabelle              0.5 Review necessary data requests in order to complete upcoming crypto
                                                                 trading analyses.
         26      5/2/2023   Kamran, Kainat                   0.5 Review issues with most recent digital assets analysis re: coin custody.

         26      5/2/2023   Kamran, Kainat                   2.9 Perform token risk research on certain categories of tokens in order to
                                                                 present to UCC.

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     Task Code     Date            Professional         Hours                                       Activity
        26       5/2/2023   Kamran, Kainat                   2.4 Research certain coin categories based on security risks and public
                                                                 allegations.
         26      5/2/2023   Leonaitis, Isabelle              0.5 Summarize token risk management issues and related investigation
                                                                 items.
         26      5/2/2023   de Brignac, Jessica              0.3 Analyze options for asset management strategies for monetization of
                                                                 certain digital assets in Debtors' portfolio.
         26      5/2/2023   de Brignac, Jessica              0.2 Prepare additional asset monetization considerations for consolidated
                                                                 report.
         26      5/2/2023   de Brignac, Jessica              0.4 Prepare responses to certain UCC questions re: digital assets.

         26      5/2/2023   de Brignac, Jessica              0.4 Correspond with A&M re: coin custody and management proposal.

         26      5/2/2023   de Brignac, Jessica              0.9 Revise strategy for token risk determinations based on dashboard
                                                                 updates.
         26      5/3/2023   Gray, Michael                    1.7 Analyze proposals for management of Debtors' crypto assets.

         26      5/3/2023   Kamran, Kainat                   1.1 Continue to analyze coin token research results on options and futures
                                                                 trading for monetization plans risks.
         26      5/3/2023   Diodato, Michael                 1.5 Analyze optimization framework for potential liquidation ordering
                                                                 and optimal portfolio unwind.
         26      5/3/2023   Langer, Cameron                  2.6 Analyze the upper and lower percentile values of the FTX portfolio
                                                                 value from a certain simulation.
         26      5/3/2023   Langer, Cameron                  2.0 Calculate volume-weighted average prices and average daily volume
                                                                 traded for coins in the FTX portfolio.
         26      5/3/2023   Langer, Cameron                  2.8 Develop historical simulation-based model to simulate FTX portfolio
                                                                 value in the future.
         26      5/3/2023   Kubali, Volkan                   2.2 Develop code and model-based analysis to quantify the predicted cone
                                                                 of the performance for cryptocurrency portfolio.
         26      5/3/2023   Kubali, Volkan                   2.6 Calculate covariance projections under different methods for
                                                                 quantifying the prediction cone of the portfolio performance.
         26      5/3/2023   Rousskikh, Valeri                2.2 Compute FTX portfolio weights by maximizing return for certain coin
                                                                 monetization scenario.
         26      5/3/2023   Rousskikh, Valeri                2.1 Compute FTX portfolio weights by maximizing risk and return ratio
                                                                 in other monetization scenario.
         26      5/3/2023   Leonaitis, Isabelle              1.0 Develop framework for asset monetization proposals.

         26      5/4/2023   Kamran, Kainat                   1.1 Review compliance measures for data privacy based on geographic
                                                                 locations re: FTX 2.0.
         26      5/4/2023   Risler, Franck                   0.4 Assess latest analysis performed on digital asset monetization
                                                                 strategies for Debtors.
         26      5/4/2023   Kubali, Volkan                   0.5 Review list of asset monetization diligence items for Debtors' digital
                                                                 assets portfolio.
         26      5/4/2023   Majkowski, Stephanie             0.5 Summarize issues for the Debtors' trading risks investigations.

         26      5/4/2023   Risler, Franck                   1.2 Implement additional performance metrics of FTX portfolio on a
                                                                 rolling basis as requested by the UCC.
         26      5/4/2023   Risler, Franck                   2.4 Compute FTX portfolio value simulation over 1 month, 3 months and
                                                                 12 months period.

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     Task Code     Date              Professional         Hours                                     Activity
        26       5/4/2023   Risler, Franck                     1.7 Analyze FTX portfolio reallocations under various optimization
                                                                   scenarios in the context of providing a benchmark for FTX coin
         26      5/4/2023   Bromberg, Brian                    0.3 Review crypto portfolio for the Debtors to determine risks.

         26      5/4/2023   Diodato, Michael                   0.4 Review issues for tactics re: digital asset monetization.

         26      5/4/2023   Langer, Cameron                    2.9 Calculate optimal liquidation costs and times based on historical
                                                                   pricing data.
         26      5/4/2023   Langer, Cameron                    0.7 Analyze potential coin monetization opportunities applying both
                                                                   quantitative and qualitative token metrics.
         26      5/4/2023   Langer, Cameron                    1.0 Add quantitative metrics to the Debtors' crypto portfolio risk report.

         26      5/4/2023   Kubali, Volkan                     2.9 Conduct analysis to quantify the predicted cone of the performance
                                                                   for cryptocurrency portfolio.
         26      5/4/2023   Kubali, Volkan                     2.4 Develop code relating to analysis for quantifying the prediction cone
                                                                   of the performance for cryptocurrency portfolio.
         26      5/4/2023   Kubali, Volkan                     2.6 Revise methods in the analysis for quantified prediction cone of the
                                                                   cryptocurrency portfolio's performance.
         26      5/4/2023   Kubali, Volkan                     1.5 Review latest requests from UCC re: crypto portfolio analysis.

         26      5/4/2023   Rousskikh, Valeri                  2.4 Optimize binary algorithm for computing maximized portfolio return
                                                                   metrics for different FTX monetization scenarios using
         26      5/4/2023   Rousskikh, Valeri                  1.1 Analyze portfolio simulation and additional metrics related to coin
                                                                   monetization.
         26      5/4/2023   Rousskikh, Valeri                  2.4 Design binary algorithm for computing maximized portfolio return for
                                                                   different FTX monetization scenarios.
         26      5/4/2023   McNew, Steven                      0.6 Review document on Debtors' response to certain third-party re:
                                                                   locked tokens.
         26      5/4/2023   Leonaitis, Isabelle                0.5 Summarize relevant token investigation items raised by UCC,
                                                                   including plan for address data delivery.
         26      5/4/2023   Leonaitis, Isabelle                2.2 Prepare responses to questions from UCC on certain token protocols.

         26      5/4/2023   Kamran, Kainat                     0.5 Prepare deck summarizing weekly status update on Debtors' crypto
                                                                   assets.
         26      5/4/2023   Kamran, Kainat                     1.5 Adjust token monetization risk research spreadsheet in preparation for
                                                                   sharing with UCC.
         26      5/4/2023   Vazquez Ortiz, Fredrix             0.5 Create plan for management of Debtors' token holdings analysis.

         26      5/4/2023   Leonaitis, Isabelle                0.5 Summarize issues related to crypto wallet addresses for the Debtors'
                                                                   exchange.
         26      5/4/2023   de Brignac, Jessica                0.4 Prepare considerations list for crypto asset management plans.

         26      5/4/2023   de Brignac, Jessica                1.2 Review certain token positions in order to prepare response to UCC.

         26      5/4/2023   de Brignac, Jessica                1.3 Review crypto token report for most recent updates.

         26      5/4/2023   de Brignac, Jessica                1.2 Update token taxonomy dashboard report.


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     Task Code     Date             Professional        Hours                                     Activity
        26       5/4/2023   de Brignac, Jessica              0.8 Draft communication to UCC re: token monetization and report
                                                                 framework.
         26      5/5/2023   Risler, Franck                   2.7 Revise summary memo on the principal component analysis of FTX
                                                                 portfolio in context of guiding portfolio risk asset management
                                                                 assessment.
         26      5/5/2023   Diodato, Michael                 2.4 Analyze crypto data sources for liquidation analysis.

         26      5/5/2023   Diodato, Michael                 0.7 Research other potential sources for liquidation analyses of Debtors'
                                                                 estate.
         26      5/5/2023   Langer, Cameron                  1.2 Develop calculation method based on the average of high, low and
                                                                 closing prices on the daily and hourly coin pricing.
         26      5/5/2023   Kubali, Volkan                   2.5 Implement error analysis for quantified prediction cone of the
                                                                 portfolio performance.
         26      5/5/2023   Kubali, Volkan                   2.6 Implement analysis for quantified prediction cone of the portfolio
                                                                 performance for cryptocurrency portfolio.
         26      5/5/2023   Kubali, Volkan                   2.7 Integrate certain methods in the analysis for quantified prediction cone
                                                                 of the performance for FTX's crypto portfolio.
         26      5/5/2023   Kubali, Volkan                   2.8 Compare results of models with multi-nominal variable analysis for
                                                                 predicting and simulating the portfolio performance re: certain crypto
                                                                 assets.
         26      5/5/2023   Rousskikh, Valeri                1.6 Analyze optimal monetization strategies from computing maximized
                                                                 portfolio risk and return for various tokens.
         26      5/5/2023   Rousskikh, Valeri                1.8 Cross-check results between binary algorithm and constrained random
                                                                 optimization for computing maximized portfolio risk and return metric.

         26      5/5/2023   McNew, Steven                    0.7 Provide comments on documents from Jefferies re: potential crypto
                                                                 asset monetization terms.
         26      5/5/2023   McNew, Steven                    2.6 Review final asset monetization framework for certain crypto assets of
                                                                 the Debtors.
         26      5/5/2023   Leonaitis, Isabelle              0.8 Review ongoing token related research items and data requests from
                                                                 A&M.
         26      5/5/2023   de Brignac, Jessica              0.4 Review token vesting details for certain sale transaction.

         26      5/5/2023   de Brignac, Jessica              0.3 Communicate with A&M re: token and exchange updates.

         26      5/5/2023   de Brignac, Jessica              1.3 Research specific third-party accounts related to token balances and
                                                                 status of securing of funds per UCC request.
         26      5/5/2023   de Brignac, Jessica              0.9 Research decentralized finance protocol re: certain third-party
                                                                 exchange.
         26      5/7/2023   Bromberg, Brian                  0.2 Review most recent coin management memo.

         26      5/8/2023   Gray, Michael                    1.0 Research crypto holdings status and potential monetization plans.

         26      5/8/2023   Risler, Franck                   0.3 Review email from A&M on liquidity providers and draft response.

         26      5/8/2023   Bromberg, Brian                  0.3 Review latest dataroom document updates regarding the Debtors' coin
                                                                 holdings.
         26      5/8/2023   Bromberg, Brian                  0.5 Review coin management memo responses.


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     Task Code     Date            Professional        Hours                                  Activity
        26       5/8/2023   Bromberg, Brian                 0.5 Review new coin reports received from Debtors.

         26      5/8/2023   Gray, Michael                   0.6 Review customer balance analysis to understand top coins and
                                                                customers of Debtors.
         26      5/8/2023   Gray, Michael                   0.4 Review analysis on top 50 coins by exchange to understand key
                                                                holdings.
         26      5/8/2023   Langer, Cameron                 1.8 Analyze portfolio simulation models based on historical data and
                                                                compare to copula-based approaches.
         26      5/8/2023   Langer, Cameron                 2.1 Compute simulated values of the FTX portfolio based on three-year
                                                                historical data.
         26      5/8/2023   Kubali, Volkan                  2.4 Analyze the effect of different methods for predicting the future
                                                                performance of FTX's crypto portfolio.
         26      5/8/2023   Kubali, Volkan                  2.6 Develop model for predicting the future performance of FTX's crypto
                                                                portfolio.
         26      5/8/2023   Kubali, Volkan                  2.7 Implement volatility clustering model for predicting the future
                                                                performance of FTX's crypto portfolio.
         26      5/8/2023   Leonaitis, Isabelle             2.7 Prepare summary of top holdings and critical accounts based on latest
                                                                crypto information provided by A&M.
         26      5/8/2023   Leonaitis, Isabelle             2.6 Review UCC requests and perform analyses to draft responses on
                                                                crypto related subjects.
         26      5/8/2023   Leonaitis, Isabelle             0.3 Prepare responses to UCC on continued crypto analyses for certain
                                                                coins.
         26      5/8/2023   Kamran, Kainat                  0.5 Continue compliance research and tracing activity for crypto assets.

         26      5/8/2023   Leonaitis, Isabelle             1.0 Evaluate coins analysis for the Debtors' crypto portfolio under current
                                                                market prices.
         26      5/8/2023   de Brignac, Jessica             0.7 Analyze updated coin report from A&M.

         26      5/8/2023   de Brignac, Jessica             0.4 Analyze token details of investment deals.

         26      5/8/2023   de Brignac, Jessica             0.7 Analyze crypto holdings in decentralized finance platform and
                                                                communicate with PH re: updates.
         26      5/9/2023   Dawson, Maxwell                 0.5 Prepare daily update re: latest coin report and other information.

         26      5/9/2023   Kubali, Volkan                  0.5 Correspond with A&M re: certain coins and tokens to provide
                                                                feedback to various UCC inquiries.
         26      5/9/2023   Kubali, Volkan                  0.5 Provide comments on relevant digital asset issues.

         26      5/9/2023   Risler, Franck                  0.3 Review certain liquidity providers and asset management or hedging
                                                                strategies.
         26      5/9/2023   Bromberg, Brian                 0.5 Correspond with Debtors re: token updates.

         26      5/9/2023   Diodato, Michael                0.5 Correspond with A&M to discuss token issues and associated data.

         26      5/9/2023   Diodato, Michael                0.5 Prepare for meeting with A&M on token issues and data.

         26      5/9/2023   Langer, Cameron                 1.9 Calculate certain ratios for crypto tokens over various historical
                                                                windows.

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     Task Code     Date              Professional        Hours                                     Activity
        26       5/9/2023    Langer, Cameron                  0.8 Enhance the risk report with additional performance-based metrics to
                                                                  prepare for upcoming UCC meeting.
         26      5/9/2023    Kubali, Volkan                   2.8 Investigate the effectiveness of various methods used to help quantify
                                                                  the performance of FTX's crypto portfolio.
         26      5/9/2023    Kubali, Volkan                   2.7 Implement models to help quantify the performance of FTX's crypto
                                                                  portfolio.
         26      5/9/2023    Kubali, Volkan                   2.4 Update documentation on the principal components analysis for
                                                                  FTX's cryptocurrency portfolio.
         26      5/9/2023    Leonaitis, Isabelle              0.4 Analyze pricing issues relating to certain tokens.

         26      5/9/2023    Leonaitis, Isabelle              0.5 Review requests ahead of A&M touchpoint to prepare a draft on
                                                                  certain ecosystem tokens.
         26      5/9/2023    Kamran, Kainat                   0.5 Analyze recent digital assets reports to start drafting certain inquiries.

         26      5/9/2023    Kamran, Kainat                   0.5 Analyze recent changes made to new coin report from A&M.

         26      5/9/2023    Leonaitis, Isabelle              0.5 Review ongoing token related inquires and evaluate potential
                                                                  solutions.
         26      5/9/2023    de Brignac, Jessica              0.5 Review updates on token reports and stalking analysis.

         26      5/9/2023    de Brignac, Jessica              0.4 Analyze latest coin report from A&M.

         26      5/9/2023    de Brignac, Jessica              0.3 Review most recent token analysis and monetization updates.

         26      5/9/2023    de Brignac, Jessica              0.5 Correspond with A&M re: token updates, defi updates, exchange
                                                                  updates, and staking updates.
         26      5/10/2023   Risler, Franck                   0.4 Provide comments on updated draft of the UCC letter to a Debtor
                                                                  executive re: coin management.
         26      5/10/2023   Gray, Michael                    1.7 Review issues related to proposed coin management of Debtors'
                                                                  portfolio.
         26      5/10/2023   Risler, Franck                   1.1 Compute additional optimization scenarios of FTX portfolios to
                                                                  maximize creditors recovery.
         26      5/10/2023   Diaz, Matthew                    0.6 Review the monetization analysis to provide comments.

         26      5/10/2023   Diodato, Michael                 0.7 Analyze optimal portfolio liquidation trading to maximize
                                                                  performance.
         26      5/10/2023   Diodato, Michael                 1.7 Calculate value weighted average pricing of crypto assets in portfolio.

         26      5/10/2023   Langer, Cameron                  2.7 Calculate rolling omega ratio to track crypto asset performance over
                                                                  the previous one year.
         26      5/10/2023   Langer, Cameron                  2.1 Calculate risk, return and volatility metrics to assess potential
                                                                  monetization strategies.
         26      5/10/2023   Kubali, Volkan                   2.9 Implement statistical models to help quantify the performance of
                                                                  FTX's crypto portfolio.
         26      5/10/2023   Kubali, Volkan                   2.4 Evaluate the use of statistical models to best quantify the performance
                                                                  of FTX's crypto portfolio.
         26      5/10/2023   Guo, Xueying                     2.8 Design certain statistical models to improve calculations on FTX's
                                                                  books.

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     Task Code      Date            Professional           Hours                                    Activity
        26       5/10/2023   Guo, Xueying                       2.4 Test rolling window omega ratio calculations and cross-check output
                                                                    results.
         26      5/10/2023   Guo, Xueying                       2.3 Analyze the omega ratio and liquidation calculation methods for FTX
                                                                    assets.
         26      5/10/2023   Leonaitis, Isabelle                1.8 Perform review of updated coin report and draft bridge summary for
                                                                    UCC distribution.
         26      5/10/2023   Leonaitis, Isabelle                0.5 Review updated regulatory research and feedback on monetization
                                                                    framework documents.
         26      5/10/2023   Kamran, Kainat                     2.0 Research certain category of liquid tokens through open source
                                                                    research.
         26      5/10/2023   Kamran, Kainat                     0.5 Review discrepancies in data re: token pricing.

         26      5/10/2023   Vazquez Ortiz, Fredrix             0.5 Supplement coin report analysis.

         26      5/10/2023   Leonaitis, Isabelle                1.7 Summarize key points re: research on questions related to airdrops and
                                                                    unlocking tokens from the UCC meeting.
         26      5/10/2023   de Brignac, Jessica                1.2 Summarize crypto updates re: certain tokens in Debtors' portfolio.

         26      5/10/2023   de Brignac, Jessica                0.2 Review UCC request for action, and agenda for UCC meeting as they
                                                                    relate to crypto assets.
         26      5/10/2023   de Brignac, Jessica                0.9 Prepare summary of coin report details and changes for UCC.

         26      5/10/2023   de Brignac, Jessica                1.3 Analyze certain token transfers to start drafting questions for A&M.

         26      5/10/2023   de Brignac, Jessica                0.3 Analyze updated coin report received from A&M.

         26      5/10/2023   Gray, Michael                      0.3 Review draft letter to Debtor executive from UCC re: coin
                                                                    management.
         26      5/10/2023   Bromberg, Brian                    0.4 Review draft UCC letter for Debtor executive re: coin management.

         26      5/11/2023   de Brignac, Jessica                1.2 Provide detailed update on tokens to UCC.

         26      5/11/2023   Kubali, Volkan                     0.4 Analyze updates to digital assets valuation and monetization to assess
                                                                    updates on pricing for certain tokens.
         26      5/11/2023   Majkowski, Stephanie               0.5 Summarize updates on derivatives analysis and risk investigations.

         26      5/11/2023   Risler, Franck                     2.7 Compute simulation of FTX portfolio future value using statistical
                                                                    methods and assemble probabilistic cone over the time horizon of the
                                                                    bankruptcy.
         26      5/11/2023   Risler, Franck                     1.1 Assess the latest coin report as of 04/28/23 provided by the Debtors
                                                                    and track changes vs. the previous 04/14/23 report.
         26      5/11/2023   Diaz, Matthew                      0.6 Review updates to token pricing provided by the Debtors.

         26      5/11/2023   Diaz, Matthew                      0.5 Review the updated crypto holdings report to evaluate its impact on
                                                                    Debtors' distributable assets.
         26      5/11/2023   Bromberg, Brian                    0.3 Summarize key points from new dataroom documents re: token
                                                                    pricing.
         26      5/11/2023   Diodato, Michael                   0.8 Analyze price and risk prediction results for the next 12 months.

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     Task Code      Date            Professional           Hours                                     Activity
        26       5/11/2023   Gray, Michael                      0.6 Review April 28 coin report to understand changes in coin holdings
                                                                    and value.
         26      5/11/2023   Langer, Cameron                    0.5 Develop simulation-based projection of the FTX portfolio for the next
                                                                    12 months based on historical price data.
         26      5/11/2023   Langer, Cameron                    2.2 Analyze risk and return metrics for the FTX portfolio based on the
                                                                    latest historical price data.
         26      5/11/2023   Langer, Cameron                    2.4 Update risk report to reflect current market values.

         26      5/11/2023   Kubali, Volkan                     2.9 Evaluate integration of volatility clustering methods in simulating the
                                                                    predicted cone of the performance for FTX's crypto portfolio.
         26      5/11/2023   Kubali, Volkan                     2.8 Implement probability models for quantifying the predicted
                                                                    performance for FTX's crypto portfolio.
         26      5/11/2023   Kubali, Volkan                     1.3 Continue to implement probability models for quantifying the
                                                                    predicted performance for FTX's crypto portfolio.
         26      5/11/2023   McNew, Steven                      1.7 Provide additional comments related to pricing and volume data on
                                                                    recent coin report.
         26      5/11/2023   Leonaitis, Isabelle                0.4 Assess new data requests to update data document room.

         26      5/11/2023   Kamran, Kainat                     1.1 Prepare weekly status update deck on recent token analysis and
                                                                    pricing data.
         26      5/11/2023   Kamran, Kainat                     0.9 Assess recent coin report changes and updates to the investigations list
                                                                    to account for the past 90 days of transaction data.
         26      5/11/2023   Kamran, Kainat                     1.5 Research compliance issues for international cybersecurity risks for
                                                                    Debtors' exchange.
         26      5/11/2023   Vazquez Ortiz, Fredrix             0.5 Review updated coin portfolio based on Debtors' latest report
                                                                    uploaded.
         26      5/11/2023   de Brignac, Jessica                0.6 Draft update to UCC on certain token allocations.

         26      5/11/2023   Risler, Franck                     0.3 Review updates from UCC on letter from the UCC to Debtor
                                                                    executive.
         26      5/11/2023   de Brignac, Jessica                0.4 Update plan going forward based off response from UCC on token
                                                                    allocations.
         26      5/11/2023   de Brignac, Jessica                0.5 Draft update on recent crypto investigations and analysis on pricing
                                                                    data.
         26      5/11/2023   de Brignac, Jessica                0.4 Update UCC draft letter on coin management to address relevant
                                                                    comments.
         26      5/12/2023   Simms, Steven                      0.6 Provide comments to draft letter from UCC to Debtors' executive on
                                                                    case issues re: coin management.
         26      5/12/2023   Kamran, Kainat                     1.7 Assess bridge of certain of Debtors' coins.

         26      5/12/2023   Risler, Franck                     1.4 Provide comments on the UCC's coin management proposal after
                                                                    receiving the Debtors' feedback.
         26      5/12/2023   Risler, Franck                     0.3 Correspond with A&M re: coin proposal.

         26      5/12/2023   Diaz, Matthew                      0.8 Provide comments re: the monetization analysis.

         26      5/12/2023   Bromberg, Brian                    0.7 Review coin management proposal and response.


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     Task Code      Date           Professional         Hours                                    Activity
        26       5/12/2023   Bromberg, Brian                 0.5 Review latest coin report for changes in value and coin holdings.

         26      5/12/2023   Bromberg, Brian                 0.5 Review latest coin pricing report to assess value of FTX portfolio.

         26      5/12/2023   Diodato, Michael                0.7 Analyze possible data sources for token pricing.

         26      5/12/2023   Diodato, Michael                2.5 Calculate pricing for Debtors' crypto assets over various periods of
                                                                 time.
         26      5/12/2023   Gray, Michael                   1.2 Evaluate Debtors' feedback to UCC coin management proposal to
                                                                 inform potential adjustments.
         26      5/12/2023   Kubali, Volkan                  2.7 Calculate the predicted cone of the performance for FTX's crypto
                                                                 portfolio using updated weights and prices.
         26      5/12/2023   Kubali, Volkan                  2.9 Produce documents and charts to explain the methods used for
                                                                 quantifying the predicted cone of the performance for FTX's crypto
                                                                 portfolio.
         26      5/12/2023   Kubali, Volkan                  1.2 Implement models for quantifying the predicted cone of the
                                                                 performance for FTX's crypto portfolio.
         26      5/12/2023   Kubali, Volkan                  1.8 Predict Debtors' crypto portfolio performance based on additional
                                                                 model inputs.
         26      5/12/2023   Leonaitis, Isabelle             0.6 Review tokens without pricing data including research on equities and
                                                                 locked tokens subject to alternative pricing.
         26      5/12/2023   Leonaitis, Isabelle             0.8 Summarize vesting token valuation and changes between current and
                                                                 prior reports.
         26      5/12/2023   Leonaitis, Isabelle             0.4 Review new data needs for continued cryptocurrency tracing
                                                                 exercises.
         26      5/12/2023   Kamran, Kainat                  2.9 Research potential theft avoidance actions in certain lawsuit.

         26      5/12/2023   Simms, Steven                   0.4 Revise letter to the Debtors' executive from UCC on current case
                                                                 issues re: coin management.
         26      5/13/2023   McNew, Steven                   1.6 Review key considerations for certain illiquid tokens in the Debtors
                                                                 portfolio.
         26      5/15/2023   Bromberg, Brian                 0.3 Review Debtor response to coin management.

         26      5/15/2023   Bromberg, Brian                 0.4 Review crypto portfolio holdings.

         26      5/15/2023   Bromberg, Brian                 0.6 Review coin management issues.

         26      5/15/2023   Diodato, Michael                1.7 Develop a classification methodology based on token liquidity.

         26      5/15/2023   Langer, Cameron                 2.4 Update risk dashboard to reflect the latest market conditions.

         26      5/15/2023   Langer, Cameron                 2.0 Calculate risk metrics for the coins in the FTX portfolio.

         26      5/15/2023   Kubali, Volkan                  2.9 Perform calibration of certain probability models for cone
                                                                 representation of the projected performance of FTX's cryptocurrency
                                                                 portfolio.
         26      5/15/2023   Kubali, Volkan                  2.6 Compare different probability models for the statistical cone analysis
                                                                 of FTX's cryptocurrency portfolio.


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         26   5/15/2023   Rousskikh, Valeri           2.9 Source option instruments from a certain platforms option price data.




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     Task Code      Date            Professional        Hours                                       Activity
        26       5/15/2023   Rousskikh, Valeri               2.3 Add liquidity filters on inverse option price data to improve
                                                                 calibration quality of volatility surface framework.
         26      5/15/2023   Rousskikh, Valeri               2.3 Read inverse option price data from source into volatility surface
                                                                 calibration framework.
         26      5/15/2023   Rousskikh, Valeri               0.9 Assess option price data from data source following data preparation.

         26      5/15/2023   McNew, Steven                   0.4 Communicate with UCC regarding unliquidated vs. liquidated
                                                                 considerations.
         26      5/15/2023   Leonaitis, Isabelle             1.6 Research tokenized security offerings and upcoming token airdrops
                                                                 related to the Debtors' crypto portfolio.
         26      5/15/2023   Leonaitis, Isabelle             1.5 Review feedback on monetization recommendations from Debtors.

         26      5/15/2023   Kamran, Kainat                  0.5 Review latest data pulled from PH re: token analysis.

         26      5/15/2023   de Brignac, Jessica             0.3 Review updates on token reports and associated analysis of Debtors'
                                                                 tokens.
         26      5/16/2023   Bromberg, Brian                 0.2 Analyze UCC letter for Debtors' executive re: coin management.

         26      5/16/2023   Diaz, Matthew                   0.5 Correspond with A&M regarding coin management proposal.

         26      5/16/2023   Kubali, Volkan                  0.5 Correspondwith A&M on feedback on UCC coin management
                                                                 proposal.
         26      5/16/2023   Bromberg, Brian                 0.5 Correspond on token related issues with A&M.

         26      5/16/2023   Diodato, Michael                1.2 Develop classification methodology based on token liquidity.

         26      5/16/2023   Diodato, Michael                0.5 Analyze cryptocurrency pricing and market data issues.

         26      5/16/2023   Diodato, Michael                0.5 Prepare diligence list for outstanding items to prepare crypto analysis
                                                                 on Debtors' tokens.
         26      5/16/2023   Kubali, Volkan                  2.8 Perform calibration of models to project performance of Debtors'
                                                                 cryptocurrency portfolio.
         26      5/16/2023   Kubali, Volkan                  2.2 Compare results of different models of projected performance of
                                                                 Debtors' cryptocurrency portfolio.
         26      5/16/2023   Kubali, Volkan                  2.4 Prepare summary charts on the projected performance of Debtors'
                                                                 cryptocurrency portfolio.
         26      5/16/2023   Guo, Xueying                    2.1 Test certain calculation method for monetization of portfolio of
                                                                 illiquid tokens.
         26      5/16/2023   Rousskikh, Valeri               2.4 Test quality of valuation of certain options strategies tailored to
                                                                 hedging crypto portfolio risks.
         26      5/16/2023   Rousskikh, Valeri               2.8 Fit model for valuation of options strategies tailored to hedging crypto
                                                                 portfolio risks.
         26      5/16/2023   Rousskikh, Valeri               2.9 Evaluate options strategies tailored to hedging crypto portfolio risks.

         26      5/16/2023   Kamran, Kainat                  0.3 Update token risk dashboard from the latest coin report.

         26      5/16/2023   Kamran, Kainat                  0.5 Prepare additional info in token risk dashboard from the latest coin
                                                                 report.

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     Task Code      Date            Professional        Hours                                  Activity
        26       5/16/2023   Kamran, Kainat                  2.0 Update token risk dashboard by pulling data from updated coin report.

         26      5/16/2023   Leonaitis, Isabelle             0.5 Assess updated token portfolio report for Debtors' holdings.

         26      5/16/2023   de Brignac, Jessica             0.6 Review updates for token monetization analysis and pricing.

         26      5/16/2023   de Brignac, Jessica             0.6 Review Debtors' crypto asset management and coin management
                                                                 framework documents.
         26      5/16/2023   de Brignac, Jessica             0.6 Coordinate UCC meeting related to crypto asset monetization.

         26      5/16/2023   de Brignac, Jessica             0.4 Update token classification taxonomy report for latest information.

         26      5/16/2023   de Brignac, Jessica             0.5 Correspond with A&M re: token updates, staking, and other open
                                                                 items.
         26      5/16/2023   de Brignac, Jessica             0.2 Review updates to UCC letter to Debtor executive related to coin
                                                                 management.
         26      5/17/2023   Guo, Xueying                    2.4 Review liquidation cost calculation method for crypto assets.

         26      5/17/2023   Guo, Xueying                    1.2 Perform liquidation cost calculations for Debtor book tokens.

         26      5/17/2023   Bromberg, Brian                 1.2 Analyze issues related to cryptocurrency monetization.

         26      5/17/2023   Diodato, Michael                0.5 Prepare presentation structure for monetization subcommittee call.

         26      5/17/2023   Kubali, Volkan                  2.4 Calibrate models for projected performance of Debtors'
                                                                 cryptocurrency portfolio.
         26      5/17/2023   Rousskikh, Valeri               2.1 Analyze market data issues impacting computed risk metrics for
                                                                 Debtor tokens.
         26      5/17/2023   Rousskikh, Valeri               1.3 Evaluate risk of certain Debtor tokens based on computations.

         26      5/17/2023   Rousskikh, Valeri               2.2 Design computation of Debtors' portfolio future potential exposure.

         26      5/17/2023   Rousskikh, Valeri               1.6 Assess risk metrics on certain Debtor tokens for portfolio analysis.

         26      5/17/2023   McNew, Steven                   1.3 Provide comments on coin monetization materials.

         26      5/17/2023   Leonaitis, Isabelle             0.7 Analyze updates to token risk report with new coin report amounts.

         26      5/17/2023   Leonaitis, Isabelle             0.4 Assess status of cryptocurrency-related tasks and requests.

         26      5/17/2023   Leonaitis, Isabelle             1.5 Prepare updates to token risk document.

         26      5/17/2023   Kamran, Kainat                  0.7 Compile new data from coin report into token risk dashboard to reflect
                                                                 changes in current holdings and pricing.
         26      5/17/2023   Kamran, Kainat                  1.0 Create summary tables on coin management proposal for presentation
                                                                 to the UCC.
         26      5/17/2023   Kamran, Kainat                  1.5 Pull pricing data from coin report into token risk dashboard for
                                                                 presentation for UCC.

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     Task Code      Date            Professional           Hours                                  Activity
        26       5/17/2023   Kamran, Kainat                     0.5 Summarize changes to token risk dashboard.

         26      5/17/2023   Vazquez Ortiz, Fredrix             0.5 Analyze latest updates to token risk dashboard.

         26      5/17/2023   de Brignac, Jessica                1.2 Review Debtor's crypto asset management and UCC coin management
                                                                    framework documents and prepare summary points in preparation for
                                                                    monetization meeting.
         26      5/17/2023   de Brignac, Jessica                0.9 Update token classification taxonomy report.

         26      5/17/2023   de Brignac, Jessica                0.6 Assess token report updates and related monetization framework
                                                                    updates.
         26      5/17/2023   de Brignac, Jessica                0.9 Review token monetization strategy changes.

         26      5/18/2023   Sveen, Andrew                      0.5 Summarize updates to Debtors' cryptocurrency portfolio.

         26      5/18/2023   Gray, Michael                      0.5 Summarize issues for monetization of Debtors' digital assets.

         26      5/18/2023   Kubali, Volkan                     0.5 Review risk management issues and digital assets valuation for
                                                                    Debtors' exchange.
         26      5/18/2023   Simms, Steven                      0.6 Summarize issues re: crypto asset monetization.

         26      5/18/2023   Bromberg, Brian                    0.3 Review issues related to the token taxonomy.

         26      5/18/2023   Bromberg, Brian                    1.1 Correspond with UCC re: asset management issues.

         26      5/18/2023   Diaz, Matthew                      0.5 Review coin monetization analysis.

         26      5/18/2023   Diodato, Michael                   1.1 Correspond with UCC on Debtors' asset monetization proposal.

         26      5/18/2023   Kubali, Volkan                     1.3 Draft document to present to FTX's management compiling and
                                                                    summarizing the results of the selected risk analysis of FTX's
                                                                    cryptocurrency portfolio.
         26      5/18/2023   Kubali, Volkan                     1.7 Supplement draft of risk analysis for Debtors' portfolio.

         26      5/18/2023   Kubali, Volkan                     1.9 Produce charts and tables summarizing the results of the statistical
                                                                    cone representation of the projected performance of FTX's
                                                                    cryptocurrency portfolio.
         26      5/18/2023   Guo, Xueying                       2.1 Perform initial data processing for the rolling risk ratio calculation on
                                                                    FTX books.
         26      5/18/2023   Rousskikh, Valeri                  2.8 Design algorithm of filtering market price data spikes in FTX portfolio
                                                                    of illiquid coins.
         26      5/18/2023   Rousskikh, Valeri                  2.3 Source FTX portfolio positions from the latest Debtors report into
                                                                    security database.
         26      5/18/2023   Leonaitis, Isabelle                0.6 Review analysis of Debtors' crypto portfolio.

         26      5/18/2023   Kamran, Kainat                     0.5 Update token risk dashboard with coin report for presentation to UCC.

         26      5/18/2023   Kamran, Kainat                     0.3 Update and share weekly status deck update on crypto holdings.


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     Task Code      Date            Professional           Hours                                  Activity
        26       5/18/2023   Vazquez Ortiz, Fredrix             0.5 Analyze crypto holdings for most recent analysis.

         26      5/18/2023   Leonaitis, Isabelle                0.4 Review petition date pricing reconciliation issues with Debtors.

         26      5/18/2023   Leonaitis, Isabelle                1.1 Correspond with UCC on asset monetization analysis.

         26      5/18/2023   Leonaitis, Isabelle                0.5 Review crypto coin pricing analysis based on latest report.

         26      5/18/2023   de Brignac, Jessica                0.3 Communicate with A&M re: airdrop token questions.

         26      5/18/2023   de Brignac, Jessica                0.3 Review token risk report updates for the most recent report.

         26      5/18/2023   de Brignac, Jessica                1.1 Correspond with UCC to discuss crypto asset monetization updates
                                                                    and open items.
         26      5/19/2023   Diodato, Michael                   1.2 Review proposals for certain approaches to crypto management.

         26      5/19/2023   Diodato, Michael                   0.5 Analyze data availability for different crypto price providers.

         26      5/19/2023   Diodato, Michael                   1.2 Create summary presentation on the portfolio risks and potential
                                                                    downsides to holding the current tokens.
         26      5/19/2023   Langer, Cameron                    2.7 Implement code to calculate the performance ratio on a rolling basis
                                                                    for cryptocurrencies.
         26      5/19/2023   Langer, Cameron                    2.1 Analyze certain risk and performance ratios for Debtors' crypto
                                                                    tokens.
         26      5/19/2023   Guo, Xueying                       2.7 Perform risk and return calculations for tokens in certain time periods.

         26      5/19/2023   Guo, Xueying                       1.6 Analyze data selection used in rolling time window for risk and return
                                                                    calculations.
         26      5/19/2023   Guo, Xueying                       2.4 Perform rolling risk and reward calculations for various time periods
                                                                    for all FTX tokens.
         26      5/19/2023   Rousskikh, Valeri                  1.6 Source latest token and coin pricing into database for evaluation to
                                                                    determine risks.
         26      5/19/2023   Rousskikh, Valeri                  2.3 Apply algorithms for removing market price data spikes in FTX
                                                                    portfolio for certain illiquid coins.
         26      5/19/2023   Rousskikh, Valeri                  1.6 Evaluate results of algorithmic analysis of market prices for certain
                                                                    Debtors' coins.
         26      5/19/2023   Kamran, Kainat                     0.5 Review custody insurance as part of cryptocurrency portfolio analysis.

         26      5/19/2023   Vazquez Ortiz, Fredrix             0.5 Create plan for future analysis for crypto tracing exercise.

         26      5/19/2023   de Brignac, Jessica                1.2 Evaluate implications for coin pricing updates.

         26      5/19/2023   de Brignac, Jessica                0.8 Communicate with UCC member and A&M re: custodian insurance
                                                                    details.
         26      5/19/2023   de Brignac, Jessica                0.5 Summarize token airdrop information and crypto investigation items.

         26      5/19/2023   de Brignac, Jessica                0.3 Communicate with PH re: token holdings updates.


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     Task Code      Date             Professional        Hours                                    Activity
        26       5/19/2023   de Brignac, Jessica              0.7 Analyze tokens recently listed as securities for potential impact to
                                                                  portfolio.
         26      5/20/2023   McNew, Steven                    0.6 Analyze status of negotiations regarding crypto services provider.

         26      5/22/2023   Risler, Franck                    0.4 Assess final version of the UCC's letter to Debtor executive re: coin
                                                                   management.
         26      5/22/2023   Sveen, Andrew                     0.3 Prepare summary of updates on Debtors' latest dataroom uploads
                                                                   including coin management updates.
         26      5/22/2023   Risler, Franck                    0.2 Correspond with PH on the appointment of an additional adviser for
                                                                   coin management by the Debtors.
         26      5/22/2023   Risler, Franck                    0.6 Assess communication between the Debtors and the UCC on liquidity
                                                                   providers.
         26      5/22/2023   Simms, Steven                     0.3 Correspond with UCC on brokers and related items.

         26      5/22/2023   Risler, Franck                    0.8 Prepare for meeting between the UCC monetization committee and the
                                                                   Debtors on coin management.
         26      5/22/2023   Risler, Franck                    0.4 Assess proposal for coin management.

         26      5/22/2023   Risler, Franck                    0.8 Analyze response to UCC's coin management proposal produced by
                                                                   the Debtors.
         26      5/22/2023   Risler, Franck                    0.2 Analyze response from UCC on Debtors' coin management deck.

         26      5/22/2023   Risler, Franck                    0.4 Assess communication with Debtors on trading counterparties for coin
                                                                   management.
         26      5/22/2023   Risler, Franck                    0.7 Assess the potential delisting of some illiquid tokens by a peer
                                                                   exchange and the potential impact on FTX portfolio.
         26      5/22/2023   Bromberg, Brian                   0.4 Review token taxonomy issues.

         26      5/22/2023   Bromberg, Brian                   0.3 Analyze coin management proposal response.

         26      5/22/2023   Diodato, Michael                  0.5 Analyze crypto data in connection with coin management.

         26      5/22/2023   Diodato, Michael                  0.5 Analyze options for trading counterparties.

         26      5/22/2023   Langer, Cameron                   0.9 Perform sensitivity analysis on optimal liquidation cost model.

         26      5/22/2023   Langer, Cameron                   1.8 Update risk dashboard to reflect current market conditions.

         26      5/22/2023   Guo, Xueying                      2.2 Organize rolling calculation results for quality check and
                                                                   comparisons.
         26      5/22/2023   Guo, Xueying                      2.4 Build model of a certain token using market data.

         26      5/22/2023   Guo, Xueying                      0.7 Prepare visualization of volatility of top portfolio holdings.

         26      5/22/2023   Guo, Xueying                      2.7 Estimate differences in calculated volatility of tokens under various
                                                                   frameworks.
         26      5/22/2023   Kubali, Volkan                    2.8 Update analysis for incorporating into the presentation of portfolio
                                                                   exposure to the Debtors.

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     Task Code      Date             Professional          Hours                                    Activity
        26       5/22/2023   Kubali, Volkan                     2.3 Perform quality check of models of projected performance of FTX's
                                                                    cryptocurrency portfolio.
         26      5/22/2023   Rousskikh, Valeri                  2.3 Review computation results of FTX portfolio future potential
                                                                    exposure based on market data.
         26      5/22/2023   Rousskikh, Valeri                  1.7 Analyze numerical properties of computations for performance
                                                                    metrics on FTX portfolio illiquid coins.
         26      5/22/2023   Rousskikh, Valeri                  1.5 Summarize performance for certain coins in Debtors' portfolio based
                                                                    on prior data analysis.
         26      5/22/2023   Rousskikh, Valeri                  1.4 Adapt previous performance analysis for Debtors' coin portfolio based
                                                                    on revised methods.
         26      5/22/2023   Rousskikh, Valeri                  2.2 Continue to analyze numerical properties of computations for
                                                                    performance metrics on FTX portfolio illiquid coins.
         26      5/22/2023   Leonaitis, Isabelle                0.5 Prepare summary of data requests re: coin management.

         26      5/22/2023   Leonaitis, Isabelle                0.4 Analyze updates on coin management framework and negotiations.

         26      5/22/2023   Kamran, Kainat                     0.5 Compile list of stablecoins as part of the Debtors' portfolio.

         26      5/22/2023   Kamran, Kainat                     2.2 Analyze market data regarding redemption of certain stablecoins.

         26      5/22/2023   Vazquez Ortiz, Fredrix             0.5 Summarize recent analysis of certain stablecoins and air drops.

         26      5/22/2023   Leonaitis, Isabelle                0.6 Review stablecoin redemption analysis ahead of discussion with
                                                                    subset of UCC.
         26      5/22/2023   de Brignac, Jessica                0.9 Analyze additional Debtor feedback on the coin management
                                                                    framework.
         26      5/22/2023   de Brignac, Jessica                0.5 Analyze status of ongoing crypto asset tracing investigations.

         26      5/22/2023   de Brignac, Jessica                0.7 Review certain token details provided by A&M.

         26      5/22/2023   de Brignac, Jessica                0.4 Provide comments on categorizations of certain tokens.

         26      5/22/2023   de Brignac, Jessica                0.8 Summarize changes to proposed strategies for monetization of
                                                                    Debtors' tokens.
         26      5/22/2023   de Brignac, Jessica                0.7 Review token management proposal from A&M.

         26      5/22/2023   Risler, Franck                     0.9 Analyze latest documents re: coin management and hedging proposal.

         26      5/23/2023   Risler, Franck                     0.5 Correspond on coin asset management with the UCC.

         26      5/23/2023   Diodato, Michael                   0.5 Correspond with monetization group to prepare for meeting with
                                                                    Debtors.
         26      5/23/2023   Bromberg, Brian                    0.5 Correspond on coin management issues with UCC.

         26      5/23/2023   Simms, Steven                      0.8 Summarize coin management issues.

         26      5/23/2023   Risler, Franck                     0.5 Correspond with A&M on FTX coins and token issues.


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     Task Code      Date              Professional        Hours                                     Activity
        26       5/23/2023   Risler, Franck                    1.4 Analyze communication of the Debtors' advisors on their errors in the
                                                                   petition pricing and assess previous work from the Debtors impacted
                                                                   by this error.
         26      5/23/2023   Bromberg, Brian                   0.5 Correspond on crypto related questions with Debtors.

         26      5/23/2023   Diodato, Michael                  1.5 Prepare memo re: crypto data providers in preparation of coin
                                                                   monetization analysis.
         26      5/23/2023   Diodato, Michael                  1.7 Adapt methodology for coin monetization strategies based on crypto
                                                                   data providers information.
         26      5/23/2023   Diodato, Michael                  1.4 Analyze the impact of A&M's mispricing of the tokens at petition
                                                                   time.
         26      5/23/2023   Diodato, Michael                  0.5 Prepare for an upcoming call with Debtors by reviewing issues with
                                                                   the Debtors' digital asset portfolio.
         26      5/23/2023   Langer, Cameron                   2.8 Analyze liquidation costs using stressed market parameters.

         26      5/23/2023   Guo, Xueying                      1.3 Test the correctness of extracted volatilities for computing future
                                                                   exposure of FTX portfolio.
         26      5/23/2023   Guo, Xueying                      1.6 Analyze market data and the appropriate price data to use for coin
                                                                   pricing analysis.
         26      5/23/2023   Guo, Xueying                      2.5 Extract implied volatilities from various tenors from the calibrated
                                                                   volatility surface for computing future exposure of FTX portfolio.
         26      5/23/2023   Guo, Xueying                      2.8 Plot volatility term structure vs the market implied volatilities to
                                                                   examine the volatility surface calibration quality.
         26      5/23/2023   Kubali, Volkan                    2.6 Continue to update the principal components analysis for
                                                                   incorporating into the presentation of FTX portfolio exposure to FTX
                                                                   management.
         26      5/23/2023   Kubali, Volkan                    1.3 Research historical fraud events in crypto for quantification of crypto
                                                                   operational risk for presentation of coin risk-analysis for FTX
                                                                   management.
         26      5/23/2023   Kubali, Volkan                    2.8 Integrate principle-components based analysis to the presentation of
                                                                   coin risk-analysis for FTX management.
         26      5/23/2023   Rousskikh, Valeri                 2.4 Identify coin outliers by computing Omega ratios of illiquid coins in
                                                                   FTX portfolio.
         26      5/23/2023   Rousskikh, Valeri                 1.5 Compare risk ratios for certain coins in the Debtors' portfolio using
                                                                   different calculation methods.
         26      5/23/2023   Rousskikh, Valeri                 1.6 Assess alternative method for risk ratio formulation.

         26      5/23/2023   Rousskikh, Valeri                 2.9 Compute return and risk ratio of illiquid coins in FTX portfolio using
                                                                   various mathematical calculations.
         26      5/23/2023   McNew, Steven                     0.9 Prepare commentary on plan overview deck with a focus on
                                                                   cryptocurrency issues and distribution considerations.
         26      5/23/2023   Leonaitis, Isabelle               0.3 Consolidate outstanding requests for A&M and share list for status
                                                                   updates.
         26      5/23/2023   Leonaitis, Isabelle               0.5 Correspond with A&M to review data requests and token updates.

         26      5/23/2023   de Brignac, Jessica               0.3 Analyze stablecoins and other tokens in Debtors' portfolio.

         26      5/23/2023   de Brignac, Jessica               0.4 Review token management proposal provided by A&M.


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     Task Code      Date              Professional        Hours                                 Activity
        26       5/24/2023   Risler, Franck                    0.7 Correspond on coin management with Debtors' management, Debtors'
                                                                   professionals, UCC and UCC's professionals.
         26      5/24/2023   de Brignac, Jessica               0.7 Correspond with Debtors’ management, A&M, PH, Jefferies, and
                                                                  UCC re: token management strategy.
         26      5/24/2023   Simms, Steven                     0.4 Prepare summary of coin management strategies.

         26      5/24/2023   Risler, Franck                    0.3 Summarize coin management proposals from call with Debtors and
                                                                   UCC.
         26      5/24/2023   Risler, Franck                    0.8 Provide comments on the proposal for risk management and hedging
                                                                   provided by the Debtors.
         26      5/24/2023   Risler, Franck                    0.9 Analyze updated coin reports provided by the Debtors dated 05/12/23
                                                                   and assess changes vs. 04/28/23 report.
         26      5/24/2023   Risler, Franck                    1.7 Draft deck on FTX portfolio performance, risk and liquidity analysis.

         26      5/24/2023   Risler, Franck                    1.8 Compute the rolling historical performance metrics for FTX coins top
                                                                   holdings.
         26      5/24/2023   Diodato, Michael                  0.4 Write a memo regarding crypto data providers in preparation of coin
                                                                   monetization and other analysis.
         26      5/24/2023   Diodato, Michael                  1.6 Outline presentation on risks for Debtors' current crypto holdings.

         26      5/24/2023   Diodato, Michael                  1.5 Make initial preparations for deck on crypto holdings risks.

         26      5/24/2023   Diodato, Michael                  1.4 Analyze the latest risk analysis of the portfolio using the Debtors latest
                                                                   published report.
         26      5/24/2023   Gray, Michael                     0.7 Assess proposal by certain market maker for FTX re: coin
                                                                   monetization strategy.
         26      5/24/2023   Langer, Cameron                   2.4 Implement code to calculate performance measure on a monthly and
                                                                   yearly rolling basis for crypto tokens.
         26      5/24/2023   Langer, Cameron                   2.3 Implement code to calculate rolling performance metrics for FTX
                                                                   portfolio risk-return analysis.
         26      5/24/2023   Langer, Cameron                   1.4 Calculate certain ratios for the top crypto assets in the FTX portfolio
                                                                   to assess performance over time.
         26      5/24/2023   Langer, Cameron                   0.5 Analyze rolling performance metrics for the FTX portfolio.

         26      5/24/2023   Guo, Xueying                      2.6 Calculate the realized historical volatilities of each FTX token for
                                                                   computing future exposure of FTX portfolio.
         26      5/24/2023   Guo, Xueying                      2.9 Calculate the variance and volatilities of the FTX portfolio based on
                                                                   adjusted volatilities using crypto options market data.
         26      5/24/2023   Guo, Xueying                      2.8 Calculate the historical correlation matrix of all FTX tokens for
                                                                   computing future exposure of FTX portfolio.
         26      5/24/2023   Kubali, Volkan                    2.7 Revise the presentation of coin risk analysis for FTX management.

         26      5/24/2023   Kubali, Volkan                    0.5 Develop presentation on risk analysis of FTX management.

         26      5/24/2023   Rousskikh, Valeri                 2.3 Provide analysis of potential bias in portfolio for future exposure risks
                                                                   based on market option price data and historic simulations.
         26      5/24/2023   Rousskikh, Valeri                 2.1 Analyze computation results of the Debtors' portfolio's future potential
                                                                   exposure based on market option price data versus historic simulation.

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     Task Code      Date            Professional        Hours                                    Activity
        26       5/24/2023   Rousskikh, Valeri               1.5 Compute risk ratios for various Debtor silos using alternative data
                                                                 analysis technique.
         26      5/24/2023   Rousskikh, Valeri               2.2 Analyze the Debtors' risk profiles by entity based on prior data
                                                                 analysis.
         26      5/24/2023   Leonaitis, Isabelle             1.2 Review cryptocurrency considerations for the Debtors' plan.

         26      5/24/2023   de Brignac, Jessica             0.5 Review most recent token management proposal from A&M.

         26      5/25/2023   Kamran, Kainat                  2.3 Continue to analyze market data regarding recovery of certain
                                                                 stablecoins.
         26      5/25/2023   Risler, Franck                  0.5 Assess proposal from certain creditor on coin management execution.

         26      5/25/2023   Risler, Franck                  0.7 Review sale motion for de minimis assets in context of future crypto
                                                                 transactions.
         26      5/25/2023   Risler, Franck                  1.4 Update draft deck on portfolio exposure, performance, and liquidity.

         26      5/25/2023   Risler, Franck                  2.7 Quantify liquidation cost under stress market parameters and perform
                                                                 sensitivity analysis of the liquidation model.
         26      5/25/2023   Risler, Franck                  1.4 Summarize risks for hedging and asset management criteria and
                                                                 processes to support the ongoing management and monetization of
                                                                 FTX portfolio.
         26      5/25/2023   Bromberg, Brian                 0.2 Review margin liquidation.

         26      5/25/2023   Diodato, Michael                1.4 Analyze the latest risk analysis of the portfolio using the Debtors latest
                                                                 published portfolio.
         26      5/25/2023   Diodato, Michael                1.8 Summarize findings from review of the Debtors' most recent portfolio
                                                                 report.
         26      5/25/2023   Diodato, Michael                2.3 Prepare summary to describe the ongoing risks of the portfolio.

         26      5/25/2023   Langer, Cameron                 1.3 Develop methodology for adding stress parameters to the liquidation
                                                                 cost model.
         26      5/25/2023   Guo, Xueying                    2.3 Test portfolio implied volatility calculations, after putting together the
                                                                 market data and historical data information.
         26      5/25/2023   Guo, Xueying                    2.2 Assess the impact of various implied volatility tenors on the final
                                                                 portfolio value projection results.
         26      5/25/2023   Guo, Xueying                    1.7 Analyze appropriate FTX tokens to use from the Debtor's report and
                                                                 the appropriate filters to use.
         26      5/25/2023   Guo, Xueying                    2.6 Assess the impact of different historical data lengths on the portfolio
                                                                 value projection results.
         26      5/25/2023   Rousskikh, Valeri               1.5 Compute performance metrics for various Debtor silos using revised
                                                                 data analysis strategy.
         26      5/25/2023   Rousskikh, Valeri               2.3 Evaluate risk and performance for certain Debtor entities based on
                                                                 calculated metrics.
         26      5/25/2023   Rousskikh, Valeri               2.9 Compare various risk ratios for different Debtor entities based on
                                                                 computation methods.
         26      5/25/2023   Rousskikh, Valeri               1.8 Review structure of UCC presentation on risk modeling for FTX
                                                                 crypto portfolio.
         26      5/25/2023   McNew, Steven                   2.0 Review latest analysis of coin monetization proposal strategy for key
                                                                 considerations.
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     Task Code      Date            Professional        Hours                                  Activity
        26       5/25/2023   Kamran, Kainat                  0.5 Summarize finances tracing related to crypto analysis.

         26      5/26/2023   Risler, Franck                  1.5 Revise draft deck on FTX portfolio exposure, performance and
                                                                 liquidity for the purposes of sharing with the Debtors.
         26      5/26/2023   Risler, Franck                  0.7 Finalize memo on principal component analysis of FTX coin portfolio
                                                                 and key takeaways for hedging and coin monetization.
         26      5/26/2023   Diodato, Michael                2.4 Summarize the results of different risk analysis for a presentation.

         26      5/26/2023   Diodato, Michael                1.1 Develop presentation of findings for analysis of Debtors' token
                                                                 holdings risks.
         26      5/26/2023   Diodato, Michael                2.1 Summarize the ongoing risks of the portfolio for a presentation.

         26      5/26/2023   Diodato, Michael                1.1 Revise presentation on Debtors' token portfolio risks.

         26      5/26/2023   Diodato, Michael                2.2 Describe the risk metrics used for analyzing the crypto portfolio for a
                                                                 presentation.
         26      5/26/2023   Diodato, Michael                1.4 Continue to prepare presentation on portfolio risk based on certain
                                                                 tokens.
         26      5/26/2023   Langer, Cameron                 2.5 Calculate rolling portfolio Value-at-Risk over the last two-year period
                                                                 for risk analysis.
         26      5/26/2023   Langer, Cameron                 1.8 Analyze recent risk and return metrics on a per coin basis for the FTX
                                                                 portfolio.
         26      5/26/2023   Langer, Cameron                 1.1 Calculate optimal liquidation costs using recent market data.

         26      5/26/2023   Langer, Cameron                 1.4 Analyze recent statistical characteristics of the top coins in the FTX
                                                                 portfolio for risk and return assessment.
         26      5/26/2023   Langer, Cameron                 1.2 Evaluate recent relative performance of the top crypto holdings in the
                                                                 FTX portfolio compared to a certain token.
         26      5/26/2023   Guo, Xueying                    2.7 Translate the FTX portfolio implied volatility results into potential
                                                                 Profit and Loss projections into the future.
         26      5/26/2023   Guo, Xueying                    2.3 Compare FTX portfolio value distribution projections using market
                                                                 data from different dates.
         26      5/26/2023   Guo, Xueying                    1.4 Optimize the Debtors' portfolio implied volatilities calculation
                                                                 method.
         26      5/26/2023   Guo, Xueying                    1.7 Articulate current results on FTX book performance analyses and
                                                                 deliverables.
         26      5/26/2023   Kubali, Volkan                  0.8 Update the presentation of coin risk-analysis for FTX management.

         26      5/26/2023   Rousskikh, Valeri               2.4 Analyze performance and statistics results included in UCC
                                                                 presentation on risk modeling of FTX’s cryptocurrency portfolio.
         26      5/26/2023   Rousskikh, Valeri               2.1 Analyze market risk results included in UCC presentation on risk
                                                                 modeling of FTX’s cryptocurrency portfolio.
         26      5/26/2023   Rousskikh, Valeri               1.6 Review estimates included in UCC presentation on risk modeling of
                                                                 FTX’s cryptocurrency portfolio.
         26      5/26/2023   Rousskikh, Valeri               2.2 Assess portfolio projection results included in UCC presentation on
                                                                 risk modeling of FTX’s cryptocurrency portfolio.
         26      5/26/2023   McNew, Steven                   0.8 Provide comments on new documents provided by A&M re: latest
                                                                 coin analysis.

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     Task Code      Date             Professional        Hours                                    Activity
        26       5/30/2023   Kubali, Volkan                   0.4 Correspond with A&M on FTX coins and tokens and feedback on
                                                                  UCC coin management proposal.
         26      5/30/2023   Kubali, Volkan                   0.4 Review issues related to analysis of Debtors' digital assets.

         26      5/30/2023   Risler, Franck                   0.2 Prepare considerations for approval process of coin staking.

         26      5/30/2023   Risler, Franck                   1.4 Test adequacy of cryptocurrency market data requirements for
                                                                  monetization analysis.
         26      5/30/2023   Risler, Franck                   1.6 Quantify FTX portfolio profit and loss distribution projections based
                                                                  on the crypto option market.
         26      5/30/2023   Risler, Franck                   1.4 Analyze the process the Debtors use to buy and sell crypto
                                                                  consistently with the coin management process.
         26      5/30/2023   Risler, Franck                   1.5 Assess the process the Debtors' used to buy and sell crypto
                                                                  consistently with the coin management process based on notice periods
                                                                  and consultation rights.
         26      5/30/2023   Diodato, Michael                 1.7 Summarize portfolio risk results for inclusion in a presentation on the
                                                                  portfolio's risks for analyzing monetization and hedging approaches.
         26      5/30/2023   Diodato, Michael                 1.9 Develop considerations for deck on portfolio risks including
                                                                  alternative asset monetization strategies.
         26      5/30/2023   Diodato, Michael                 0.4 Correspond with A&M to discuss crypto data issues and outstanding
                                                                  items.
         26      5/30/2023   Diodato, Michael                 2.9 Analyze the quality of different data provider's data for ongoing risk
                                                                  analysis of the portfolio, including coverage of the wide range of
                                                                  tokens held by the Debtors.
         26      5/30/2023   Diodato, Michael                 2.2 Write proposed rules for the Debtors to trade or perform other de-
                                                                  risking strategies.
         26      5/30/2023   Guo, Xueying                     2.1 Produce data required for correlation report production on current
                                                                  FTX portfolio analysis for UCC and Debtors.
         26      5/30/2023   Guo, Xueying                     1.6 Provide statistical model simulation and associated analysis on FTX
                                                                  digital assets portfolio.
         26      5/30/2023   Guo, Xueying                     1.8 Review crypto options market data from data provider for evaluation
                                                                  of FTX portfolio exposure.
         26      5/30/2023   Kubali, Volkan                   1.5 Revise presentation of coin risk analysis for FTX management.

         26      5/30/2023   Kubali, Volkan                   2.3 Investigate options for structure for buying and selling crypto assets.

         26      5/30/2023   Kubali, Volkan                   1.2 Determine the elements of post-trade notification for crypto asset
                                                                  trading of Debtors.
         26      5/30/2023   Majkowski, Stephanie             1.4 Create first draft of suggested approval procedures and requirements
                                                                  for digital asset hedging.
         26      5/30/2023   Majkowski, Stephanie             1.7 Develop summary of requirements for approval procedures re: buying
                                                                  and selling of crypto assets.
         26      5/30/2023   Majkowski, Stephanie             0.9 Create post-trade requirements for trading approval terms for crypto
                                                                  hedging.
         26      5/30/2023   Rousskikh, Valeri                2.5 Assess liquidation results included in UCC presentation on risk
                                                                  modeling of FTX’s cryptocurrency portfolio.
         26      5/30/2023   Rousskikh, Valeri                1.5 Use adaptive grid methods to accurately capture return time series
                                                                  discontinuities in computing performance metrics for FTX portfolio of
                                                                  illiquid coins.
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     Task Code      Date            Professional           Hours                                     Activity
        26       5/30/2023   Rousskikh, Valeri                  2.3 Assess results of portfolio risk metric computations.

         26      5/30/2023   Rousskikh, Valeri                  2.3 Review liquidation and discount methodologies included in UCC
                                                                    presentation on risk modeling of FTX’s cryptocurrency portfolio.
         26      5/30/2023   Kamran, Kainat                     0.5 Review tracing tool for analysis of FTX wallet addresses.

         26      5/30/2023   Kamran, Kainat                     0.5 Analyze digital assets status for portfolio.

         26      5/30/2023   Vazquez Ortiz, Fredrix             0.5 Conduct digital wallet asset tracing to identify potential customers
                                                                    with exposure to risks.
         26      5/30/2023   Leonaitis, Isabelle                0.4 Correspond with A&M to address updates to data requests and review
                                                                    monetization updates.
         26      5/30/2023   de Brignac, Jessica                0.3 Review UCC call agenda from PH to provide input on crypto
                                                                    portfolio considerations.
         26      5/31/2023   Risler, Franck                     0.6 Analyze the coin sales disclosed by A&M to mitigate recent coin
                                                                    delisting announcement made by third-party.
         26      5/31/2023   Risler, Franck                     0.5 Review third party advisory proposal to Debtors with focus on
                                                                    liquidity analysis and hedging suggestions.
         26      5/31/2023   Risler, Franck                     2.3 Finalize deck for PH articulating detailed processes to sell or hedge
                                                                    crypto.
         26      5/31/2023   Risler, Franck                     0.3 Add further credit risk and post trade notification details to proposed
                                                                    rules for monetization.
         26      5/31/2023   Diodato, Michael                   2.2 Continue to develop presentation on Debtors' portfolio hedging risks.

         26      5/31/2023   Diodato, Michael                   1.7 Create additional list of assumptions and considerations re: crypto
                                                                    asset monetization for Debtors' portfolio.
         26      5/31/2023   Diodato, Michael                   1.4 Write proposed rules for the Debtors to trade or perform other de-
                                                                    risking strategies.
         26      5/31/2023   Bromberg, Brian                    0.4 Review latest coin report.

         26      5/31/2023   Bromberg, Brian                    0.3 Review token monetization strategy summary.

         26      5/31/2023   Langer, Cameron                    1.5 Calculate rolling Value-at-Risk at the portfolio level to assess the FTX
                                                                    risk exposure over time.
         26      5/31/2023   Langer, Cameron                    1.3 Prepare slides for UCC regarding summary of portfolio risk and return
                                                                    analysis.
         26      5/31/2023   Langer, Cameron                    1.2 Develop control process by which the Debtors can potentially buy,
                                                                    sell and hedge crypto exposure.
         26      5/31/2023   Guo, Xueying                       0.8 Analyze options market data for the purpose of FTX portfolio future
                                                                    exposure evaluation.
         26      5/31/2023   Guo, Xueying                       2.6 Parse market data for the purpose of FTX portfolio future exposure
                                                                    evaluation.
         26      5/31/2023   Guo, Xueying                       2.3 Test building crypto volatility surface using the market data for the
                                                                    purpose of FTX portfolio future exposure evaluation.
         26      5/31/2023   Kubali, Volkan                     1.3 Update the presentation on the process by which the Debtors can buy
                                                                    and sell crypto assets.
         26      5/31/2023   Kubali, Volkan                     1.7 Revise the presentation of crypto risk-analysis for FTX management.


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     Task Code      Date           Professional          Hours                                     Activity
        26       5/31/2023   Majkowski, Stephanie             2.1 Assess data analysis results for provided data in order to evaluate
                                                                  Debtors' token holdings.
         26      5/31/2023   Majkowski, Stephanie             1.1 Investigate functionality of certain data for valuations of tokens in
                                                                  FTX positions.
         26      5/31/2023   Majkowski, Stephanie             2.1 Provide comments on previous analysis of Debtors' token holdings.

         26      5/31/2023   Rousskikh, Valeri                2.8 Provide addition details for liquidation methodologies for UCC
                                                                  presentation on risk modeling of FTX’s cryptocurrency portfolio.
         26      5/31/2023   Rousskikh, Valeri                2.9 Draft and articulate mathematical principles of the principal
                                                                  component analysis method for explaining dynamics of FTX portfolio
                                                                  in UCC presentation.
         26      5/31/2023   Rousskikh, Valeri                2.4 Add general description of principal component analysis method for
                                                                  explaining dynamics of FTX portfolio in risk modeling UCC report.
         26      5/31/2023   McNew, Steven                    0.7 Review documentation from Jefferies on crypto monetization
                                                                  strategies.
         26      5/31/2023   McNew, Steven                    2.2 Review documents provided by PH re: proposed crypto related
                                                                  litigation settlements.
         26      5/31/2023   Kamran, Kainat                   2.1 Review FTX wallet address cluster to determine any accounts to flag.

         26      5/31/2023   de Brignac, Jessica               0.3 Communicate with Jefferies re: certain tokens.

         26      5/31/2023   de Brignac, Jessica               1.8 Review recent venture investment questions related to tokens.

      26 Total                                              696.2

         27      5/1/2023    Baldo, Diana                      0.3 Review inquiry log from week ending 4/28 to ensure all creditor
                                                                   inquiries are being handled.
         27      5/1/2023    Chesley, Rachel                   0.2 Prepare communications for Debtors related to proposed exchange
                                                                   reboot timing and plans.
         27      5/3/2023    Chesley, Rachel                   0.1 Review Twitter post for UCC and provide feedback.

         27      5/3/2023    Baldo, Diana                     1.2 Outline all upcoming milestones and strategize on corresponding
                                                                  communications collateral.
         27      5/3/2023    Baldo, Diana                     0.8 Draft updated frequently asked questions and Twitter thread regarding
                                                                  non-customer bar date to ensure customers are informed.
         27      5/3/2023    Chesley, Rachel                  0.2 Review potential exchange reboot process timeline for
                                                                  communications implications and strategy development.
         27      5/4/2023    Diaz, Matthew                    0.7 Review strategy proposals for potential townhall hosted by UCC.

         27      5/4/2023    Chesley, Rachel                  0.5 Develop communications plan for upcoming deliveries of case
                                                                  updates.
         27      5/4/2023    Baldo, Diana                     0.4 Prepare summary of all communications related to updates for the
                                                                  UCC strategy from prior week.
         27      5/10/2023   Baldo, Diana                     1.2 Continue to develop communications calendar to plot upcoming
                                                                  milestones and correspond communication accordingly.
         27      5/11/2023   Chesley, Rachel                  0.3 Conduct media relations in response to inbound inquiries re: IRS
                                                                  claim.
         27      5/18/2023   Baldo, Diana                     0.7 Facilitate addressing the suspension of the UCC official Twitter
                                                                  account by supporting with Twitter vendor coordination efforts.
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     Task Code      Date             Professional        Hours                                   Activity
        27       5/22/2023   Chesley, Rachel                  0.2 Address Twitter account issues.

         27      5/23/2023   Baldo, Diana                     0.3 Review updated inquiry log to ensure creditor inquiries are being
                                                                  escalated and addressed.
         27      5/24/2023   Chesley, Rachel                  0.2 Prepare communications for Twitter account content update.

         27      5/24/2023   Baldo, Diana                     0.3 Implement plan for activation of Twitter account.

         27      5/25/2023   Baldo, Diana                     0.3 Facilitate uploading new FAQs to Epiq website to address the non-
                                                                  customer bar date motion.
         27      5/26/2023   Baldo, Diana                     0.5 Facilitate final logistics on coordinating new FAQs and tweet to be
                                                                  published regarding non-customer bar date motion.
         27      5/31/2023   Bromberg, Brian                  0.2 Prepare proposals for communication on customer bar date.

      27 Total                                                8.6

         28      5/2/2023    Dack, Carter                     1.6 Develop cyber assessment documentation and identify novel data.

         28      5/2/2023    Dack, Carter                     1.5 Evaluate cybersecurity risks for Debtors based on newly obtained
                                                                  data.
         28      5/3/2023    Dack, Carter                     2.0 Identify resources pertaining to cybersecurity assessment and
                                                                  investigations.
         28      5/3/2023    Dack, Carter                     2.2 Assess documentation scoring against framework principles for
                                                                  research on cybersecurity assessment.
         28      5/4/2023    Dack, Carter                     2.1 Identify relevant documentation via accessible database in order to
                                                                  complete assessment of cybersecurity considerations.
         28      5/4/2023    Dack, Carter                     2.7 Document research to assess cybersecurity issues for the Debtors'
                                                                  exchange.
         28      5/5/2023    Dack, Carter                     1.5 Conduct extended document review based on proprietary cyber
                                                                  assessment models.
         28      5/5/2023    Dack, Carter                     2.1 Continue to conduct extended document review based on proprietary
                                                                  cyber assessment models.
      28 Total                                               15.7

         29      5/1/2023    Carter, Michael                  2.6 Build comprehensive compliance framework for potential FTX 2.0.

         29      5/1/2023    Carter, Michael                  2.9 Revise compliance framework for potential exchange restart.

         29      5/1/2023    Carter, Michael                  1.8 Continue to create compliance considerations for potential restart of
                                                                  the Debtors' exchange.
         29      5/1/2023    Risler, Franck                   0.3 Review key updates to analysis for proposed exchange reboot re: UCC
                                                                  input.
         29      5/1/2023    Bromberg, Brian                  0.3 Review newly provided license issues presentation re: potential
                                                                  exchange restart.
         29      5/1/2023    Bromberg, Brian                  0.8 Correspond with Debtors re: considerations for potential exchange
                                                                  reboot.
         29      5/1/2023    Diodato, Michael                 0.8 Correspond with Debtors re: proposals for a potential exchange
                                                                  reboot.

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     Task Code     Date            Professional        Hours                                   Activity
        29       5/2/2023   Simms, Steven                   0.4 Summarize key considerations and issues for a potential exchange
                                                                restart.
         29      5/2/2023   Carter, Michael                 1.6 Build comprehensive compliance framework for potential exchange
                                                                restart.
         29      5/2/2023   Carter, Michael                 2.1 Continue to build comprehensive compliance framework for potential
                                                                exchange restart.
         29      5/2/2023   Carter, Michael                 2.9 Assess compliance issues for potential restart for Debtors' exchange.

         29      5/2/2023   Kamran, Kainat                  0.5 Prepare compliance research for a proposed exchange restart.

         29      5/2/2023   Risler, Franck                  0.6 Correspond with Debtors and UCC on potential strategies for
                                                                proposed exchange reboot.
         29      5/2/2023   Risler, Franck                  0.7 Assess compliance review for proposed exchange reboot.

         29      5/2/2023   Bromberg, Brian                 0.6 Correspond re: reboot with Debtors.

         29      5/2/2023   Gray, Michael                   0.3 Review materials provided by A&M re: status of Japan restart and
                                                                withdrawals.
         29      5/3/2023   Kamran, Kainat                  2.3 Perform research on compliance for certain countries based on
                                                                locations for data fraud and privacy re: potential restart.
         29      5/3/2023   de Brignac, Jessica             0.9 Revise comprehensive compliance framework for proposed exchange
                                                                reboot.
         29      5/3/2023   de Brignac, Jessica             0.3 Review timeline for potential exchange reboot presented to UCC.

         29      5/3/2023   de Brignac, Jessica             0.5 Review documents from A&M re: potential exchange reboot
                                                                interested party list.
         29      5/3/2023   Carter, Michael                 1.4 Building comprehensive compliance framework for potential
                                                                exchange reboot scenario.
         29      5/3/2023   McNew, Steven                   0.9 Review newly received timeline for proposed exchange reboot
                                                                provided by PH.
         29      5/3/2023   Risler, Franck                  0.5 Provide comments on proposals for potential exchange reboot
                                                                interested party forms.
         29      5/4/2023   Kamran, Kainat                  2.9 Perform research on 27 countries regarding their crypto sanctions re:
                                                                potential restart.
         29      5/4/2023   Kamran, Kainat                  0.5 Research compliance considerations on geographic regions for
                                                                Debtors' potential exchange reboot.
         29      5/5/2023   Kamran, Kainat                  0.5 Conduct public searches on geographical locations and their crypto
                                                                laws re: potential exchange restart.
         29      5/5/2023   Kamran, Kainat                  1.6 Perform research on 27 countries and their crypto regulation laws for
                                                                potential exchange reboot.
         29      5/5/2023   Kamran, Kainat                  2.1 Analyze research findings for crypto regulations in certain countries in
                                                                the context of a potential exchange restart.
         29      5/5/2023   Risler, Franck                  0.7 Review information on third party launches of international
                                                                derivatives crypto exchanges in the context of assessing the
                                                                competitive landscape of a potential exchange reboot.
         29      5/5/2023   Rousskikh, Valeri               2.4 Compile a list of questions regarding general specification of a Debtor
                                                                exchange's margin model through the lens of a potential restart.
         29      5/5/2023   Rousskikh, Valeri               1.9 Draft questions list regarding margin call process used by a Debtor
                                                                exchange pre-petition re: FTX 2.0.
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     Task Code     Date             Professional        Hours                                     Activity
        29       5/8/2023    Kamran, Kainat                  2.2 Perform research on 27 geographical locations and their cybersecurity
                                                                 and data privacy laws re: potential restart.
         29      5/8/2023    Kamran, Kainat                  1.8 Continue to research additional geographical locations and their
                                                                 cybersecurity and data privacy laws re: potential restart.
         29      5/8/2023    de Brignac, Jessica             0.4 Analyze communications from UCC members re: potential exchange
                                                                 restart updates.
         29      5/8/2023    Carter, Michael                 1.5 Enhance comprehensive compliance framework for proposed
                                                                 exchange restart.
         29      5/8/2023    Rousskikh, Valeri               1.9 Formulate questions about margin requirement values for illiquid
                                                                 coins in FTX initial margin model in the context of potential exchange
                                                                 restart.
         29      5/8/2023    Rousskikh, Valeri               2.4 Create list of requirements for initial margin model document for
                                                                 margining and auto liquidation process due diligence for proposed
                                                                 exchange restart.
         29      5/8/2023    Rousskikh, Valeri               2.7 Supplement questions list on margin requirement values for illiquid
                                                                 coins in FTX initial margin model in the context of potential exchange
                                                                 restart.
         29      5/9/2023    Risler, Franck                  0.3 Assess latest update on process letter for potential exchange restart.

         29      5/9/2023    Carter, Michael                 2.4 Continue to revise framework for compliance for proposed reboot of
                                                                 Debtors' exchange.
         29      5/9/2023    Carter, Michael                 2.3 Enhance comprehensive compliance framework for a potential
                                                                 exchange restart.
         29      5/9/2023    Kamran, Kainat                  2.3 Perform research on the data privacy and protection laws of various
                                                                 geographical locations for compliance re: a potential exchange restart.
         29      5/9/2023    Kamran, Kainat                  2.2 Record research findings re: data privacy and protection laws across
                                                                 geographic locations for FTX 2.0 considerations.
         29      5/9/2023    Rousskikh, Valeri               2.7 Perform due diligence on certain models to evaluate potential
                                                                 exchange reboot.
         29      5/9/2023    Rousskikh, Valeri               2.2 Draft questions about various implementation scenarios re: potential
                                                                 exchange restart.
         29      5/9/2023    Rousskikh, Valeri               2.6 Continue to draft questions about various implementation scenarios re:
                                                                 potential exchange restart.
         29      5/10/2023   de Brignac, Jessica             0.6 Review documents on potential exchange reboot from PH related to
                                                                 crypto assets.
         29      5/10/2023   Bromberg, Brian                 0.5 Correspond with PH re: potential exchange restart timeline.

         29      5/10/2023   Rousskikh, Valeri               1.5 Assess stressed market scenarios considerations in FTX initial margin
                                                                 model for margining process due diligence for a potential exchange
                                                                 reboot.
         29      5/10/2023   Rousskikh, Valeri               1.7 Assess stressed market scenarios considerations in FTX initial margin
                                                                 model for auto liquidation process due diligence for a potential
                                                                 exchange reboot.
         29      5/10/2023   Rousskikh, Valeri               2.7 List requirements to initial margin model testing framework for
                                                                 margining and auto liquidation process due diligence for potential
                                                                 exchange reboot.
         29      5/10/2023   Rousskikh, Valeri               2.1 Articulate process for performance testing for FTX initial margin
                                                                 model for margining and auto liquidation process due diligence for
                                                                 potential exchange reboot.
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     Task Code      Date            Professional        Hours                                Activity
        29       5/11/2023   Feldman, Paul                   2.2 Assess recent plans from A&M re: a potential exchange restart.

         29      5/11/2023   Risler, Franck                  1.4 Draft due diligence questions on FTX initial margin model and auto
                                                                 liquidation code to prepare for a conversation with the Debtors'
                                                                 developers re: a potential exchange restart.
         29      5/11/2023   Rousskikh, Valeri               2.3 Assess model control framework for Debtors' initial margin model and
                                                                 auto liquidation process to assist with due diligence for on a potential
                                                                 exchange restart.
         29      5/11/2023   Rousskikh, Valeri               1.6 Inquire on technical implementation of Debtors' initial margin model
                                                                 and auto liquidation process to assist with due diligence on a potential
                                                                 exchange restart.
         29      5/11/2023   Rousskikh, Valeri               1.6 Cross-reference Debtors' crypto derivatives and auto liquidation
                                                                 documents to assist with due diligence on a potential exchange restart.
         29      5/11/2023   Rousskikh, Valeri               2.2 Assess crypto derivatives and auto liquidation documents in the
                                                                 context of FTX 2.0.
         29      5/12/2023   Risler, Franck                  0.5 Correspond with UCC re: a potential exchange restart.

         29      5/12/2023   Feldman, Paul                   2.6 Review documents re: a potential exchange restart produced by A&M.

         29      5/12/2023   Simms, Steven                   0.6 Review updates on the due diligence into a potential exchange restart.

         29      5/12/2023   Simms, Steven                   0.4 Continue to review updates on the due diligence into a potential
                                                                 exchange restart.
         29      5/12/2023   Bromberg, Brian                 0.6 Correspond with PH re: considerations for potential exchange restart.

         29      5/12/2023   Rousskikh, Valeri               2.2 Formulate questions to Debtors about FTX margin call process and its
                                                                 implementation in FTX initial margin model.
         29      5/12/2023   Rousskikh, Valeri               1.6 Analyze the Debtors' margin call process in the context of FTX 2.0.

         29      5/15/2023   Carter, Michael                 2.1 Enhance comprehensive compliance framework for FTX 2.0 proposal.

         29      5/16/2023   Carter, Michael                 2.9 Supplement regulatory and compliance framework for FTX 2.0
                                                                 proposal.
         29      5/17/2023   Sveen, Andrew                   0.4 Summarize the Debtors' latest dataroom updates re: Japan exchange
                                                                 restart.
         29      5/17/2023   Feldman, Paul                   2.4 Assess FTX 2.0 materials provided by A&M with a focus on
                                                                 cybersecurity and compliance.
         29      5/17/2023   Carter, Michael                 0.8 Continue to enhance compliance framework for FTX 2.0 after further
                                                                 due diligence.
         29      5/17/2023   Diodato, Michael                0.5 Correspond with PH to discuss FTX 2.0 process.

         29      5/17/2023   Diodato, Michael                0.9 Analyze documents in FTX 2.0 dataroom re: exchange infrastructure.

         29      5/17/2023   Rousskikh, Valeri               1.2 Develop list of questions on margin model for FTX 2.0.

         29      5/18/2023   Diodato, Michael                0.5 Summarize issues re: strategies for FTX 2.0.

         29      5/18/2023   de Brignac, Jessica             0.8 Prepare summary of FTX 2.0 bidding process considerations for PH.


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                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                                  FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023



     Task Code       Date             Professional        Hours                               Activity
        29        5/18/2023   de Brignac, Jessica              0.4 Review updated FTX 2.0 documents.

         29       5/18/2023   de Brignac, Jessica              0.4 Summarize crypto issues re: FTX 2.0.

         29       5/18/2023   Bromberg, Brian                  0.6 Review materials regarding a potential exchange restart.

         29       5/18/2023   Carter, Michael                  1.8 Continue to develop compliance framework for FTX 2.0.

         29       5/18/2023   Simms, Steven                    0.5 Correspond with Debtors on FTX 2.0 process.

         29       5/18/2023   Bromberg, Brian                  0.5 Correspond on exchange restart call with Debtors.

         29       5/18/2023   Diodato, Michael                 0.5 Correspond with the Debtors on FTX 2.0.

         29       5/22/2023   Sveen, Andrew                    1.0 Summarize issues related to Debtors' potential exchange restart.

         29       5/22/2023   Risler, Franck                   0.2 Analyze responses from Debtors' advisors to UCC's request on the
                                                                   bidding process in the contemplated exchange restart.
         29       5/22/2023   Risler, Franck                   0.8 Articulate the scope of UCC due diligence for any FTX 2.0
                                                                   bidder/strategic partner.
         29       5/22/2023   Risler, Franck                   0.4 Assess the final trading due diligence questionnaire in the context of
                                                                   FTX 2.0.
         29       5/25/2023   Risler, Franck                   0.2 Prepare updates to A&M on initial margin due diligence questions in
                                                                   context of FTX 2.0.
         29       5/25/2023   Risler, Franck                   0.7 Analyze FTX margin trading and liquidation deck from Debtors as
                                                                   part of FTX 2.0 diligence and compare to initial requests.
         29       5/26/2023   Carter, Michael                  0.5 Enhance comprehensive compliance framework for FTX 2.0.

         29       5/26/2023   Risler, Franck                   2.7 Review materials provided re: FTX 2.0 reboot with a focus on key
                                                                   presentations and financials, including revenue and transaction data.
         29       5/26/2023   Risler, Franck                   0.4 Respond to UCC professionals' due diligence questionnaire on FTX
                                                                   margin model in the context of the exchange reboot.
         29       5/26/2023   Risler, Franck                   1.6 Review materials provided re: potential exchange reboot with a focus
                                                                   on key agreements and partnerships, security, compliance and
                                                                   technology.
         29       5/29/2023   Carter, Michael                  2.2 Refine draft FTX 2.0 compliance framework.

         29       5/30/2023   Carter, Michael                  2.2 Outline key considerations for draft FTX 2.0 proposal re: security and
                                                                   exchange infrastructure.
         29       5/30/2023   Risler, Franck                   0.2 Assess FTX 2.0 outreach summary provided by PWP.

         29       5/30/2023   Carter, Michael                  1.9 Revise considerations for proposed plans for FTX 2.0.

      29 Total                                               129.6

    Grand Total                                            3,273.3




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                                             EXHIBIT D
                               FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                        SUMMARY OF EXPENSES
                            FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023

       Expense Type                                                                    Amount
       Electronic Subscriptions                                                         $ 1,254.99
       Transportation                                                                        79.22
       Working Meals                                                                         70.57
       GRAND TOTAL                                                                      $ 1,404.78




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                                                      EXHIBIT E
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                                  ITEMIZED EXPENSES
                                     FOR THE PERIOD MAY 1, 2023 THROUGH MAY 31, 2023

          Expense Type            Date         Professional                     Expense Detail                    Amount
    Electronic Subscriptions    5/22/2023 Diodato, Michael      CryptoCompare usage re: order book,                 $ 379.99
                                                                derivative volume, and other data on crypto
                                                                holdings and claims.
    Electronic Subscriptions   5/22/2023 Diodato, Michael       CoinMarketCap usage re: price, volume, and            875.00
                                                                other data on crypto holdings and claims.



    Electronic Subscriptions Total                                                                                $ 1,254.99

    Transportation               5/5/2023 Diaz, Matthew         Taxi from a meeting with the Debtors (FTX).            38.72

    Transportation              5/17/2023 Sheridan, Jeremy      Cancellation fee for train ticket to deposition        40.50
                                                                for FTX case that was rescheduled due to a
                                                                court decision.

    Transportation Total                                                                                             $ 79.22

    Working Meals                4/3/2023 Dawson, Maxwell       Dinner while working late on the FTX case.             20.00


    Working Meals                5/7/2023 Simms, Steven                                                                38.48

    Working Meals               5/17/2023 Dawson, Maxwell       Dinner while working late on the FTX case.             12.09

    Working Meals Total                                                                                              $ 70.57

    Grand Total                                                                                                    $ 1,404.78




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